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EXHIBIT “A”
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                       IlV THE STATE COURT OF DEKALB COUNTY
                                  STATE OF GEORGIA

 LORINDA WIlVEBURG,                            *
                                               *
                                               *
     Plaintiff,
                                               *
V.                                             *    Civil Action File No.: 21A00288
                                               *
FAMILY DOLLAR STORES OF                        *
GEORGIA, LLC;                                  *
FAMII.,Y DOLLAR STORES OF                      *
GEORGIA, INC.;                                 *
MBC DEVELOPMENT, LP;                           *
MBC PROPERTIES, LP;                            *
DOLLAR TREE STORES, INC.;                      *
ALEXANDRIA VENTURES II, LLC; and               *
X, Y Individual(s) and/or Z                    *
CORPORATION(S), whose true name(s)             *
are unknown to Plaintiff,                      *
                                               *
     Defendants.                               *
                                               *

                                         COMPLAINT

         COMES NOW LORINDA WINEBURG, Plaintiff in the above-captioned action, and files

this Compiaint against FAMILY DOLLAR STORES OF GEORGIA, LLC; FAMILY DOLLAR

STORES OF GEORGIA, INC.; MBC DEVELOPMENT, LP; MBC PROPERTIES, LP;

DOLLAR TREE STORES, INC.; ALEXANDRIA VENTURES II, LLC; and X, Y Individual(s)

and/or Z CORPORATION(S), whose true name(s) are unknown to Plaintiff, Defendants, showing

to the Court the following:

                                               1.

         Defendant FAMILY DOLLAR STORES OF GEORGIA, LLC (hereinafter "Defendant,"

or "Family Dollar, LLC"), is a foreign corporation authorized to transact business in the State of

Georgia. Defendant's Principal Place of Business is located at 500 Volvo Paxkway, Chesapeake,

                                                1
                                                                                                  STATE COURT
                                                                                               DEKALB COUNTY, (
                                                                                                   1/21/2021 4:10
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VA 23320. Defendant Family Dollar, LLC is believed to own and to operate Family Dollar Store

No. 8474, located at 2500 Snapfinger Rd, Decatur, GA 30034-2319, which is where ₹he incident

giving rise to Plaintiff s Complaint occurred on or about September 28, 2018.

                                                 2.

       Defendant FAMILY DOLLAR STORES OF GEORGIA, INC. (hereinafter "Defendant,"

or "Farnily Dollar, Inc."), is believed to be a domestic corporation authorized to transact business

in the State of Georgia, which corporation is believed to have been merged into the surviving

foreign corporation, Family Dollar Stores of Georgia, LLC, in approximately January of 2016.

This Defendant is sued and served out of an abundance of caution. Defendant Family Dollar, Inc.

is believed to own and to operate Family Dollar Store No. 8474, located at 2500 Snapfinger Rd,

Decatur, GA 30034-2319, which is where the incident giving rise to Plaintiffs Complaint occurred

on or about September 28, 2018.

                                                 3.

       Defendant     MBC      DEVELOPMENT, LP (hereinafter "Defendant," or                   "MBC

Development"), is beiieved to be (or to have been at the time of this incident) a foreign corporation

authorized to transact business in the State of Georgia. Defendant's Principal Place of Business is

located at 950 E. Main Street, P.O. Box 472, Schuylkill Haven, PA, 17972.

                                                 4.

       Defendant MBC PROPERTIES, LP (hereinafter "Defendant," or "MBC Properties"), is a

foreign corporation authorized to transact business in the State of Georgia. Defendant's Principal

Place of Business is located at 950 E. Main Street, P.O. Box 472, Schuylkill Haven, PA, 17972.




                                                 K
         Case 1:21-cv-00749-MHC Document 1-1 Filed 02/22/21 Page 4 of 143



                                                5.

        Defendant DOLLAR TREE STORES, INC. (hereinafter "Defendant," or "Dollar Tree"),

is a foreign corporation authorized to transact business in the State of Georgia. Defendant's

Principal Place of Business is located at 500 Volvo Parkway, Chesapeake, VA 23320.

                                                6.

       Defendant ALEXANDRIA VENTURES 11, LLC (hereinafter "Defendant," or "Alexandria

Ventures II"), is a domestic corporation authorized to transact business in the State of Georgia.

Defendant's registered office is located at 454 Satellite Blvd. NW, Suite 302, Suwanee, Gwinnett

County, Georgia 30024.

                                                7.

       Defendant Farnily Dollar, LLC's registered agent for service of process is Corporation

Service Company, and Defendant Family Dollar LLC can be served through its registered agent

at 40 Technology Parkway South, No. 300, Norcross, Gwinnett County, Georgia 30092. Defendant

can also be served through a managing agent at Family Dollar Store No. 8474, located at 2500

Snapfinger Rd, Decatur, GA 30034-2319.



       Defendant Family Dollar, Inc.'s registered agent for service of process is Prentice-Hall

Corp System, Inc., and Defendant Family Dollar, Inc. can be served through its registered agent at

100 Peachtree Street, Atlanta, Fulton County, Georgia 30303. Defendant can also be served

through a managing agent at Family Dollar Store No. 8474, located at 2500 Snapfinger Rd,

Decatur, GA 30034-2319.




                                                3
         Case 1:21-cv-00749-MHC Document 1-1 Filed 02/22/21 Page 5 of 143



                                                  9.

        Defendant MBC Development's registered agent for service of process is National

Registered Agents, Inc., and Defendant MBC Development can be served through its registered

agent at 289 South Culver Street, Lawrenceville, Fulton County, Georgia 30046-4805.

                                                 10.

        Defendant MBC Properties' registered agent for service of process is National Registered

Agents, Inc., and Defendant 1VIBC Properties can be served through its registered agent at 289

South Culver Street, Lawrenceville, Fulton County, Georgia 30046--4805.

                                                 11.

       Defendant Dollar Tree's registered agent for service of process is Corporation Service

Company, and Defendant can be served through its registered agent at 40 Technology Parkway

South, No. 300, Norcross, Gwinnett County, Georgia 30092.

                                                 12.

       Defendant Aiexandria Ventures II's registered agent for service of process is Gerald R.

Stinnett, and Defendant Alexandria Ventures II can be served through its registered agent at 454

Satellite Blvd. NW, Suite 302, Suwannee, Gwinnett County, Georgia 30024.

                                                 13.

       Defendant X, Y Individual(s) and/or Z Corporation(s) are individuals and/or entities whose

tortious acts and/or omissions may have caused and/or contributed to the injuries complained of in

this Complaint. However, despite diligent attempts by Plaintiff and PlaintifPs counsel, the identities

of X, Y Individual(s) and/or Z Corporation(s) are unknown to Plaintiff. The identities of X, Y

Individual(s) and/or Z Corporation(s) will be ascertained through discovery of this matter.




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                                                 14.

        Plaintiff is a resident of Dekalb County, Georgia, and hereby subjects herself to the

jurisdiction of this Court.

                                                 15.

        Defendants are subject to the jurisdiction of this Court, as Defendants' Dollar Tree Store

No. 8474 is located at 2500 Snapf nger Road, Decatur, DeKalb County, Georgia 30034-2319, and

as the incident (including the tortious acts and/or omissions of Defendants) giving rise to Plaintiffs'

Complaint occurred at Defendants' aforesaid Family Dollar Store No. 8474, located within

DeKalb County, Georgia.

                                                 16.

       Venue is proper in DeKalb County, Georgia, as the incident giving rise to Plaintiff's

Complaint occurred at Defendants' store in DeKalb County, Georgia, and as the Defendants own

and operate a Family Dollar facility in DeKalb County, Georgia (where the incident took place,

Family Dollar Store No. 8474) Iocated at 2500 Snapfinger Rd, Decatur, DeKalb County, GA

30034-2319.

                                                 17.

       To the extent necessary under O.C.G.A. §§ 9-3-33, 9-3-90, et seq., and 38-3-60, et. seq.,

Plaintif.f pleads that, as this incident occurred on September 28, 2018, the statute of limitations on

this claim initially began to run on September 28, 2018. O.C.G.A. § 9-3-99; Beneke v. Parker, 285

Ga. 733 (2009); Harrison v. McAfee, 338 Ga.App. 393 (2016). Prior to the riunning of the original

statute of limitations in this action (which statute was set to expire on September 28, 2020, as

explained above), the statute of limitations was tolled, by Order(s) of the Supreme Court of

Georgia, which Supreme Court of Georgia Order Declaring Judicial Emergency was dated March


                                                  5
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14, 2020 (with a.n Amended Order dated March 15, 2020 applying retroactively). Additionally, the

Supreme Court's Judicial Emergency Order has been extended ten times. The Third Extension of

that Order declared that all deadlines, statutes of limitations, and time periods that had been tolled

since March 14, 2020 would remain tolled but would begin to run again on July 14, 2020. Stated

another way, the Supreme Court of Georgia's Third Extension of its Statewide Judicial Emergency

Order declared that all tolled deadlines (including statutes of limitations) would be reimposed on

July 14, 2020. According to that Third Extension Order (attached hereto), litigants would have the

same amount of time on July 14, 2020 to perform any required acts as they would have had on

March 14, 2020. As such, the time period in which Plaintiff has to file a lawsuit and to serve

Defendant(s) with the same in this case, was tolled for the period of March 14, 2020 until July 14,

2020 (122 days), by Order of the Supreme Court of Georgia dated March 14, 2020, as well as by

the Court's Third Extension of that Order. As such, Plaintiff has until, through, and including 122

(one hundred twenty-two) days from the date that the statute was set to run in this matter

(September 28, 2020) to timely file this lawsuit (in other words, until, through, and including

January 28, 2021). The Supreme Court of Georgia's Order(s) tolling the deadlines as described

above, are attached collectively as Exhibits A, B, C, D, E, F, G, H, I, J, K, & L to this Complaint,

respectively. As such, Plai.ntiff shows that this lawsuit is timely filed.

                                                  18.

        On September 28, 2018, and at all times relevant, Defendants owned and operated the

above-described Family Dollar Store No. 8474, located at 2500 Snapfinger Road, Decatur, DeKalb

County, Georgia facility in Columbus, Muscogee County, Georgia 30034-2319.




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         Case 1:21-cv-00749-MHC Document 1-1 Filed 02/22/21 Page 8 of 143



                                                W

        The above-referenced facility (hereinafter referred to as "Family Dollar No. 8474") was

open to the general public on September 28, 2018.

                                                70M

        On September 28, 2018, at approximately 2:00 P.M., Plaintiff LORINDA WINEBURG

was shopping at Defendants' above-referenced Family Dollar Store No. 8474.

                                               21.

        As Plaintiff LORINDA WINEBURG walked out of the Defendants' store, she stepped

onto a walkway in front of Defendants' store to go to her car and leave the premises. While walking

with reasonable and due care on that walkway, Plaintiff suddenly and unexpectedly fell violently

to the ground on an oil and water mixture which Defendants negligently allowed to accumulate on

their walkway and on a step down that was on the walkway. Plaintiff was seriously injured as a

result of her fall at Defendants' Family Dollar Store No. 8474.

                                               22.

       The oil and water mixture on Defendants' walkway and step down in front of the Family

Dollar store at issue (Family Dollar Store No. 8474) constituted a hazard of which Defendants had

actual or constructive knowledge, but of which hazard Plaintiff had no knowledge.

                                               23.

       Additionally, Plaintiff could not see the step down on Defendants' walkway in front of the

subject Family Dollar Store as she was leaving Defendants' store even though she was exercising

due care for her own safety, as there were no warning signs or other items to alert Plaintiff that

there was a step down, as the color of the step down biended in with the rest of the sidewalk, and

as Plaintiff had never traversed the portion of the walkway with the step down before.


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                                                  24.

        The aforementioned single step down on Defendants' walkway in fxont of their Family

Dollar store constituted a hazard, of which Defendants had actual and/or constructive knowledge,

and of which Plaintiff had no larowledge.

                                                  25.

        The aforementioned step down was defectively and negligently designed and implemented

on the subject properry by Defendants and constituted a hazard on the properry.

                                                  26.

        As a result of the terrible fall she suffered caused by Defendants' negligence, Plaintiff

LORINDA WINEBURG suffered serious injuries (including, but not necessarily limited to, a

serious lis franc fracture of her right foot and additional injuries, with Plaintiff's injuries requiring

numerous surgeries to repair) which injuries have caused, and will continue to cause, her

significant pain and suffering, for which she is entitled to recover compensation from Defendants.

                                                  27.

        Plaintiff LORINDA WINEBURG has incurred and will continue to incur medical expenses

and other special damages as a result of her injuries negligently caused by Defendants, for which

she is entitled to recover compensation from Defendants.

                                                  28.

       Defendants' negligence in failing to keep the premises and approaches at the above-

referenced Farnily Dollar Store No. 8474 reasonably safe for business invitees, as well as

Defendants' negligence in causing the above-referenced hazard(s) (upon which Plaintiff fell) to be

located on Defendants' premises and failing to warn Plaintiff of the hazard(s), proximately caused

Plaintiff's above-described injuries and damages.


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          WHEREFORE, PlaintifPLORINDA WINEBURG requests that she be given the following

relief:

          a) That summons issue requiring Defendants to appear as provided by law to answer this

              Complaint;

          b) That Plaintiff LORINDA WIlNEBURG be awarded damages to compensate her for her

              physical, mental, and emotional pain and suffering (past, present and fizture)

              proximately caused by Defendants' above-described negligence, as determined by the

              enlightened conscience of a fair and impartial jury;

          c) That Plaintiff LORINDA WINEBURG be awarded da.mages to compensate her for her

             medical and other necessary expenses which were incurred, and which will be incurred

             in the future, as a proximate result of Defendants' above-described negligence, which

             amount shall be specifically proved at trial;

          d) That Plaintiff LORTNDA WIlVEBURG be given the judgment of this Court;

          e) That Plaintiff LORINDA WINEBURG be given a trial by jury; and

          f) That the costs of this action be cast against Defendants.

          Respectfully submitted this 2.-My of Te                    ~ 2021.


                                                BILL BUCHANAN. LLC

                                                BY:
                                                  William A. Buchanan
                                                  State Bar of Georgia No. 144226
                                                  Attorney for Plaintiff

Post Office Box 5581
Columbus, Georgia 31906
(706) 641-2455                                                                 STATE COURT OF
                                                                               DEKALB COUNTY, GA.
                                                                               1/21/2021 4:10 PM
                                                   9                           E-FILED
                                                                               BY: Monica Gay
    Case 1:21-cv-00749-MHC Document 1-1 Filed 02/22/21 Page 11 of 143


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                                                                AdrWrlstrative Alpnutes
                                                                   MAR 14 2(l1U
                                                                  Th6rbse S. 8ames,
                S~II'REME CO£JRT OF GEORGIA                     Clerk/Court Lxecutive
                                                            SUPAEME COUR~ oF ~OF
            ,                                               \—I   D   n       „f5
                                                          March 14, 2020
                                                           (Amended)

    ORDER DECLARL1eTG S'PATEWIDE JUYDICIAL EMERGENCY

       WHEREAS, the Governor has determined that a Pubii.c Healtb
 State of Emergency exxstg in the State oi' Georgia due to the spread of
 the CoronaviruslCOVID-19, and whereas that state of e•mexgency
 constitutes a"luclicial. emergency" 'pursuant to OCGA § 38-3-60 et seq.,
 see OCGA § 38-3--60 (2).

        Now therefore, pursuant to OCGA § 38-3-61, the Hanorabie Harold
 D. Melton, Chief Justice o£ the Supreme Court of Georgia, DOES
 HEREBY ORDER AND DECLARE a Statewide Judiccial Emergeney in
 the State of Georgi.a. The nature af thxs emergency i,s the continued
 transmission of Coronavirus/COVID-19 throughout the State and the
 potential infection of those who work in or are required to appear in our
 cour ts.

       Thus, in order to protect the health, safety, and li.berty of all citi.zens
in this State, the undersigned hereby declares a Statewide Judiciai
Emergency affecting all courts and clerk's offices in the State as it relates
to all judicial proceedings.

      To the extent feasible, courts should remaxn open to address
essentzal functions, and in particular courts should give priority to
 matters necessary to protect health, safety, and liberty of individuals.
Essential functions are subject to i,nterpretation; however, some xnatters
that fal.l into the essentzal function category are: (1) vithere an immediate
liberty or safety concern is present requiring the attention of the court as
soon as the court is available; (2) crirninal court search warrants, arrest
warrants, initi.al appearances, and bond reviewe; (3) domestic abuse
temporary protective orders and restraaxiing orders; (4) juvenile court
delinquency detention hearin:gs and emergency rexnoval matters; and (5)
mental health commitment hearings.                                        _~
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          In addition, trial.s in any crimi.nal case for which a jury has been
     empaneled and the trial has commenced as of the date of this order shall
     continue to conclusion, unless good cause exists to suspend the trial or
     declare a mistrial. The decision whether to suspend a criminal trial or
     declare a mistria.l rests with the judge pxesiding over the case.

          To the extent court proceedings are held, they should be done in a
     rnanner to limit the rcisk of exposure, such as by vicdeoconferencing, where
     possible.

           Pursuant to OCGA § 38-3-62, during the period of this Order, the
     undersigned hereby suspends, tolle, extends, and otherwi.se grants relxef
    from any deadlines or other time schedules or filing requirements
    irnpoeed by otherwise appli.cable statutes, rules, regul.ations, or court
    orders, whether in civil or criminal cases or administrative matters,
    including, but not limited to any: (1) statute of linitation; (2) time withi.n
    whi.ch to issue a warrant; (3) ti.me within which to try a case for whieh a
    dernand for speedy trial has been filed; (4) time within which to hold a
    commitmen#; hearing; (5) deadline ox other schedul.e regarding the
    detention of a juvenile; (6) time within which to return a bill of indictment
    or an accusati.on or to bring a matter before a grand jury; (7) time withxn
    which to file a writ of habeas corpus; (8) time within whi.ch discovery or
    any aspect thereof is to be completed; (9) time within which to serve a
    party; (10) tiime within which to appeal or to seek the right to appeal any
    order, ruling, or other determination; and (11) such other iegal
    proceecli.ngs as determined to be necessary by the authori.zed judicial
    official.

          This Statewide dudicial Emergency shall terniinate ori April.
    3.3, 2020, at 11:b9 p.xxi., un.iess othe:rwise extended.

          Shoulcd the state of emergency extend beyond the period indicated
    above or should the nature of the emergency otherwise requixe
    modif'ication, a determination of available alternati.ve remedies for the
-   condtzct of court business will be mad.e as necessary, and a corresponding
    order wil.l be en.tered and distributed in accordance with Georgia law.



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       IT IS YL3RTHER ORDERED, pursuant to DCGA § 38-3-63, that
 notice and service of a copy of this Order shall immediately be sent to the
 judges and clerks of aIi courts in this State and to the clerk of the Georgia
 Court of Appeals, such service to be accomplished thxough means to
 assure expeditious receipt, which include electroni.c m.eans; and

       ZT IS FURTHER ORDERED that notice shaIl also be sent to the
 media, the State Bar of Georgia, and the officials and entities iisted below
 and sha11 constitute sufficiernt notice o£ the issuance of this Order to the
 affected parties, counsel for th.e affected parties, and the public.

        IT IS S0 ORD ERED this 14r>> day of        h
                                                                ,

                                                  usta.ce Iai i D. - elton
                                              Supreme Couxt of 'Georgia

cc:
 Governor Brian. P. Kemp
 Lt. Governor Geoff Duncan
 Speaker David Ralston
State Bar of Georgia
Administrative Cffice of the Courts                \
Judicial Council of Georgia
Council of Superiox Court Clerks of Georgia
Department of Juvenile Justice
Criminal Justice Coordinating Council.
Council of Accountability Court Judges
Georgia Com.mission on Dispute Resolution
fnstitute of Continuing Judic2.a1 Education of Georgia
Georgia CouncR of Court Administacators
Chief Justzce's Commission on Professionalism
Judiciai Qualifications Commission
Association County Commissioners of Georgia
Georgia 1.Vlunicipal Association                     ~
G eorgia Sheriffs' Association
Georgia Association of Chiefs o#' Poli.ce
Georgia Public Defender Council

                                     ~
  Case 1:21-cv-00749-MHC Document 1-1 Filed 02/22/21 Page 14 of 143




Prosecuting Attorneys' Council of Georgia
Department of Correction8
Department of Comrnunity Supervision
Georgia Court kleporters Association
Board of Caurt Reporti.ng
State $oard o£ Pardons and Paroles




                          SUPR.EME COURT OF THE STATE OI' GLt'ORGIA
                                      Clerk's O£fice, AtIa.nta

                               I certify that the above ia a true extiact fronn the
                       minutea of the Supreine Court o£ Georgia.
                               Witness rny signatuxe and the $eal oP aaid court hereto
                       affixed the day and year Iaet above written.


                                                                    C3.erk




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            Case 1:21-cv-00749-MHC Document 1-1 Filed 02/22/21 Page 15 of 143

                                                                            §•ti,t;L?
                                                                    Administrative Minutes

            :4i;it•i"                                                       se..~a~rl es,
                                                                           Court Executive
                             SUPREME COUR'I' OF GEORGTA        L           COURT OF >=oRG►A
     NE~
      •.\               .~                                                  ~   ~.._._._._ ..-_

                                                           April 6, 2020

                 ORDER EXTENDING DECLAIt..E4TION OE STA`l,'EWIDE
                            JUIDICIAL EMERGENCY

            Pursuant to OCGA § 38-3-G1, and dzie to the continuing statewide
    emergency involving the transmissi.on of Coronavirus/COVID-x9, the
    Honorable Harold D. Melton, Chief Justice of the Supreme Couxt of
    Geo€•gia, does hereby extend the March 14, 2020 (amended) Order
    Declaring Statewide Judicial Einergency, which would have expired on
    April 1.3, 2020 at 11:5J p.m., until Wednesday, May 13, 2020, at 11:59
    p.rr€., unless otheiwise further modified ox extended, The Chief Justzce
    wiil p€rovide notice as to the expected tezmination of the Order at l.east
    one week in advance to allow couz-ts to plan the transition to fulle€•
    operations.

          With regard to matters not deemed essential functions under the
    Statewzde Judicial Emergency Order, cou€.~ts and litigants are
    encou€•aged to proceed to the extent feasible and consistent with public
    health guidance, for exarnple through the use of teleconferences and
    videoconferences, to reduce baciclogs when the judicial emergency ends.

          With regax•d to all matters in thi:s challenging tinie, all lawyers are
    i•emincdeti of their obligations of professionalisrn.

           lt is ordefed, pursuant to OCGA § 38-3-63, that notice and service
    of a copy of thzs O-rder shall i€nmediately be sent to the judges and clerks
    of aIl courts in this State and to the clerk of the Cx̀eorgia Couxt of Appeals,
    such sei•viee to be accornplished thz•ough cneans to assure expeditious
    receipt, which includ.e electronic rneans; and

~         [t is further ordered that notice shall also be sent to the niedia, the
    State Bar o£ Georgia, and the officials and entities listed below and shall
    constitute sufficient notice of the issuance of this Order to the affected
    parties, counsel for the affected paz•ties, and the public-       ~~ ~
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         IT IS SO QRDERED this 611, day of Apri , 0` U,


                                                       Chie ' Justice 1-iarc>'ld D. N(. lion
                                                         Supreme Court of Georgia

cc:
 Governor Brian P. Kemp
 Lt. Governor Geoff Duncan
 Speaker David Ralston
State Bar of Georgia
Adrninistrative Office of the Courts
Judicial Council o£ Georgia
 Councii of Superior Court C2erks ol'Georgia
Departmient of Juvenile Justice
Criminal Justice COordinating Council
Council of Accountabilxty Cour t• Judges
Georg:ia Commission on Dispute Resolution
Institute of Continuing Judicial laducation of Georgia
Georgia Council of Court Administrators
Chief dustice's Commission on Professionaligan
Judicial Qualifications Coxnmission
Association County Com.missioners of Georgia
Georgia Nlunicipal Association
Georgia Sherifffs' Association
Georgia Association of Chiefe of I'olice
Geokgia Public Defender Council
prosecuting Attorneys' Council ofGeorgia
Department of Corrections
Department of Coramunity Supervision
Geo>.•gia Court Reportees Association
Board of Court Repoxting
State Board of Pardons and Paroles
Co3astitutional 4fficers Association of Georgia
Council of Magistrate Court Clerks
Counci.l o€11t1unicipal Caurt Clerks
                                       SUPitLfME COURT OTr THA' S7'ATE oF QEORGiA
                                                  Cicrk's OPCicc, illlnntn
                                              ! corti f1 ticut tha nlxIVu fx n teuc ustrnct from tho
                                  minmes aCthc Supretnc Caurtof acatgia.
                                              Wiuw-xa niy nirnatuiv and thn xonl ofsttid court horetn
                                  uft1-seA tiw dn~- itaA yanr InNI abow weittan.



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   Case 1:21-cv-00749-MHC Document 1-1 Filed 02/22/21 Page 17 of 143




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                            SUPREIVIE COliRT OF GEOE.Gf.A
                                                                   FILEIJ
                                                            Admin(strative Nlinutes
          -•.,,_::~-
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                                                              Th6rese S. Barnes,
                   SEC®ND ORD]ER EXTENDfNG I3
                       STATEVffDE JUDXCfAL EN

        On March 14, 2020, in response to the COVI.D-19 pandemic, the
 Honorable Harold D. Melton, as the Chief Justice o£ the Supreme Couxt
 of Georgi.a, issued an Order Declaring Statewide Judicial Emergency
 pursuant to OCGA § 38-3-6I. Due to the continui.ng statewide emergency,
on April 6, 2020, the Order was extendeci until May 13, 2020. '41t1hile the
work of the courts in Georgia has gone forwaxd on essential and criti.cal
 matters, and rnost courts have continued some non-essential court
operatione, in particu].ar by using technology to conduct proceedings
remotely, most court faci.lities are not prepared to comply with social
distanci.ng and other public health requirements to safeguard the health
of liti.ganta, Iawyexs, judges, court personnel, and the public during
extensive in.-court proceedings or proceedings involving a large number
of people. After consulti.n.g with the Judicial Council- of Georgia and other
judicial partners, and recognizing that most in-court proceedings compel
the attendance of various a.ndi.vid.uals rather than al7owing them to decide
how best to protect their own health, i.t is hereby determi.ned that the
statewxde judicial emergency Urder should be extended, with soFn.e
clarifications and m.odifications as well as directions xegarding efforts to
resume court tiperations in a manner that protects public health.

      Accordingly, the Order Declaring Statewxde Judicial Emergency,
which would have expired on Wednesday, May 13, 2020, at 1f:59 p.zn_, is
further extended until Friday, June 12, 2020, at 11:59 p.m. All Georgia
courts shall conti.nue to operate under the restxictions set forth in that
Order as extended, with the following clarifications, modifications, and
directions. Wh.exe t17i.s order refers to "public health guidance," courts
shouid consider the inost speci£ic current guida`nce provided by the
federal Centers for Disease Cntroi and Prevention (CDC), the Georgia
Departnrzent of Public Health (DPH), and their local health departments.
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       1.    Gui.dance on Application of the flrder

         Included i.n the Appendi.x to thas Order are several guidance
documents that clarify the applicaGionof tb.e Order i.n particular contexts:
to1.3.i.ng of faling deadlines; taIling o£ statutes of limitations; deadlznes an.d
time limits def'~.n.ed by reference to terms of court; axad the continued
autb.ority of grand juries inapanelecl pri.or to the issuance of tb,e Order.
Addxtional gui.dance documents may be posted on the ACC's webaite at
http$:flgeorgiacouxts.govfjudici.al-counczllaoc(.         ft should be noted,
however, that as discussed in Section 6 below, judges are bezng gxanted
authority on a case-specific basis to reizr►pose certain deadlines that
would otherwise be tolled by tb.e Ordex or establish new deadhnes or
schedules.

      2,     Prohiba.tion on Jury'I'rial Proceeclings and IVlosf: Grand Ju~.~y
            Pxoceedinas

      Current public health guidance recommende social distancing and
oiher measures that make it hnpraeticable for courts to protect tb,e heaith
of tkie large groups of people who are norma}l.y asBembJ.ed for jury
proceedings, zncluding jury selecti.on. Accordingly, until further arder, all
courts are prohY.bi.ted from sumuxoning new trial jurora and grand jurars
and from con.ductin.g criminal or civil jury trials.

      Grand juries that are a3,ready imganeled or are recalled from a
prevxous term of court may m.eet to attend to time-sengita.ve essential
matters, but these grand juries shoul.d not be assembled except when
necessary and only under circumatances in whi.ch social distancing and
other public h.ealth guidance can be followed.

      As discussed below, efforts are being pursued to allow tb.e safe
r.esumption of juEry trials. The clerks and court adrainist7ratore of trial
cQurts that conduct jury trials and convene grand juries will be providecd
suffiaient noti.ce of the resumption of jury proceedirtgs' to allow the
complicated procese of suznzrxon-ing pot,ential jurors to be completed.              ~
Information about this issue wiil be provided to tri.al court clerks anct
court administrators.

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           3.    Pxoceedings Condtici;edRemotel _Uai.ng7.`edhnol
                                                              ~ o,m1

          A.11 courts should continue to use and increase tb.e use of technology
    to conduct remote judicial proceedings as a prefe3rxed alternative to in-
    pexson proceeclin.gs, both to ensure that essentia.l court functions are
    continued and to conduct non-essential proceedings to limit the backiog
    of such matters when the judici.al emergency is terminated. Courts
    should understand an.d utilize the authori.ty provided by the emer.gency
    amendment9 made to court rul.es on videoeonferencee and
    teleconferences.

           Courts may cornpel the participati.on of litigants, lawyexs,
    witnesses, and ot~.her essential personnel in xemote judici.al proceedings,
    including civil nan jur3r trzale and other non jury adjudicative
    pxoceedings, where allowed by court rules (including emergency
    amendments thereto). Sueh proceedirigs, however, must be consistent
    with public health gu,idauce, must not irnpose undue buxdens on
    participants, and rnust not be prohibited by the requirements of the
    United. States or Georgia constitutions or applicable statute9 or court
    rules.

          In civil, criminal, and juvenile proceedings, parties miay expressly
    consent in the record to -xexnote proceedings not otherwi.se authorized and
    affirmatively waive otherwiae appli.cablE legal requirements. Courts
    must ensure the publxc's right of access to judi.cial proceeclings and,
    unJ.ess affixmatively waived in the record, a crirninal defendant's ri.ghts
    to confrozxtation and open courtrooms.

          4.    Zn-Court Proceedings; Developznezit- of GuideJ.ines

          Except foz• jury and grand jury proceeclings as discussed in Secti.on
    2 above, courts have d'xscretion to conduct essenfaal and non-eseential in-
    person judicial proceedx.ngs, but only in compliance w3ith publi.c health
    guidance and wi.th the requirements of the United States and Georgia
~   conati.tutions a.nd applicabie statutea and court rules, inci.uding the         ~
    public's rigb.t of access to judicial proceedings and a crim.insl defendant's
    rights to conf.rontation and open cowctrooms,

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       Before conducting exteneive in-person proceedings, particular]y in
non-essential matters, each court should devel.op writtea guidelines as to
how. in-court proceedings generally and particutar types of proceedings
will be conducted to protect tb.e health of ]it,iigants, lawyers, judges, court
personnel, and the public. Cxuidelines should specify who should be
adnutted ta the courthouee an.d courtroom and hovir public h$alth
guidance wiil, he followed regarding such matters as health screeni,ng of
court personnei and visxtoxs, eoci.aZ distancing (incl.uding by capping the
occupancy o£ courthouses, interior areas, and eourtroogn.s based on their
sxze), availabi.lity and use of personai pxotective ecluipment (PPE) by
court personnel and visitors, and sanxtization practi.ces. Guidelines
should. provide for accommodations for high-xtisk individuals. Courts
ehould consider the use of staggered, ernal.ler proceedings to conduct
proceedings involving xnany cases or partici.panta, such as calendar calls
and arrai.gnm.ents. t'xuidelines should be prominently posted at
courthouse entrances and on court and government websites to provxde
advance notice to litigants, lawyers, and the pulalic.

     Support for the development of gui.deli.nes will be provided by the
Judiczal COVID-Y9 Tagk Force discussod in Section 7 below, as well as
by the couneils fox each clags of court. Courts of different classes that
share courthouse £acilities or operate in the same county should seek to
coordi.nate their guidelines.

      G.    Discretion oF Chief Judaes Lo Declare More Rest'rl.ctive Loca.l
            Judzca.al. Emekgenci.es

       Nothing in the Ordex Declaring Statewide Judicial Emergency as
extexided and modified lirnits the authority of the Chie£ Judge of a
superi.or court judicial circuit under OCGA §§ 38-3-61 and 35-3-62 to add
to the restrietions imposed by the statewide judzcial emergency, if sucb
additi.onal restrictions are constitutional, necessitated by local
cond.ztions, and to the extent posaxble ensure that courthouses o'r properly
designated alternative faci.lities remain accesszble to carry out essex3ti.a,1
judi.cial fancti.ons. However, no court may dieregard the restrictions
impoaed by the Oxder ae extended and modified.



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 6.      Discretion of Judges to Reimpose Deadlines i.n Specific Cases

         After the datg of this order, and with the exception of deadlines
 regardxng jury triais and grand juries, judges are granted the following
 authority to xeimpose deadlinea set by statutes, rules, xegulations, and
court orders that have been suspended, toAed, Qr extended by the Qrder
Declara.ng Statewide Judic.ial Emergency as extended and m.odif'ied and
to establish new deadlines and schedules, in pending or newly filed cases,
a judge may rezmpose or estabXish such dea.d3..ines on a case-by-case basxa
after considering the particular circumstances of the case, including any
pub3ic health concerns and known individual health, economic, an.d other
concerns regarding the litkgants, lawyers, wi.tnesees, and other persons
wh.o rnay be invo3.ved in the case. The judge must enter a wxitten order in
tli.e record for the case identifyang the deadlines that are being reunposed
or established. Standing oxders appl.zcable to multxple cases and orders
si.mply reimposi.ng previous scheduling orders are not perrnitted. The
judge should ailow any party or other paxtiaipant in a case to seek
reconsideration of such an order for good cause shown.

      Judges shou.ld in particular consider reixnposxng deadlxxies that do
not require any or only insignifi.cant in-person conta.ct, such as deadlines
for filing and x°esponding to pleadings, motions, and briefe, written
discovery i.n civil cases, scheduling of depositions that rnay be taken
remteZy or require few participa.nte, and echeduling of hearings
requzring only legal argurnent or few participan.ts,

         7.   Judicial C0WD-19 Task l;arce: Comments Solicited

      A Judicial CaVTD-19 Task Force is hereby establi$hed to assist
courts in conducti.ng remote proceedings and in restoring anore in-court
proceedings, in particuiar jury trials and g.rand jwry proceedings. The
Task Force wxll xnclude judges from the various classes of court and will
obtain input from key stakeholders including the State Bar of Georgia.,
prosecutors and public defenders, civil plaintiff and defense attorneye,
court clerks, sheriffsr and the public.          -

      To ass:ist in eval-uating the effects of the arder Declar.ing
Statewi.de Jual'xcdal Eznergeney ag extended and modified, comments are
                                      ,]
                                       a
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soiicited from judges, lawyers, and the general. pubiic. Comments should
be deli.vered in Word or P7JF format by email to
JCTFcomments@gaauprerne.us.

      8.    Professionalisxn

      Wi.th regard to a11 matters in this cha3leng.ing time, ail l.awyers are
rsm.inded of their obligataons of professionalism. Judges are also
rema.nded of thexr obligatzoxz to dispose of a111udicnal matters promptly
and e:ffici.ently, including by insisting that court offitcials, litigants, and
their lawyers cooperate %rith the court to achieve that end, although thia
obligation m.ust not take precedence over the obligation to dispose of
xnatters fairly and with pati,ence, which requires sensiiivi.ty to health and
athex concerns raised by eourt oi`ficials, lit%gants and their la.wyere,
witnesses, and others.

      9.      - Provisiona
            No~ice

      N'oti.ce will, be provi.ded as to the expected termination of the Order
as extended and modifi.ed at l.east one week in advance to allow courts to
plan for the txansitxon to full.er operations.

       The inapact of COVID-19 varies across the state, an.d tb.e level of
response and adiustment vvill Ukewiee va.ry among courts. Courts are
strongly encouraged to make available to the public the steps they are
taki.ng to safely increase operatzons while responding to tb.e C0VID-19
pandena.ic. Recognizi3ag that not aU courts have a social caedia pxesence
dr website, the Adn2i.nistrative affice of the Courts will continue to post
court-specific information as it becomes avail.able on the AOC webeite at
https:/Igeorgiacourts.gov/covid-19-prepareclnesal.

      Pursuant to OCGA § 38-3-63, notice and eervice of a copy of this
order shall unmediately be sent to the judges and Clexk$ of aIl courts xn
thas State and to the clerk of the Court of Appea3s of Ceorgia, such eervice
to be accomplished through means to assure eg peditious recexpt, whiah            ~
i.nclude eleetronic means. Notice ghall also be sent to the media, the State
Ba.r of Cxeorgia, and the officlalg and entities li.sted below and shall

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consti.tute sufficient notice of the issuance of this order to the affected
paxties, counsel for the affected parties, and the public.

      IT IS SO ORD]GRED this 11th day af Ma.y, 2020.

                                                       ~
                                                  IN
                                                           v      ~

                                            Chie£ Justice Harold D. Meiton
                                              Suprexne Court of Georgia




                                  Apuendix

        Gua.dance on TollinF- of T'ilino, Deadlines March 27 2C120

      Gcuida                       tutes of Limitation (lapril 6 2U20)

                                                                    to Terms
 u.~dance on Deadli.nQ.aand'I`ime ~lizni.ts Def~.~.ed bti Refe ence
C~,
                         of Gourt (May 4, 2020


                 Cx̀ui.d.ance on C"xrand Juries (NJay 4. 2020)


            Furtb.ex Guidance on Grand Juries (May 11 2020}




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Oc:
Governor Brian P. Kemp
Lt. Governor Geoff Duncan
Speaker Davfd Ralston
State Bar of Georgia
Administratirre Qffice of the Courts
Judicial Council. of Georgia
Council af Supexior Court Clerke of Georgia
Departxyaent of Juveruile Justice
Crixui.nal Justice Coordinating Council
Coun.cil of A.ccountabil.ity Couxt Judges
Geoxgia Corn,mission on Diepute Resolution
Znstitute of Con.tinuiug Judica.al Education of Georgia
Cxeorgia Council of Co-arE Admxzlistrators
Chief Juetice's Comrn&sion on Profesai.onalism
Judicial Qualificationg Commiseion
Associe.tion County Commiseionere of Georgia
GFeorgia Municipal Asaociation
Georgia Sb.eriffe' Association
Geor:g-.ia Aseociation of Chiefe of Police
G8orgia Pubiic De£ender Council
Prosecutiug Attorxzeys' Council of Georgia
Department of Corrections
Departznent of Community Supervzeion
Georgi.a Cou.rt Reparters Association
Board of CourE Reporting
State Board of Pardone and Parolee
Conetitutional Ufficere Aosooiatiori of Georg'ia
Courzcil of N.fagietrate Com-t Clerks
Council ofmunicipal Court Cler.ks


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                                                 ClerJee office, Ah3ania
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                                   minutae o# the Suprer¢e Couxf af l3aargia,
                                            Witnees mysignaau+e and the aeal of safd cowt hereto
                                   ai6xed the day aad year laet abwe writbsn.



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                         SUPH.EIVIE COURT OF GEOI;.            June
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                    T1-1IRD ORDPREXTEl'aTDING Y.l'ELLt4.RAlIOly OF
                          STATD+WIDE JUDICFAD EMERG`rENt;Y

      On March I4, 2020, in response to the COvID-19 pandemic, the
I-lonorable Flarold D. Melton, as the Chief Justice of the Suprerne Court
of Georgia, issu.ed an Order Declaring Statewide Judici.al Emergency
pursuant to OCGA § J8-3-61. That Order has been extended twice, with
mod'zfications, by orders igsued on April 6 and May 11., 2020. After
consulti.ng with the Judicial Council of Georgia, the Judicial COVID-19
Task Fo3rce, and other judicial partners, and recognizing again that most
in-court proceedings cornpel the attendance of various individuals rather
than allowing them to decide how best to protect their own health, it is
hereby determined that the Ordex should be extended again, but with
significant modifi.cati.ons.

      The work o#' the courts in Georgia has diligently gone forward on
essentiai and critical matters, and most court9 have continued some non-
essenti.al coulrt operations, in particuiax by using technology to conduct
proceedings remotely, but more must be done. Therefore, as detailed
below, with the exception of Jury trial proceedings an.d most grand jury
proceedi.ngs, this extension order announces a plan to reimpose as of July
14, 2020, ma3ay of the deadlines irnposed by law on Iitigants in civil and
criminal cases that have been suspended, tolled, or extended since the
initial Order on 1Vlarch 14, in order to allow more pending cases and
newly filed cases to move forward in the judicial process aga2n. AII
Georgia courts must continue, however, to conduct proceedings, remotely
or in.-person, i.n compliance with public health guidance, applicable
statutes and court rules, and the xequi.reznents of the Uni.ted States and
Georgia Constitutions, including the public's right of access ta judicial
proceedings and a criminal defendant's rights to confrontation and an
open courtroom-
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      Accordingly, the Urder Declaring Statewide Judiciai Emergency,
which would have ezpired on Eriday, June 12, 2020, at i1:59 p.m., is
further extended until Sunday, July 12, 2020, at 11.59 p.rn. AIl Georgia
courts shall continue to operate under tlie restrictions set forth in that
Order as extended, with the foliowing clarifications, modifications, and
directions. Whexe this order refers to "pubii.c heaith gvidance," courts
should consider the mst specYfic current guidance provided by the
i'ederal Centers for Disease Control and Prevention (CDC), the Georgi.a
Department o£ Public Health (DPH), and their Iocal heaith departments.


1.     Continued 1Prohibition on Jury Trial Proceedings and Most
       Grand dury Proceedings

      (A) Current public health guidance recomm.ends social distancing
and other rneasures that xnake it i.rnpracticabl.e for courts to protect the
health o#' the la3rge groups o£ people who are normally assembl.ed for jury
proeeedings, i.ncluding jury selection. Accordi.ngly, the suspension of jury
trials shall remain in effect and until further oxder, alx courts are
prohibited from surnmonixtg new trial jurors and grand jurors and frorn
conducting criminal or civi.l jury tria3.s.

      (B) Grand juries that are aI.ready impaneled or are recalled from
a preUious term of court may meet to attend to tirne-sensitive essential
matteirs, but these grand juries shouid not be assembled except v`rhen
necessary and only u.nder circumstances in which social distancing and
other publzc health guidance can be foilowed. A guidance document about
the continued authority of grand juri.es impaneled prior to the issuance
of the Order is included ixa the A.ppen.dix to thie order.

      (C) As directed by the May 11 extension order, the Judicial Covid-
1.9 Task Force i.s developing policies, procedures, and templates -to allow
the safe resumption of jury trials and grand jury proceed.ings. These
materials should be available in July 2020, but it is unlikely that any
jury proceedings will begi.n until August or later.
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    11,   Pl.an for the Rein2position of Deadlines

          (A) This order announces a p).an to reiir:pose all deadlines and
    oth.er time scb.edules and filing r.equirements (referred to collectively
    herein as "deadlines'~ that are imposed on litigants by statutes, rules,
    regulations, or court oxdere in civil and criminal c:ases and administrative
    actions and that have been suspended, tolled, extended, or otherwiee
    relieved by the March 14, 2020 Order Becl.aring Statewade Judicial
    Emergency, as extended, on the following schedule and wi.th tb.e following
    exceptions and conditions:

               (I,) Consistent with Secti.on T above, deadlines for jury
    trial proceedings (ineludiJag statutory speedy t7cial demands),
    deadlines for grand jury proceedings, and deadlines calcu.lated
    by ref'erence to the date of a civil or criminal jury trlai or grand
    jury proceeding shall remain suspended and tolled. This provision
    cloes not apply to deadlines calculated by reference to the date of non-
    jury (bench) tri.als.
            (2) A11 other el.eadlAnes imposed on litigants shall be
    reamposed effective ms of July 14, 2020, as further explained below.

                 (3) Th.is will mean that for cases that were pending
    before the March 14 Order, litigants will have the same amount of
    time to file or act after July 3.4 tbat they had as of March 14. For example,
    if an answer in a civil case was due on March 20, that answer will now
    be due on July 20, and if a criminal defendant's pretrial moti.ons were
    due on March 23, they wi.11 now be due on July 23.

              (4) This wili mean that for cases filed betvueen March 14
    and July 13, 2020, the ti.me for deadlineg will begi.n running on July 14.
    For example, if a civil coinplaint was £iled in June and the answer woutd
    have been due 30 days later, that 30-day period wiR begin on July 14 and
    the answer will be due on August 13.
-               (5) This will mean that for cases filed on a+r after July
    14, 2020, Iitigants will have the normal deadlines applicable to the case.

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                 (6) If the reimpased deadline falls on a wFreekend or legal
    hoiiday, the deadline wiIl as normal be the next business day. See OCGA
    § 1-5-1 (d) (S).

                (7) Axzy egtensiQn of time for a liti.gant's f'iling or action
    that was granted by a court, or wab agreed or consented to by the latigants
    as authorized by law, before July 14, 2020 shall alsv extend the time for
    that filing or action after July 14. For example, if a litigant's filing was
    initially due on .1Vlarch 1.0 but she was granted a x0-day extengion of that
    d.eadline (to March 20), the filing will be due on July 24 (10 days a£ter
    July 14).

               (8) Litigants Fnay be entitl.ed to additional time based on the
    provisions of a local judieiai emergency order applicable to their case if
    such an order toD.ed applicable deadlines hefore the Mareh 14, 2020
    Order Declaring Statewide Judicial Emergency or tolls applicable
    deadlines after July 14, 2020.

               (9) The toll.ing azxd suspension of deadlines imposed on
    litigants in cfvil and criminal cases that are calculated by reference
    to terms of court shall be lifted as of July 14, 2020, and any regular
    term of court beginning on or a£ter July 14 shall count toward such
    deadlines. See also the May 4, 2020 Guidance on Deadlines and Time
    Limits Defiined by Re€erence to Terms of Court included in the Appendix.

                 (1a) The 122 days between 1VIaxch 14 and July 14, 2020, or
    an.y poxtion of that period in which a statute of lirnitation would have
    run, sha.Il be excluded from the calculation of that statute of limitati4n.

               (11) Liti.g-ants may apply in the normal way for extensions of
    reimposed deadlineg for good cauae shown, and cowrts should be generou.s
    in granting extensions particularly when based upon health concerns,
    economic hardship, or lack of child care.

           (}3) Recognizing the substantial backlog of pending cases,
`   deadlines ianpv`sed on courts shall remaiax suspended and tolled.
    AI.1 courts should"nevertheless work diligently to clear the backlog and to


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comply with usual deadiines and timetables to the egtent safe and
pr acticable.

      (C) To address the backlog of cases before d.eadtines on Iitigants
are reimposed more generally as of Juty 14, 2020, judges shauld utilize
the authorazation provi.ded to thena gn the Ma.y 11 extension order
to reeianpose d.ea.dlines on a case-by-case basis after considering the
particular circumstances of the case, including any public heaJ.th
concerns and knownn individual health, economic, and other concerns
regardin.g the iitigaxrts, tawyers, witnesses, anal other persons who may
be involved in the case. The judge must ennter a vrrritten order in the
record for the case identafy~ f ng tlie f'iling deadlines that are being
establi.shed. A case-specific order reimposing deadlines shall
control over the deadUnes for the same £'xlings or acti.orn.s that will
be reiinposed by statewide order.
      (D) To asaist in evaluating this plan to reimpoae deadlines,
cornments a.re solicited from judges, lawyers, and the general public.
Comments should be deli.vered in Word or PDF format by email to
JCrI'                  eme, us.


111. Proceedin.gs Cond.ucted Remotely Using Technology

     (A) . AIl courts are encouraged to continue to use and increase
the use of technology to conduct rexnote judiciai proceedings as a
8afer alternative to in-person proceedings.

     ($) Courts should understand and utilize the authority provided
and clarified by the ernergency amendments made to court rules on
videoconferences and teieconferences.

       (C) Courts rnay compel the participa.tion of litigants, lawyers,
witnesses, and other essentiai personnel in remote judxcial proceedings,
i.ncludin.g civil non-jury trials and other non jury adjudicative
proceedi.ngs, where allowed by court rules (including ernergency
arnendments thereto). Such proceedings, however, must be consistent
with public health guidance, must not impose undue burdens on
                               5
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parti.cipants, and must not be prohibited by the requirements of the
United States or Georgia consti.tutions or applicable statutes ox court
rules.

      (D) In civil, criminal, juvenile, and adm.inistrative proceedings,
litigants rnay expressly consent in the record to remte proceedings not
otherwise authori.zed and affirmatively waive otherwise applicable legal
requirements.

      (E) Courts must ensure the public's icight of access to judicial
proceedings and in all criminal cases, unless affi_rnxatively waa.ved in the
record, a eriminal de£endant's rights to confrontation and an open
courtroom.


IV, gn_pexsen prQceedlxa.gs Under Guidelines fur Safe Uperations

      (A) Except for jury and grand jury proceedings, courts have
di.scretion to conduct in-person jud'zcial proceedings, but only in
compliance with public health guidanee and with the requirements of the
United States and Georgi:a constitutions and applicable statutes and
court ruies, including the public's ra.ght of access to judicial proceedinge
an d a criminal defendant's rights to confrontation and an open
courtroom.

      (B) Each court should develop and unplemen.t operating
guideli.nee as to how in-court proceedings generally and particular types
of proceedings will be conducted to protect the health of litigants,
lavayers, judges, court personnel, and the publi.c. The Judieial Council
Strategi.c Planning Comznittee and the Judicial Covid-l9 Task Force
have issued a bench card entitled "Georgia Court Reopening Guide,"
                                                                       for
which is included zn the Appenclix and may be. used as the tempJ.ate
such operating guidelines.

     (C) Courts of different classes that share courthouse facilities or
                                                                               '
operate in the same county shoul.d aeek to coordinate their operating
guidelines.

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       (D) Each court must submit its operating guidelines to the
Adxninistrative Ofhce of the Courts at 1-iLi;i)s:i/g(~orgiacourt-s.gov/covid-l.9-
court-ot)erating-giudel_uies-I'ori7i1           to      be        posted       at
httris:!/georgiacourts. ovlc:ovicl-l9-catirL-oierating-gtii.clelines/     as a
centxalixed website available to litigants, lawyers, and the public.
Operating guidelines also shouid he protn.inently posted at courthouse
en.trances and on court and local governrnent websi.teR to provide advance
notice to Iitigants, Iawyers, and the public.

     (E) Operatzng guidelines should be rnodiffied as public health
guidance is modified, and shall remain in ef£ect until public health
guidance indi.cates that they are no Ionger required.


V.      Discretio n of Ch4ef Judges to I)eclare 11~ore Restrictive
        L~ocal Judicial
                 '      Emteggencies

      (A) Nothing in the C)rder Declaring Statevvide Judicial
Emergency as extended and rnodifi.ed limits the authority of the Chief
Judge of a superior court judici.al circuit under OCGA §§ 3$-3-61 and 38-
3-62 to add to the restrictions imposed by the statewide judicaai
emergency, if such additional restrictions are constitutional, necessitated
by local condititins, and to the extent possible ensure that cou3rthouses or
properly designated alternative faci.lities remain accessible to carry out
essenti.al judicial. fi.incti.ons.

      (B) No court m.ay di.sregard the .restrictiona irrzposed by the Order
as extended and rnocl.i.fied.




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'SlI. C;ezidance Qn Applicatio;n ofthe Order

       Incfuded in the Appendi.x are several guidance documents that
clarify the application of the Order in particular contexts. Adclitional
guidance documents may be posted on. the AOC's website at
https://georgiacouwets_govljudicial-councillaocl. G`ruidance related to the
totling o£deadlines should, be read in light o£ the rei.rnposition of deadlines
pianned €or by tla.is order and by orders zn speci£ie cases.


VIIa Professionalism

      VFlith regard to all matters in this challenging tirne, all lawyers are
remi.nded of their obligations of professi.onaiism. Judges are also
reminded of their obligation to dispose of aZl juclicial matters promptly
and efficientl.y, i.ncluding by ingisting th.a.t court officiaig, litigants, an.d
their Iawyers cooperate with the court to achi.eve tiiat end, although this
obligation rnust not take precedence over the obligation to dispose of
ma.tters fairly and with patience, which requires sensitiva.ty to health and
other concerns rai.sed by court off"i.cials, litigants and their lawyers,
witnesses, and others.


ViII. 1dTQtice Prmvisions

     (A) Notice will be provided as to the expected termination of the
Order as extended and modified at least one v+reek in advance to allow
courts to plan for the transi.tion to fuller operation$.

       ($) The clerks and court administrators of trial courts that
conduct jury trials and convene grand juries will be provided suffi.cient
noti.ce of the resutnption of jury proceedings to sIlow the complicated
process of summoning potential jurors to be completed.

      (C) The impact o£' COVLD-I9 vari.es across the state, and the level
of response and adjustment will likewise vary among courts. Courts
sliouid make available to the public the steps they are taking to safely
increase operations vFrhile responding to the COVID-19 pandemic.
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.Recognizing that not all courts have a social media presence or vvebsite,
the Administrative Office of the Courts wiill cflntinue to post court-specific
inforrnation as it becornes available on the AOC vrebsi.te at
I-Lttl:)s://g(,,o-rg_lacourts.gov/covid-19-T)reparedness/.

       (D) Pursuant to OCGA § 38-3-63, notice and service of a copy of
thas order shall immediately he sent to the judges and clerks of all courts
in this State an.d to the clerk of the Court of Appeals of Georgia, such
service to be accompli.shed through means to assure expeditious recei.pt,
vcrhich include eiectroni.c meane. Notice shall also be sent to the medi.a,
the State Bar of Georgia, a.nd the off'icials and entities i.isted below and
shall consti.tute snffieient notice of the issuance of this oxder to the
a£fected litigants, counsel for the affected liti.gants, and the public.

      IT fS SO ORDERED this 12th day of June, 2020.



                                                 ~~                  -`--

                                            Chief Justice Haroxd D.1Vlelton
                                              Supxeme Court of Georgia




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                                    APPENfDIX


        (_~tiidance oii'Ibil_in~ of I`il~Deadline~Iarch 27, 2t)2Q)


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Gu.iaancc o,x Deadlines, anci 'I'i rrie Liiiiits DefizaEcl 13), Iirefexcnnce to
                         of Couri;_Ll~Iav 4, 202U)


                   (iu1d117Ce i117 Grand Jiizies (May 4 2()2U


             L'itrther Guidance c}n Grand juries (Mtty 11 2U20}


               Ge;or.gia Court Reonei-iixig Guide tJu.ne '].)., 2020~




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Lt. Governor Geoff Dtzncan
 Speaker David Ralston
State Bar of Greorgi.a
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Judicial Councati of Georgia
 Counoi.t, of Superior Court Clerks of Georgia
Department o£ Juvenile Justi.ce
 CriminaJ. Justice Coordinati.ng Council
 Council o£ Accouzztability Court Judges
Georgia Comxniseion on Dispute Reso}.ution
fnstitttte of ContYnuing Juclicial Education of Georgia
Geoxgia Councii of Court Atlministratoxs
 Chief Justi.ce's Commission on Profee$ionaliem
 Judicial Qualificataon$ CommiBsion
Association Courzty Com.naiaei.oners of Geoxgia
Georgia Municipal A.ssociation
 Georgia Sheriffe' Aseociation
.Georgia Aesociation of Chiefe of Police
Georgi.a Public Defender Council
Prosecuti.ng Attorneys' Council of Georgia
Departznent o£ Corrections
Departxnent of Community Supervision
Georg'ia Court Reporters .Association
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State Board of Pardona and Paroles
Constitutional0ff'icere Association o£ Georgia
Cou.ncil of MagzatraEe Court Clerka
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                                             I certify that the above ia a true extract flrom the
                                   minutes oC the Supreme E,'ourt oPdeorgia.
                                             FVitaeea my eignature snd the eea] of seid court hereto
                                   aflixed the day and year last above written.



                                                     .     -~ &."/,                    Clerk




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                 FOIiJRTH QrRDER° 1XTENDING
                                   +          DE                .~. ~~~~•..-.r-._
                       STA'le'EWIDE JUDIC1AL EME

      On March 14, 2020, in response to the COVID-19 pandemic, thc
Flonorahle Harold D. Melton, as the Chie£ Justice of the Supreme Court
of Georgia, issued an Order Declaring Statewide Judicial Ernergency
pursuant to OCGA § 38-3-61. That Order has been extended three tirnes,
with znodi£ications, by orders issued on April 6, May 11, an.d June 1.2,
2020. After coza.sulting wi.th the Judici.al Council o£ Georgi.a, the Judicial
COVTD-19 Task Force, and other judicial partners, recognizing again
that zn.ost in-court proceedings compel the attendance of various
individuals rather than allowing thezn to decide how best to protect their
own health, and further recogni.zing that the novel coronavirus continues
to spread in Georgia, it is hereby determined that the Order should be
extended again.

      Courts in Georgia have continud to perform essential function
despite the pandemic. The Mxy 11 extenaion order also encouraged courts
to work diligentl.y to address the backlog of periding cases on a case-by-
case basis, and the June 12 exteneion order announced a plan to reimpose
as of Juty 14 many of the deadlines unposed by law on litigants in civil
and criminal cases that have been suepended, tolled, or extended since
the initial March 14 Order. This order puts that plan into place and will
allow mare pending and newly filed cases to move forward in the judicial
process in an e££ort to return to more robust court operations. Gzven
current circumstances, however, this order continues the prohibition on
alI jury proceedings and almost all grand jury proceedings.

      As has been the direction si.nce the original Order, all Georg.ia
courts must continue to conduct proceedings, remotely or in.-person, in
compliance with public health guidance, applicable statutes and court
rules, and the requirements of the United States and Georgia
Constitutions, including the public's right of access to judicial
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proceeding9 and a crimin.al defendant'a rights to confrontation and an
open courtxoorrx. All courts shouid continue to use and increase the use of
technology to conduct remote judici.al proceedings as a safer alternative
to in-person proceedings, unless required by law to be in person or unless
it is not practicable for technical or other reasons for person$
participating in the proceed.zng to participate remotely_ This order
fu.rther delineates the - health precautions required for all in-person
judicial proceedings and specifies that courts must adopt operating
guidelines consi.stent vrith the Georgia Court Reopening Guide and an.y
more speeifi.c local public health guidance.

      A.ecordingly, the Order Declaring Statewide Judicial Emergency,
which would have expired on Sunday, July 12, 2020, at 11:59 p.m., is
further extended, effective Sunday, July 12, .2®20, at 17.:59 p.m.,
until Tuesday, August 11, 2Q2© at 11:59 p.Yn. All Georgaa courts shall
conti.nue to operate under the 3restrictions set forth in tb:at Qrder as
extended, with the £ollowin.g clari.fications, rnodifications, and directions.
Where this order refers to "public health guidance," courts should
consi.der the most speci.fic current guidance provided by the federal
Centers for Diseare Control a.nd Prevention (CDC), the Georgi.a
Department of Publi.c kiealth (DPH), and their local health departments.


I.      Continued Probr.ibitYQn on Jury Tria! Proceedings an.d Most
        Grand Jury Proceedings

      (A) Current public health guidance recommends social distancing
and other measures that make it impracticable for courts to protect the
health of the large groups of people who are normally assembled for jury
proceedings, including jury selection. Accordzngly, the suspension of jury
trials shall remain i.n effect and until £urther order, alI courts are
prohibited from summoning new tri.al jurors an.d grand jurors arid from
conducting crim.inal or civil jury tri.al9.

      (B) Grand juries that are already impaneled or are recalled from
a prevXous teerm of court may meet to attend to ti.me-s~nsitive essentiial
matters, but these grand juries shall not be assembled except when
necessary and only under circumstances in which social distanca.ng and
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other public health guidance can be followed. A guidance doeument about
the continued authority o£ grand 3uri.es impaneled prior to the issuance
of the arder is included in the Appendix to this order. Courts and counsel
are reminded that many criminal cases may proceed on accusation and
do not require a grand jury indictment.

       (C) The Judicxal COiTIE-ly Task roxce con.tinues to develop
policies, procedures, and templates to allow the safe resuFn.ption of jury
tri.als and g-rand jury proceedings_ These materials will be pubiicized
when ready, ' but it is unlikely that a-ny juxry proceedings will begin until
September or tater.


I1.   Reixnposition ol' Deadlines on Litigants

       (A) As announced in the June 12 extension order, this ordex
hereby reimposes all deadli.nes and other time schedules and filing
requirements (referred to collective3.y herein as "dea.dlines") that are
imposed on litigants by statutes, rules, regulations, or court o7rders in
civii and criminal cases and administrative actions and that have been
suspended, tolled, extended, or otherwise reli.eved by the 1V;[arch 14, 2020
Order Declari.ng Statewide Judi.cial Emergency, as extended, on the
f4llowing schedule and with the following exceptions ancl conditions:
            (1) Consistent with Section I above, deadlines for jury
trial proceedi.ngs (including statutory speedy tri.al dexnands),
dea.dlines for grand ju.ry proceedings, and deadlines ealculated
by reference to the d.ate of a civil or crimitnal jury trial or grand
jury procee3.in.g shall rerna.in suspended and tolled. This provision
doee not appiy to deadlines cal.culated by reference to the date of non-jury
(bench) trials. Until grand jury proceedings are generally authorized,
statutes of limitation i.n criminal cases shall also remain tolled.
         (2) AlI other deadlines imposed oa li.tigants shall be
reimposed ef£ective July 24, 2020, as further expiai.ned belovcr. -
           (3) In cases that were pending before the March 14
Urder, litigants will have the same amount of tirne to file or act after
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Juiy 14 that they had as of March 14. For example, if an angwer in a civil
case was due on March 20, that answer will now be due on July 20, and
i.f a cri.minal defendant's pretriai motions were due on March 23, they will
now be due on July 23.
            (4) In cases filed between N.larch 14 and Juiy 13, 2020,
the time for deadlines will begin running on Juiy 14. For example, if a
civil complaint was filed xn June anc1- the answer wouid have been due 30
days later, that 30-day period will begi.n on July 14 and the answer will
be due on August 13.
           (5) in cases filed Qn or after Jexly 14, 2®20, litigants
shall comply with the normal deadli.nes applicable to the case.
             (S) If the rez3nposed deadline falle on a weeh.end or legal
holiday, the deadline will as normal be the next business day_ See OCGA
§ 1-3-1 (d) (3)-
            (7) Any extension of time for a litigant's filing or acti.on
that was granted by a court, or was agxeed or consented to by the iitigants
as authorized by law, before July 14, 2020 shall also extend the time for
that filing or actzon after July 14. For example, if a litigant's filing was
initially due on 1Vlarch 10 hut she was granted a 10-day extenaion of that
deadline (to March 20), the filxn►g will be due on July 24 (10 days after
July 14).
             (8) Litigants may be entitled to additional time based on the
provi:sion:s of a local judici.al emergency order applicable to their caee if
such an order tolled appli.cable dead).3nes before the March 14, 2020
Order Decl.aring Statewide Judicial Eznergency or tolls appiicable
deadlines after July 14, 2020.
            (9) 'rhe tolling and suspension of deadlines imposed on
litigants in civil and criminal caseg that are eaiculated by reference
to ternns of court shall be lifted as of July 14, 2020, and any regular
term of court beginni.ng on or after July 14 shall count toward such
deadlines. See also the May 4, 2020 Guidance on Deadlines and Time
Lirnits Def'ined by Reference to'I`erms of Court included in the Appendix.
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            (10) 'I`he. 122 days between March 14 and Juiy 1:4, 2020, or
any portXon of that period in which a statute of limitation would have
run, shall be excluded fxom the calculation of that statute of limi.tation.

          (11) Litigants rnay apply in the norr.nal way £or extensions of
reimposed deadlines for good cause shown, and con.rts should be
genermus in granting extensfons particularly when based upon
heaith concerns, econornic hardship, or lack of child care.

      (B) Recognizing the substantial backlog o£ pending cases,
d.eadli.nes i.rnposed on courts shall remain suspended and tolled.
All courts shou3.d nevertheJess work diligently to clear the backlog and to
comply with usual deadlines and timetables to the extent safe and
practicable.
      (C) If before July 14 a court reimposed deadlines by order in a
specific case based on the authority to do so granted by prior extension
orders, the case-specitfic order reixnposing deadlines shall control
over tb.e deadlines for the same filings or actions reimposed by
this statewide order.

      (D) If in a clivorce or adoption case a time periodi required by law
actually passecl or passes before the court entered or enterg a consent
order, consent judgment, or consent decree regarding the divorce or
adoption, such order, judgrnent, or decree sb.all not be invali.d based on
any suspension or tolli.ng of the applicable period by the 1Vlarch 14 Qrder
as extended.


III. I'roceedings CQnducted Renaotely Usnng Technology

      (A) All coujrts should continue to use and increase the use of
technol.ogy to conduct remote judicial proceeclings as a safer alternative
to in-person proceedings, unless requ.ired by 3aw to be i7rz person or unless
it is not practicable for technical or other reasons for persons
partici.patingin tb.e proceeding to participate remotely.
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     (B) Cou.rts should understand and utilize the authority provxded
and c.larif'ied by the emergency amendments made to couxt rules on
videoconferences and teleconferences.

      (C) Courts may compel the partici.pati.on of Iitigants, Iawyers,
witnesses, a.nd other essential personnel in remote judiciai proceedings,
where aliovcTed by court rules (includi.ng etnergency amendments thereto).
Such proceedings, however, must be consistent with public health
guidance, must not impose undue burdens on participants, and must not
be prohi.bited by the requirem:ents o£ the United States or Ceorgia
constitutions or applicable statutes or court rules.

       (D) In civil, criminai, juvenile, and administrative proceodings,
li.tigants may expresgly consent in the record to remote proceedings not
otherwise authorized and affirrnatively waive otherwise applicable legal
requiirements.

     (E) Courts must ensure the public's right of access to judicial
proceedings and in al.I criminal cases, uYil.ess affirxnatively wai.ved in the
record, a criminaI defen.daxxt'e rights to confrontation and an open
courtroom.


IV.   In-Person ]Proceedxngs           LTnder     Guideiines      for   Safe
      Clperations

     (A) Coumts have discretion to conduct in-person judicial
proceedings, but only in compliance with publi.c health guidance
and with ihe requirements of the iTnited States and ("xeorgia
constitutions and ap~rlicabrle statutes and court ru'les, including
the pubiic's right of access to judicial proceedings and a crirninal
defendant's rxghts to confrontation and an open courtrooFn.

      (B) N'o court may conzpel the attendance of any person for
a eourt proceedi.ng if th.e couat proceedang os the court facility in
which it i`s to be held is not in co`mpliance with this order,
in.cluding in particular Iarge calendar calls. Courts are also prohibited
from cornpelling in--person participation in any court-imposed
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alternative dispute resolution session that is to be conducted i.m
a manner inconsistent with a.pplicaisle public h.esclth gu.idelines.

     (C) Each court shall develop and innplen2ent- operating
guideiines as to how in-court proceedings generally and particular types
of proceedings will be ' conducted to protect the health o£ li.tigants,
?awyers, judges, court persvnnel, and the public.

            (1.) The Judicial Council Strategic Planning Committee and
the Jucdicial CO'(ID-19 Task Force have issued a bench card entitled
"Georgia Court R,eopening Guide," which is included in the Appendix and
should be u.sed as the tennpl.ate £or such operating guidelines, which at a
minimum should include all subject matters contained therein. Courts
should also consider guidance fram local health departrnents and
guidance provided by CDC and DPI3; if local public health guidance is
more restrictive than the bench card, the local public health guidance
should be foll.owed inatead.

            (2)   V(T.ith regard to everyone who works in a court £acility,
t;he operating gui.delines shall require isolatnon of any person wi.th
known or suspected COVID-19 and quarantine of any person with
COVID-19 exposure likely to resuit in infection, in accoxdance with the
DPH Seventh Amended Administrati.ve Order for Public Health Control
Measures, a iink to which may be found in the Appendix, or any
subseqtient versi.on thereof.

            (3) When there is reason to believe that anyone who works
or has visited a court facility has been exposed to COVTD-19, DPH or the
Iocal heal.th departrnent shall be notified and notification o£ pprsons
who may have been: exposed shall occur as directed by DPH or the local
health department.

             (4) To the extent operating guidelines prevxously
implemented by ccurts do not comply . fully with thEe
requirern.ents of this order, courts shaly develop and implement
revised guidelines within 10 days of this order.                         -
     (D) Courts of di~'ferent classes that share courthouse  facilities or
operate i.n the same county should coordinate their operating guidelines,
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and shoul.d seek to cooralinate operating guidelines with non judicial
entities ehari.ng courthouse faci3ities.

        (E) Each court must submit its operating guidelines to the
Administrative Office of the Courts at hi,~s__l/K~~c~z- =iacourts. t_,avlc:tyvic~-_l
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centralized website available to Iitigants, lawyers, and the public.
Operating guidelines also should be promi.nentiy posted at courthouse
entranees and on court and local governrnent websites to provide advance
notice to litigants, lawyers; and the public.

      (F) Operating gua.del.ines shall be modified as public Iiealth
gui,darnce is modified, and ahall remain in e£fect until public health
guidance indicates that they are no longex required.


V.     DiscretioII of Chie£ Judges to Declare IVdnre Restrictive
       Local Judicial Emergencies

      (A) Nothing in the Order Declaring Statewide Judicial
Emergency as extended and modiffied li.mits the authori.ty of the Chief
Judge of a superior court juclicial circuit under OCGA §g 38-8-61 and 38-
3-G2 to add to the reatri.ctions imposed by the statewi.de judiLiai
emex•gency, i.f such additional xestrictions are constitutionai, necessitated
by local conditions, and to the extent posgible ensure that courthouses or
properly designated alternative faciEli.ties remain accessible to carry out
essential judicial Functions. A Chi.ef Judge may impose such additi.onal
restrictions only by a properly entered order.

      (B) No court tnay disregard the restrictions iznposed by the Order
as extended and modified.




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VI. Guidance an Application ofr the Order

      lncluded in the Appendix are sever.al guidance documen-ts that
clarify the applicat3on of the Order in particular contexts. Additional
guidance docum.ents may be posted on the A.C3C's website at
                                                    Guidance related to the
tolling of deadlines should be read i.n light of the reu7nposition of deadli.,nes
by this order and by orders irt specific cases.


VIT. lPro€essionali.sm

      With regard to all matters i.n this ehallenging time, all lawyers are
reminded of their obligations af professionalism. Judges are aiso
rexninded of their obligation to dispose. of all judici.al matters prornptly
and efficzently, including by znsisting that court officials, litigants, and
their la•wyers cooperate with the court to achieve that end, although this
obligation must n.ot take precedence over the obligation to dispose of
matters fairly and with patience, which requires sensitivi.ty to health and
other concerns raised by court offi.cials, li.tigants and their lawyers,
witnesses, and others.


VIII. Notice Provisions

     (A) btotice will be provided as to the expected term.ination of the
Order as extended and tnodified at least one week in advance to aIlow
courts to plan for the transition to fuller operations.

      (B) The clerks and court administrators of trial courts that
conduct jury trials and convene grand juriea will be provided sufficient
notice of the resumption of jury proceedings to allow the complicated
process of sumxnoning potential jurors to be completed.

      (C) The impact of COVTD-19 varies across the state, and the level
of response and adjustment vsril! Iikewise vary among courts. fiourts
should rnake avaiiable to the public the steps they are taking to safeiy
increase operations while responding to the COVID-19 pandemic.
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Recognizing that not aI.l courts. have a social media presence or website,
the Administrati.ve 0#~f'ice of the Courts will continue to poet court-specific
inforrnation as it becomes available on the AOC website at
11t.~;;•.r/~c,c3~~i~icaua,t;s.~ov/covid-]_9-urepat•eririess/,

       (D) Pursuant to OCGA § 38-3-63, notice and service of a copy of
this order shall immediately be sent to the 3udges and clerks of ati courts
in this State an.d to the clerk of the Cour•t o£ Appeals o£ Georgza, such
$ervice to be accompli.shed through means to assure expeditious receipt,
which incl.ude electronic xc.oans. Noti.ee sha11 also be sent to the media,
the State k3ar of Georgia, and the officzals and entities listed below and
shall consti.tute suf€icient notice of the issuance of this order to the
af'fected liti.gants, counsel for the affected Iitigants, and the publi.c.

      IT IS SO ORDERED this i0th day of July, 2020, and effective July
1.2, 2020, at I1:69 p.m.




                                            Chief Justice Harold D. Me£ton
                                              Supreme Court of Cxeorgia




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                                          af Couz•t .(May 4, 2020)                                                _^


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cc:
Governor Brian P. Kemp
Lt. Governor Geo£f Duncan
Speaker David Ralston
StatE Ba-r of Georgia
Adnuinistrative Off'~ce of the Courts
Judicxal Council of Georgia
Council of Superior Court C].erks of Georgia
Department of Juvenile Justice
Crizninal Justice Coordinating Council.
Council of Accountabi.lity Court Judges
Georgia Commission on Dispute Resolution
lnsti.tute of Conti.nuing Judicial Education of Georgia
Georgia Council of Court Admi.nistrators
Chief Justice's Conkmission on Professionalism
Judici.al Qualifxcations Commission
Associ.ation County Commissioners of Georgia
Georgia Municipal Association
Georgia She3riffs' Association
Georgia Association of Chi.efs of Poli.ce
Georgi.a Public Defender Council
Prosecuting Attorneys' Council of G`reorgi.a
Department of Corrections
Department of Comrnunity Supervision
Georgia Court Reporters Association
Board of Court Repox-ting
State Boa.rd of Fardons and Paroles
Constktutional Offi.cers Association of Georgia
Council of .Itllagistrate Court Clerks
Council o£ Municipal Court Clerks
                                         SUPWMS COUBT OF THE STATE OI+ GEORGaA.
                                                 CierEt'e Offiae, Atlanta

                                             7 certifg that the above ie a true extract from the
                                   minatee of ihe Suprem Conrt of t;eorgia.
                                             Witneea my eignatnre aud the seal of eaiid court hereto
                                   effixed ihe day and year laat abave tviitten,




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                   .~ SUPREIi2E CO UR.T OF G EORGIA
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 1,r" `--•        '~                                    A 1I17IlISIr'Sr{Ye    M iF1EiEe4
         ~fl{~                                          ~ugust 11, 2020                    - -
                                                            'I'l:erese S. Barnes
                                                                ,           :    ~~~~~"
                       ~`IF~`H (~RDE~. EXTEI~TDI~IG D ,     ~                     G Ey~ORC►1 A   t


                             ~~ATEW IDE ~f'UDIOIA]L E + +
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                                                                          [[[
      On 1V.larch 14, 2020, ia re9ponse to the COVID-19 pandetnic, the
Honorable Harold D-Melton, as the Chief Justice of the Supreme Court
of Georgia, issued an Order Declarin.g Statewide Juda.cial Emergency
pursuant to OCGA § 38-3-61. That Order hae been ex-tended four times,
with modifications, by orders issued on April 6, May 11, June 12, and
Jul.y 10, 2020. After consulting with the dudiciai Council of Georgia and
other judica.al partners, recogni.zing again that most in-court proceeding$
compel the attendance of various individuals rather than allowing them
to decide how best to protect theiar own health, and £urther recognizi.ng
that the novel coronavirus continues to spread in Georgia, it is hereby
determined that the Order ahould be extended again.

       Courts in Georgia have continued to per£orm essential functions
despzte the pandemic. Tn an effort to return to more robust court
operations, many of the deadlines i.mposed by law on litigants in civil and
criminal cases that had been so.spended, tolled, or extended eince the
iriitial March 14 Order were reimposed as of July 14, aIIowing more
pending and newly fxled cases to move forward in the judicial procese.
                                                                         thie
However, given the current levels of COVID-19 around the state,
order contxnues the prohibition on all juxy proceedings. This broad
prohibxtion cannot last too much longer, even if the pandemic continuea,
because the 3udicial syetem, and the caciminal juetice systexn in particular,
                                                                        trial.
must have some capacity to resolve cases by indictment and
Accordi.ngly, the Jud.icial C0VTD-19 Task Force is focusing on how grand
j ury and jury trial proceedings could safely be conducted• even where
levels of COVID-19 are high, i.ncluding the poesibility of conducting grand
jury procee.dings and,jury selection reznotely.

     As has been the di.rection since the original Order, all Georgia
                                                                    in
courts must continue to conduct prooeedings, remtely or in»person,
                                                              PlA1~l`i'f FF'S

                                                                                             ~.
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compliance with public heaith guida.nce, appli.cable statutes and court
rules, and the requiremnts of the Dnited States and Georgia
Constitutions, including the public'e right of acces$ to judiciai
proceedinga and a criminal defendant's rights to confrontativn and an
open courtroorn. A.11 courts should continue to use and increase the use o£
technology to conciuct remote 3udi.cial proceedings ae a eafer alternative
to in-person proceedings, unleas required by law to be in person or unless
it is not practicable for techni.cal or other reasons for persons
participa.ting in the proceeding to participate zemotely. Tbis order again
de3.i.neates the health precautione required for all in-person judicial
proceedings and requiree courta to adopt and maintain operating
guidelinee cons.istent wi.th the Gevrgia Court Reopening Guide and any
more specifi.c local publi.c health guidance.

      Accordingly, the Order Decla.ring Statewide Judicial Emergency,
whi.ch would have expired an'I'uegday, August 11, 2020, at 11:69 p.m,, is
further extended untal ghursday, September 10, 2020, at 11:fi9 p.m.
All Georg,ia courts shall continue to operate under the restrictions set
forth in that Order as extended; the proviaions of this order below
are identical to the july i0 extension order exeept for minor
revieions to the language of Seotions I(0), if (A), and IV(C) (2)
a:nd the deletlon of Section TV (C) (4). VVhere this order refers to
"publi.c health guidance," courts should conaider the most specffic current
guidance provi.ded by the federa.l Centers for Disease Control and
Prevention (CDC), the Georgia Department of Public Health (DPH), and
their local heatlth departmer3:ts.


1.      Continued Prohibitimn on Jury Trial Proceeditnga a.nd Moat
        Grand Jury Proceedings

      (A) Current public health guidance recommends social distancing
 and other measures that make i.t unpracticabie for courts to protect the
 health of the large groups of people who are norm.ally assembled for jury
 proceeci~iga,
         '     including jury selection. Accordingly, the euspension of jury
 trials shall re3main in effect and untii further order, all courte are
 prohibited from sumr.uoning new trial jur~ore and gran:d jurora and from
 conductzng criminal or civil jury trial8.
                                     2
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      (B) ~`xrand j uries that are already impaneled or are recalled from
a previous term of cou.rt may rneet to attend to tirne-sensitive easential
matters, but these grand juries shall not be assembled except when
neceasary and only under circumsta,nces in which social distaneing and
other public health guidance can be followed. A gui_dance document about
the continued authority of grand juriea irnpaneled prior to the issuance
of the Order is included in the AppendYx to this order. Courts and counsel
are reminded that many criminal cases may proceed on accusation and
do not require a grand jury indictment.

        (C) The Judi.cial CO`TID-1S Task Force continues to develop
poii.ci.es, procedures, and temglates to allow the safe resurnption of jury
trials and grand ju.ry proceedings. These mafierials will be publicized
when ready.


YI.   Reinaposition of Deadlines on Litigants

      (A) The July 10 extension order reimposed all deacllines and other
time achedules and filing requirements (referred to collectively herein as
"deadlines") that are imposecl an litigants by etatutes, rules,
regulations, or court orders in civil and criminal caees and administrati.ve
actions and that have been suspended, tolled, extended, or otherwise
relieved by the March 14, 2020 Order Deciaring Statewide Judiciai
Emergency, as extended, on the fol.lowing schedule and with the following
exceptione and condi.tions:
            (1) Consiatent with Section 1 above, deadlines for jury
tgia►1 proceedings (Yncltuding statutory apeed•y trial demands)',
deadlines for grantd jury proceedings, and dea.dlines calculated
by reference to the date of a civil or crirninal jury trial o1-•grarid.
jury proceeding shall reinain suspended and tolled. Thi3a proviskon
does not apply to deadlines calculated by refexence to the date o£ non jury-,.
(bench) triais. Until grand jury proceedings are generaliy authorizedy
statutes of lim.itation in criminal casee ehall al:eo remain tolled.   -

           .(2) AlI other deadliraes i.mpased on litxgants sliall be
reln•ap'osed ef°fective July 14, 2020, as further explained below.
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             (3) 1n cs.ses that were peu.ding befQre the March 14
                                                               or act after
Oreler, litigants will have the same amount of time to £ile       in a civil
July 14 that they had as of March 14_ For example, i£ ~Ln anawer
                                                           on July 20, and
caee was due an March 20, that answer will now be due   March 23, they will
i£ a criminal defendant's pretrial moti.ons were due on
naw be due on Jul.y 23.
             (4) £n cases £'tled between March 14 and July 13, 2020,
                                                         For example, if a
the tirn.e for deadlines will begin running on July 14.
                                                         have been due 30
civil complaint was filed i.n June and the answer would the anawer will
days later, that 30-day period will begin on JuZy 1.4 and
be due on August 13.
           (6) 1n caees filed on or after JuHy 14, 2020, litigants
                                                        the case.
shall com.ply with the norrnal deadlines appl.icable to
           (6) Yf the reimposed deadli.ne falls on a vveekend or iegal
                                                         day. See OCGA
holiday, the deadline wiU as normal be the next bueinees
§ 1-3-1 (d) (3)-

            (7) Any extension o£ time £or a litigant's hling or action
                                                            to by the litigants
that was granted by a court, or wa$ agreed or coneented   extend the time for
as authorized by Iaw, before July 14, 2020 shall al.so litigant'e filing wae
that filing or action after July 14. Fox exaraple, if a extensi.on of that
initiaily due on 111larch 10 but she was granted a 10-day
                                                             24 (10' days after
deadiine (to March 20), the filing will be due on Juiy
July 14)-
             (8) Litigants may be entitled to additi.onal time based on the
                                                               to their case if
provisions of aloca3. judicial emergency order applicableNlarch 14, 2020
auch an order tolled applicable deadlines before the toIle applicable
                                                          or
Order T3eclari.ng Statewide Judicial Emergency
 deadlines after Juiy 1.4, 2020.
                                                                             on
             (g) The tolling and suspension of deadlinee imposed
                                                                     re£erenee
 litigan$s .in czvil an.d cri.minal 'cases that are calculated by
                                                    14, 2020, and any reguiar
 t© texms of court shaIl be lifted as of Juiy
 term of court beginxung on or after July 14 shall count toward such
                                       n
                                       ~
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deadlines. See also the Aday 4, 2020 Guids.nce on Deadlines and Time
Limits I}efined by Reference to Terme of Court i.ncluded in the Appendix.

            (10) The 122 days between March 14 and July 14, 2020, or
any portion of that period in which a statute of limitation would have
run, ehall be excluded from the calculation of that statute o£ limitati.on.

           (11) Litigants may apply in the normal way for extensxons of
rei.mposed deadli.nes for good cause shown, and coo.rts should be
gen.erous in grantin.g extensivras partgcularly when hased upon
healtla cmncerns, economdc ha.rdship, or lack of cls.ild care.

       ($) Recognizing the substanti.al backlog of pending caaes,
d.eadlines in-iposed on courts sha11 renxaxn suspended a.n.d tolled.
.All courts should neverthelegs worlc diligently to clear the backlog and to
comply with ueual deadlinee and timetables to the extent safe and
practicable.

      (C) If before Ju1.y 14 a court rei.mposed deadlines by order in a
specific case based on the authority to do so granted by prior extension
orders, the case-specnfic order reimp®sxng deadtines shail control
over the deadlines for the same flluags or actlons relmposed by
this statewide order,

      (D) If in a divorce or adoption case a time period requi.red by law
actually pasaed or passes before the court entered or enters a consent
order, consent judgm.ent, or consent decreee regarding the dxvorce or
adopti.on, such order, judgment, or decree shalt not be invalid based on
any suapensi.on or toliing of the appiiicable peri.od by the March 14 Qrder
as extended.




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~i.   Proceedings Conducted Rexx~otely Using Technoiogy
                                                                    uae of
      (A.) All courts should cAntinue to use and ancreaee the
                                                               alternative
technology to conduct remote judicial proceedings as a safer
                                                          person or unleae
to in-pereon proceedings, unless requixed by Iaw to be in
                                                              for pereona
it ie not practicable for technical or other reasons
participating i.n the proceeding to participate remotely.
                                                    authority provided
     (B) Courts should understand ancl utili.ze the
                                                        court rulee on
and clarzfied by the emergency amendments made tQ
videoconferences and teleconferences.
                                                                 lawyers,
      (C) Courts may compel the partici.pati.on of litigantg,
                                                             proceedings,
wttnesses, and other essential personnel in remote judicial
                                                     amendments thereto).
where allowed by court rules (including emergency
                                                           public health
Such proceedings, however, must be consietent wi.th
                                                            and inust not
gui.dance, must not impose undue burdens on participants,
                                                       States or Georgia
be prohi.bited by the requirements of the Ilni.ted
constitutions or applicable statutes or court rules.
                                                             proceedings,
      (D) In civil, criminal, juveniLe, and administrative
                                                          proceedxngs not
iitzgan.te may expressly consent i.n the record to remote
                                                otherwise applicable legal
otherwise authorized and ai'firmatively waive
requzrements.
                                                              to judicial
      (E) Courte mEust ensure the public'a right of acces$
                                                            waived in the
proceedings and in all crimanal cases, unle$s affirmatively
                                            confrontation and an open
record, a criminal defendant's rights to
courtroom.


                                      Under     Guidexines     for   Safe
iV.   ln-Ferson Ijroceedings
      Operati.ons
                                                            judici.al
     (A) - Courts ha.ve dAscretiota to condutct in-person
                                                   heaith guidance
proceedangs, but only in corxapiiaace wi.th public
                                      United States mnd Georgia
and with the requirements of tiae
                                                    rules, including
constitutions and applxcabYe statutes and court
                                     6            '.
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the public's right of access to judicial proceedunge and a cri.mina}
de£endant's righte Co confxontation and an open courtroom.

      (B) No cmexrt ma.y cogmpel the attenclance of any person for
a court proceedi.n.g if the court proceecliu.g or the aourt facility in
which it ns to be held is not i.n compliance with this order,
including in particular large calendar calLq. Courts are also prohi.bited
frtrm compeBling isi-persou participation in any court-imposed
alterai:ative ¢lispute resolutaon sessio8 that is to be conducted in
a manner incon.sistent wgth applicable public health guiclelines.

     (C) Each concrt shall develop and implement operating
guld.elines as to how in-court proceedings generall,y and parti.cular types
of proceedinge will be conducted to protect the health of li.tigante,
iawyers, judgee, court personnel, and the public.
              (1) The Judicial Council Strategic Planning Comrnittee and
                                                                  entitled
the Judicial COVID-19 Task Force have isaued a bench card
"Georgia Court Reopening Guide," which is included itn the Appendix and
                                                                         a
should be used as the teemplate for such operating guadelines, whi.ch at
minimum should include all subject matters contained therein. Courts
should aleo consicder guidance from local health departments and
                                                                         is
gui.dance provi.ded by CDC and DPH; .if local public health guidance
                                                                 guidance
oca.ore restrictive than the bench card, the local public health
ahould be followed instead.

          (2) With regard to everyone who works in a court facality,
                                                                   wi.th
the operating guidelines ehall require isvlation of any person
                                                                   with
known or suepected COVID-19 and quarantine of anY person the
COV1B_Y9 exposure likely to result in infection, i.n aecoxdance with
                                                                 Coritrol
DPH Eighth A.mended Ad.m.inistrative Qrder for Fublic Health
                                                                     any
Measures, a Luxk to whi.ch m.aq be found in the Appendix, or
subsequent veraion thereof.
            (3) When there is reason. to beli.eve that anyone who works
                                                                   or the -
or has vvieited a court facility has been exposed to COViD-19, DPH
                                                                 persona
local health department ahall be notified and no$i.fieativaa of

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who may have been exposed shall occur ae d3rected by DP1d or the local
health department.

      (D) Courts of differezit ctasees that share courthouse tacili.ties or
operate in the same county should coord"unate thear operating guidelines,
and should seek to coordinate operating guideJ,ines with non-judicial
entities sharing courthouse £aoilities.

       (E) Ea.ch court must submit its operati.ng guidelines to the
Adrninistrative Office of #;he Courts at iittl)s•//F-e.orF-iacotirts.gov/covid-19-
court',oi)c~ratiria-gt.udeliiLes-i'ornil    to        be         posted         at
ht•tps-//georgiacourts my/covi.d-1.9-court-oyeratina-euidelines/          as     a
centralized website available to litigants, lavvyers, and the              public.
Gperati.ng guidelines alsv should be promineatly posted at courthouse
entrances and on court and local government websi.tes to provide advance
notice to li.tigan.ts, lauvyerg, and the public.

     (F) Operating guxdelines shall be modified as publi.c health
guidance is modified, and shall remain in ef£ect un.tid public health
guidance indicates that they are no longer required.


V.    Diseretioxx of Chief Judges tQ Decla.re 11'Iome Restrictive
      Loea.l Judicia.l Emergencies

      (A.) Nothi.ng in the Order Declaring Statewide Judicial
Emergency as extended and modified linits the authority of the Ghief
Judge of a superior court judi.cia.l circuit under OCGA §§ 38-3-61 and 38-
3-62 to add to the restrxctions imposed by the statewide Judicial
emexgency, if such additi.onal reatrictions are constitutionai, neces$itated
by Iocal conditions, and to the extent possible ensure that courthouses or
properly desl.gnated alternative faciIities remain accessible to carry out
essenti.al judicial functi.ons. A Chxef Judge may impose such additional
restrictions only by a properly entered order.

      (B) No court may disregard the restrictions impoeed by the Order
as extended antl modifi.ed-

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VI.   Guidance on A.pp3.icati.on of the Or'der

        Included i.n the Appendix are severai gui.dance d.ocuments that
claxify the application of the Qrder in particul.ar contexts. ,Additional
guiclance docunlents may be posted on the AOCYs website at
LiLi;p,s:l(ge 0r gi.accs~;~-ticlicigl-counciVaocl. GuidaEnee related to the
tolling of deadlines should be read in light of the rei.mposition of deadlines
by thi.s order aad by orders in specific cases.


VII. JProfessionaiisyn

      With rega.rd to all matters in this challeng.iung time, all iawyere are
renv.nded of their obIigations of professionalism. Judgea are also
rexninded of theix obligation to dispose of all jucticial matters promptly
and efficiently, ineluding by ixisi.sting that court offi.cials, litigants, and
their lawyers cooperate wi.th the court to achieve that end, although this
obligation must not take precedence over the obla.gation to dispose of
matters fairly and with patience, which requires sensi.tivity to health and
other concexns ra.ised by court o~f'xcials, litigants and their lawyere,
witnessee, and othere.


'QTrII. laTotace Provisions

     (A) Notice wial be provided as to the expected termination of the
Qrder as extended and modifZed at least one week in advance to allouv
courts to plan for the transi,tion to fuller operations.

      (B) The clerks and couz-t administrators of trial court$ that
conduct jury trials and convene grand juries wil€ be provided sufficient
notice of the resumption of jury proceedings to allow the complicated
process of summoning poten.tiai jurors to be completed.

          The arnpact o€ COVID-19 varies across the state, and the level
      (Cr̀)
of response and adjustment will la.kewise vary axnong courts. Courts
should make available to the public the steps they are taking to sa£ely
increase operations whi.le responding F,o the COVID-].9 pandemic.
                                       I
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Recognizing that not all courts have a social media presence or webeite,
the Administrative Office of the Courts vvilt continue to post court-specific
intarznation as it becomes available on the AQC website at
E3{:t;i~5.11~c:oi•~:i <tcc~ti~:(;~.~;-c~~.(cov i d=1,L}-L~~~~~ccl zies~;(.

      (D) Pursuant to QCGA § 38-3-63, flotice and service of a copy of
thzs order shall immedi.ately be sent to the judges and clerks of all courts
in this State and to the clerk of the Court of Appeal.s of Georgla, such
service to be accompli$hed through means to ag$ure expeditious receipt,
which include electronic means. Notice shall -also be sent to the media,
the State Bar of Georgi.a, anci the officiale and entitiee listed below and
shall constitute sufficient notice of the iBsuance of this order to the
affected ? iti.gants, counsel fox the af'fected litigants, and the public.

      IT IS Sa ORDER.ED tlmis 11th day of August, 2020, and effective at
11:Gf3 P.M.




                                           Chi.ef Justice H[arold D. Melton
                                             Supreme Cou.xt of Georgia




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                                  APPENDIX


        Ccuidance on Tolling-af Fili~~ Deadlines (Mat•ch 27, 2020)


      C;gid '<IIK:L Un'~'Uliln,~ oi_ Statutes of;Limitatiora ~,1~ 3~i.I G2l)20)


Cuid_anee an Deadlines and Tirne Limits Definc-id by I;.iference t.o 'I'c,z izis
                        o£ (,ourt (_May 4, 2020)              -


                  Guidance en Grarid Juwriea (May 4, 2020)


              rurther Guz.dance on Gxfznd <ruries (May 17, 2020)


               Geor .ia Court Reo el—lin Cxuide June 11 2020 .

D H...Li.gh                     n~.sLr_at3ve Ozde.r f.or Pub.lie .Hc:alih. Coil. 0l
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Governor Brian P. K.emp
Lt. Governor Geoff Duncan
Speaker David. Ralston
State Bar o£ Georgia_
Adznin%strati.ve Offzce of the Courts
Judicial Council of Georgia
Couric:il of Superior Court Clerks of Georgia
Depar.tment of JuveniJ.e Jugti.ce
Criminal Justice Coordinating Council
Couci.l of Accountability Court Judges
Georgia Com.mission on Dispute Resolution
Institute of Continuitag Jud.icial Education of Georgia
Georgi.a Council of Court A.dmi.nistrators
Chief Justice's Comrnission on Profeesionaliszn
Judicial Quaiifications Commiesion
A.ssociati.on County Commi,ssioners of Georgia
Georgia Municipal Association
Georgia Sheriffs' Association
Georgi.a .A..ssociation of Chiefs of Police
Georgia Public Defendex Council
Prosecuting Attorneys' Council of Georgia
Department of Corrections
Departxnent of Community Supervisi.on
Georgi.a Court R.epoxters Association
Board of Court Reporting
State Board of Pardons ancd Paroles
Consti.tutional Officers Association of Georgia
Council of Magistrate Court Clerks
Counci.l of Muni.ci.pal Court Clerks
                                         5UPRE&IE COORT dF TiiE S'I'A'L'Y'; oi+` QEORGlA
                                                   ClarVa Oflice, Atlantn

                                              I certii;y that the above ie a true axtract frosn the
                                   minates of the Suprame Coucto£Ceorgta.
                                              Witueea my aignntvre and thc aoal oC aaid court hereW
                                   affiixed the day and year laat above written.




                                                                                      Clerlc



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                SIXTH ORDER EXTFNDIN~x̀ DECI.ARATION OF
                    STA7:`E,WIDE Jt.TDICIAL EMEItGENCY

      On IV[arch 14, 2020, in response to the COVID-13 pandemic, the
Honorabie Harold D. iVlelton, as the Chie£ Justice of the Supreme Court
of Georgia, issued an Order Declaring Statewide Judicial Fmergency
pursuant to OCGA § 38-3-61. Tliat Order has been extended five tirnes,
with mdifications, by orders issued on April 6, May 11, June 12, July 10,
and August 11, 2020. After consulting wi.th the Judicial Council of Georgia
and other judi.cial partners, recognii~ng agai.n that most in-court
proceedings compel the attendance of various iu~dividuals rather than
allowing them to decide how best to protect their own health, and further
xecoginizing that the novel coronavirus continues to spread in Georgia, it
is hereby deterro.irzed that the Order ehoulcl be extended again.

      Courts in Georgi.a have continued to perform eesential functions
despite the pandemic. Courts have also greatly expanded the use of
remote proceedings and have resumed li.mited in-person proceedings that
ran be conducted safel.y. In an ef€ort to return to more robust court
operations, many of the deadlines .imposed by law on litigants in civil and
criminal cases that had been suspended, toIled, or extended since the
initial March 14 Order were reimposed as of July 14, allowi.ng more
penclzng and newly filed cases to move €orward i.n the Judicial process.
However, becauae grand jury proceedings and jury trials require the
assembly of larger numbers of people, they have been almost entirely
prohibited since the judi.cial emergency began. As explai.ned in the last
extension ordex, this broad prohibition cannot continue, even if the
pancdemic continues, because our juclicial system, and the cri.minal justice
system ixi particular, must have some capacity to resoive cases by
i.ndictment and tri.al. Accordingly, the Judicial COVID-19-Task Force has
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heen focusing ite work on b.ow these proceedings can be safely conducted

       As explained further in Section .t below, this order authorizes tlle
Chief Judge o£ each superior court, in his or_ her discretion after
consultation with the .District Attorney, to resurne grand j uiv'
proceedinge as local conditions allow and in accordan.ce with tb..Fs order.
Guidance for resuming in-person proceedings is included in the Appendix
to this order, and guidance on remote grand jury proceedings is
f.orthcoming. Conducti.ng safe grand jury proceedin.gs will provide
experience useful xn conducting safe jury trials.

       As also explained in Section I below, this order directs each county
to establish a. local committee of jud3.cial systern participants to develop
detailed guidelines for the resumption of jury trials i.n the county
utilizing the safe jury trial guidelines being developed by the Task Foxce.
It is anticipated that the next extension order on or about October 10 will
authorize superior and state courts, in their discretion, to resume jury
trials as local condi.tions allow.
      It should be recognized that actual grand jury hearings and juxy
trials will not begin until a month or longer after they are authorized,
due to the time required to summon potential jarors for sex^vice. It also
should be recognized that there are substantiai backlogs of uni.ndicted.
cases, and cl.ue to ongoing public health precautxons, these proceedings
wilI not occur at the scale or with the epeed they occurred before the
pandernic. Thus, while our justice system must resume moving cases to
indictment and trial ae rapidly as can be done safely, statutory deadl7nee
based on indxctinent$ and jury trial.s will remain suspended and tolled.
Finall,y, it should be underetood that pl.ans nxay need to be revised based
on changing circumstancea.

      As has been the clirection since the ori.ginal Order, all Georgia courts
must conti.nue to conduct proceedings, remotely or in-person, in
com.pliance with public health guidance, applicable statutes and court
rules, _ and the 3requirements of the United States and Georgia
Constitutions, including the public's right of access to judicial proceedings
and a criminal defendant's rights to confrontati.on and an open courtroom.
All courts should continue to use and increase the use of techno3.ogy to
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conduct remote judicial proceedings as a safer alternative to in-person
proceedings, unless r.equired by law to be in person or unless it is not
practicable for technical or other zea$ons for persons participating in the
proceeding to participate remotely. Tlus order again delineates the health
precautions recluir.ed for aIl in-person judiciai proceedings and requi.res
cou.rts to adopt and rxzai.ntain operati.ng gui.delines consistent with the
Georgia Court Reopening Guide and any more specifi.c locai public health
guicdance.

       Accord.ingly, the Order Decla.ring Statewide Judi.cial Emergency,
 which would h.ave expi.red on Thursday, September 10, 2020, at 11:59 p.m.,
 is £urther extendecl until October 10, 2020, mt 11:53 p.nL AU Georgia
 courte shall continue to operate under the restrictione set forth iaa that
 Order as extended; the provisions of this erder below are identical
 to the A.ugust 11 extension order .except for Section I, which has
 iaeen stahstantaa.11y revised, and a minor corresponding revi.sior3:
 in Section II (A►) (].).. Where thie Order refers to "publi.c health
 guidance," courts should consider the most specific current guidance
 provided by the £ederal Center$ for Disea$e Cont3rol and Prevention
 (CDC), the Georgia Department of Public Ilealth (Df'H), and their local
 health departments.


1.      Grand Jury Proceedings and Jury Trials

        (A)   Grand Jury Proceedangs A.uthorized

           (1) The Ckaief Jutdge of each superior caurt, in his or
her ditscretaoxa after consulting wzth the District Attorney, may
resume gran.d jury proceeduigs in person or rexnotely (where
consi.stent with law) on or after September 10, 2020, if doing so can
be done safe.ty and in compliance with pubbic health guidance based on
locai conditiona. Wb.en a Chief Judge exercises this authority, he or she
sh.ould provide sufficient notice to the appropriate clerk of court or court
admi.nistrator to allow the process of summoning potential jurors, and
potential jurors shoul.d be informed in advance about the practices that
the court wi11 use to ensure thei.r eafety. Guidance for safely conducting
in-person grand jury proceedings, based on recommendatione from the
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Judici.al COVID-19 Task Force, is i.nci.uded in the Appendix to this order,
ao.d guzdance on conducting remote grand juxy proceedings iB
forthcoming.
           (2) Because there are substantial backlogs of urLindicted
ca9es, grand juxy proeeedinge even wh.en resumed will not occur at the
scale ox with the speed as before the pandemi.c, and juxy triais xemain
suapended, deadlinee caiculated by reference to the date of grand jury
proceedings or jury trzals, including but not limited to the speedy trial
deadlines in CCGrA §§ 7.7-7-170 and 17-7-171 and the deadline$ for
indicting detained indi.viduals in CCGA §§ 17-7-50 and 17-7-50.1, will
remain suspended and tolled ae discuesed i.n Section Ii -(A) (1) below.

             (3) Courts and counael are reminded that many criminal
cases rnay proceed on accusation and do not require a grand jury
i.ndi.ctznent.

      ($)   Jury Trials Remain JProhibiteds Convening of Local.
            Corunittees to I)evelop County Jury Trial Guidelines

           (1) The suspenaion of jury trkals shall remain in ef£ect and
until further order, all cc3urts are prohibi.ted from sumxnoning n.ew trial
jurors and from conducting criminal or civil jury trials.

             (2) The Chief Judge of each superior court is directed
to convene for each county in his or her cxrcuit a l.ocai corraxnittee
of jndicial systeni participants to deveiop a plan for safel.y
resurning Jury trials in the county, as further specified in the
"Guidance for Local Commi.ttees on Resuming Jury Triale" inclucded in
the Appendix to this order. Grui.dance fox safely conducting juzy tri.ale is
being developed by the Jucliciai COVID-].9 Task Force and will be
provided to local committees. Court operating gui.deiines for in-
person proceedings, see Section IV below, incorporating final
ji.ary trial pians sh.aII be submitteci to the Administrative Offlce of
the Courts (AOC) as soon a.s possibie and before the ,jury trial
process begins.


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11.    ReYmposition of Ilseadlines an Y,itiga.nts

      (A) The July 10 extension Urder reirnposed all deadlines and
other time schedules and fi.ling requirenzents (referred to collectively
herein as "deadlines") that are imposed can litigants by etatutes, rules,
regulations, or court orders in civil and criminal case$ and administrative
action3 and that have been suspended, tolled, extended, or otherwiee
relieved by the 1Vlarch 14, 2020 Order Declaring Statewzde Judiciai
Emergency, as exten.ded, on the following schedule and vcrith the £ollowing
exceptions and conditions:

            (].) Consietent w%th Sectxon 1 above, deadlines for jury
trial proceedings (inclrtxdYn.g sta.tutory speedy trial demands),
dea.cllines for grand jury proceedings, and deadlines calculated
by reference to the date of a civil ar cri.minal jury trial or grand
Jury proceedi€ng shall rernain suspemd.ed and tolled. This provieion
does not apply to deadlines calculated by reference to the date of non-jury
(bench) tri.als. Statutes of ]imitation in criminal cases shall aiso remain
tou.ed untii further ordex.

          (2) All other deadlines imposed on litigamts shall be
 rei.mposed effeetive July 1.4, 2020, as fizrther explained below.

             (3) 1n cases that were pending before the March 14
Order, li.tigants will have the same amount of time to fde or act after
July 14 that tb.ey had ae of 1VXa.rch 14. For example, if an anawer in a ci.vil
case was d.ue on March 20, that answer will now be due on July 20, and
if a crim.unal defendant's pretriai motione were due on 111.[arch 23, they will
now be due on July 23.

            (4) In cases filed between IVTarch 14 and Juiy 13, 2020,
the time for deadlines will begin running on Juiy 14. For example, if a
civi.l complaint was filed in June and the answer would have been due 30
days later, that 30-day period will begin on July 14 and the anwex vcrill
be due on August 13.

          (b) ln cases filed on or after July 14, 2020, litigants
shaIl comply wi.th the normal deadlinee applicable to the case.
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             (6) If the reimposed deadline falls on a weekend or legal
holiday, the deadli.ne will as normal be the next businesg day. See O CGrA
§ 1-3-1 (d) (3)-

            (7) Any extension of time €or a litigant's fiIing or actioii
that was granted by a court, or was agxeed or consented to by the litigants
as author.ized by law, before July 14, 2020 shall also extend the ti.me for
that £iling or action after July 14. Tor example, if a litigant's filing was
initialiy due on March 10 but she vvas granted a10-day extension of that
deadl.ine (to Marcb. 20), the filing will be due on July 24 (10 days after
July 14).

           (8) Litigants may be eAtitled to additional tirne based on the
provisions of a local juclicial emergency order applicable to their case af
such an order tolled appl.icable deadlines before the March 1.4, 2020
(}rder Declaring Statewide Judicial Lmergency or tolls applicable
deadlines after July 14, 2020.

            (9) The tolling and suspension of deadlines imposed on
litigg.nts in civil and criminal cases that are calculated by Peference
to terms of court shail be lifted as of July 14, 2020, and any regular
term of court beginning on or after July 14 shall count toward such
deadlines. See also the May 4, 2020 Guidance on Deadlines and Time
Lxmits Defined by Reference to Terms of Court included in the Appendix.

            (10) The 122 days between March 14 and July 14, 2020, or
any portion of that period in which a statute of limitation would have
run, shall be excluded from the calculation of that statute o£limitatiou.

           (1.1) Litigants may apply in the n:orznal way fox extensions of
reirnposed deadlines for good cause shown, and courts should be
generous in grantitng extensions particularly when based upon
health eoncerns, economic hardship, or lack of c]h.ild care.

      .(g) Recognizing the subetantiai backlog of pencling cases,
deadixnes imQosed on courts shaIl remain suspended and tolled.
Ali courts should nevertheless work dxligently to clear the backlog and to
complzy with ugual deadlines and tinzetables to the extent eafe and
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practicable.

      (C) lf be£ore July 14 a court reimposed deadlines by order in a
speci#ic case based on the authority to do so granted by prior extension
orders; the ca.se-speci.fic order rexmE.pcsing deadl.ines shallcontrol
over the dea.dIines for the same ~'glings or actions reamposed by
this statewgde Order.

       (D) lf in a divorce or adoption case a time period required by law
actually passed or passes before the court entered or enters a consent
order, consent judgment, or consent cdecree regardi.ng the divorce or
acl.option, such order, judgment, or decree shall not be invalid based on
any suspension or tolling of the. applicable period by the iVlarch 14 Crder
as extended.


III. Proceedings Conducted Remnotely Using Technolcgy

      (,A.) AIl courts should continue to use and increase the use of
technology to conduct remote judicial proceedingg as a safer alternative
to in-person proceedYngs, unless required by law to be i.n person or unleae
i.t is not practicable for technical or other xeasons for persons
participati.ng in the proceeding to participate remotely.

     (B) Courts should uncl.erstand and utilize the authority provided
and clarified by the emergency amendments made to court rules.on vi.deo
conferences and teleconferences.

     (C) Courts may compel the participation of liti.gants, lawyers,
witnesses, and other essential personnel in remote judicial proceeclings,
vrhere allowed by court rules (i.ncluding emergency amendrnents thereto).
Such proceedings, b.ovctever, must be consistent with public health
guidance, must not impose undue burdeng on participants, and muqt not
be prohibited by the requirements of the Uni.ted States or Georgia
Constitutions or applicable statutes or court rules.           ~

      (D) In civil, criminal, juvenile, and administrative proceedings,
litigants rnay expressly consent in the record to remote proceedings not
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otherwise authorized and affirmatively waive otherwise applicable legal
requirements.

     (E) C:ourts must ensure the public's right of access to judiciaL
proceedings and in ail criminal cases, unless affirmatively waived in the
recoxd, a criminal defendant's rights to confrvntation and an open
courtroom.


IV.   In.-persQn Rroceedin.gs Under Guid.elines for Sa£e
      Operations

     (A) Courts have discretion to conduct in-person judi.ciai
proceednngs, but only in compliance with public health guid.ance
and with the requirements of the United States and Georgia
Constitutions and applicable sta.tutes and court rules, including
the public's right of access to judicial proceedings and a eriminal
defendant's rights to confrontation and an open courtroorn.

      (B) 1,To court ma.y conapel the attenclance oif any person for
a court proceeding if the court proceeding or the court facility in
whzch it is to be Ixeld is not in compliance with this order,
includzng i.n particular large calendar cai.ls- Courts are also prohibited
from compelllng in-person particapation in any cou.rt-imposed
alternative dispute resolution session that is to be conducted in
a rnanner incoaasistent with appli.cable public h.ealth guidelines.
     (C) Each court slnall develop and inzplement operating
guideli.nes as to hovv in-court proceedinge generally and parti.cular types
o£ proceediulgs wiIl. be conducted to protect the health of titigants,
lawyers, jucdges, court personnel, and the public.
           (1) The Judiciai Council Strategic Planning Committee and
the Judicial COVID-19 Task Force have issued a ben.ch card entitled
"Georgia Court Reopening Guide," vFrhich is inciuded in the Appendix and
should be used as the template for such operating guidelines, whzch at a
minimum should include a.11 $ubject matters r.ontained tberein. Courts
should also consider guidance £rom local health departments and
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guidance provided by CDC and DPH; if local public health guidance is
more restrictive than the bench card, the local public health gu.idance
shoul.d be f.ollowed instead.

            (2) With regarct to everyone who works irx a court facility,
the operating gui.delines shall req,uire gsolatlon of any person with
known or suspected COVID-I9 and quarantime of any pereon with
COVID-19 exposure likely to result in infection, in accordance with the
DPI-i Lighth Amended Administrative Order for Public Health Control
ll2easures, a link to which may be found in the Appendix, or any
subsequent versi.on thereof.

            (3) When there is reason to believe that anyone who worka
at or has visxted a court facility has been exposed to COVID-ls, DPH or
the local health departrnent shall be notifi.ed, and 'notitfxcation o£
persons who may have been exxposed shall occur as directed by DPH or
the local health department.

       (D) Courts of different classes that ehare courthouse facilitiea or
operate xn the same county should coorctinate their operating guidelines,
and should seek to coordi.nate operating guidelines vcrith non judiciat
enti.ties sharing courthouse facilities.

       (E)  Lach court must submit its operating guidelines to the AOC
at              irtc~ptirts. vv/t;ovid-l9-r()urt- ope1•atiri~,Y-gtii.delines-fornl/ to
be     posted     at      littr)s•/lgeorgiacotiuts gov/covid-l9-court,-operstin ,--
guidel-ines/ as a centralized website available to liti.gants, lawyers, and
the public. Operating guideli.nes a.lso should be prominently posted at
couxthouse entrances and on court and local goveienynent websites to
provi.de advance notzce to Iitigante, lawyers, and the public.

     (F) Operating guidelines shall be modified as public health
guidance is modified, and shall remaxn in effect until public heaith
guidance indi.cates that they are no longex required.




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V-      T3ascretion Qf Ch.ief Judges to iaeclare More Restrictive
        Locai Judicim.l Ernergencies

      (A) Nothing in Ehe Order Declaring Statewide Judicial
Ernergency as extended and modified lxm.i.ts the authority of the Chief
Judge of a superior court judicial circuit under aCGA.§§ 38-3-61 and 38-
3-62 to add to the restrictions kmposed by the etatewide judicial
eniergency, if such additional restrictions are constitutional, necessitated
by local conditions, and to the extent possible ensure that courthou$es or
prbpexly designated alternative facilities rernain acceseible to carry out
essential judiciai. £unctions. A Chief Jud.ge rnay impo$e such additionai
restrictions oxily by a properly entered order.

      ($) No court may disregard the restrictions imposed by the Order
as extended and anoclifzed.


VI. Gu.idm.nce on Application of the Order

      Included in the A.ppendix are several guidance documents that
clarify the appizcation of the Order in particular context8. A,dditional
guidance clocuments may be posted on the AOC's websi.te at
httu                          icial-courzciUaoc/._Guidance reiated to the
tolling of deadlines shouid be read l.n light of the reimposition of deadLines
by this Order and by orders in specific cases.


VL Professionalism

      With reegard to all. matters in this challenging time, all J.avvyers are
reminded of their obligati.ons _ of professionalisna. Judges are a}.eo
reminded of their obligation to dispose o£ aIl judiciai rnatters promptly
and efficiently, includ.ing by insistin.g that court officials, litigants, and
their lawyers cooperate with the court to acbieve that end, although this
obligation must not take precedence over the obligati.on to dispose of
matters fa.irly and wzth patience, whieh requires sensitivity to health and
other co3n.cerns raised by court o£ficrals, I€ti.gan.ts and their lawyers,
witnesses, and others.
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VilI. Notiee PrQvisions

     (A) Notice wiil he provided as to the expected termination of the
Order as extended and modified at least one week in advance to allow
courts to plan for the transition to fuJier operations.

       (B) The clerks and court admi.nistrators o#` trial courts that
coiidiLct jury trials and convene grand juries will be provided sufficient
notice of the r.esumption of jury proceedings to allow the complicated
proceas of summoning potential jurors to be comp.leted.

       (C) The impact of COVID-19 varies across the state, and the level.
of r.esponse and 'adjustmnt will likewise vary among courts. Courts
should make available to the public the steps they are taking to safely
increase operations while responding to the COVTD=19 pandeznic.
R.ecognizing that not all courts have a 9ocial media presence or website,
the ,ES.O C will contix:►ue to post court-specific information as it becomes
available on the AOC website at li.ttns://georgiaco«i-t•5_cm~/covid-l9--


       (D) Fursuant to OCGA. § 38-3-63, notice aaa.d service of a copy of
thi.s Order sb.aIl immediately be eent to the judges and cierks of all courts
in this State and to the clerk of the Court of Appeais of Georgia, guch
service to be accomplished through means to asgure expeditious receipt,
which include electroxuc means. Notice shall also be sent to the rnedia,
the State Bar of Georgia, and the off'~cials and entities listed below and
shall consti.tute suffi.cient notice of the issuance of this Order to the
affected litigan.ts, counsel for the affected litigantg, and the public.

       IT IS SO ORDERED this 1.Oth day of September, 2020, and
effective at 1X:59 p.m.


                                                               ---~.

                                       Chie£ Justice Harold D. Nlelton
                                         Supreme Court of Georggia

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                Referen-ce tc,`1'errns pf Court ONlay 4, 2020


                   (zuidance on Grand Juzies (May 4, 2{}Z0)


            FurLher Guidance ori Cxr.and Juries.(Mav I1 202U


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      Guidance for Reatzniirig In-Person Grand JurN I:'roceed.inm
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                                                  1(? 2020 .



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Governor Brian P. Keznp
Lt_ Governor Geof£ Duncan
Speaker I3avi.d Ralston
State 13ar of Georgia
Adminzstrative Off'ice of the Courts
Judicial Council o£ Georgia
Cou.nciJ. of Superior Court Clerks of Georgia
Department of Juvenile Justi.ce
Criminal Justice Coorclinating Council
Council of Accountability Court Judges
Georgia Cornmission on Dispuf.e Reaolutiozi
Insti.tute of Continuing Judicial Education of Georgia
Georgia Council of Court Administrators
Clief Justice'e Comrnission on Professionalism
Judicial Qualifications Commission
Aesoci.ation County Commissioners of Georgia
Georgs.a Municipai Associatiori
Georgia Sheriffs' Association
Georg%a Aesociation of Chiefs of Pol:ice
Georgia Public Defender'Council
Prosecuting Attorneys' Council of Georgi.a
Department of Corrections
Departxnent of Comnnunity Supervision
Georgia Court Reporters Association
Board of Court Reporting
State Board of Pardons and Paroles
Constitutional Ot`fi.cers Association of Georgia
Councii of Magistrate Court Clerks
Council of Municipai Court Clerke

                                        9Z3f'AE1VtE COURT OF THE STATL" OF GEORGIA
                                                     Clarlee Off ae, Atlantx

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                                                                                         Clerk

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               SEVENTH URDER EXTENDING DECLARA`T`3GN OF
                    STATEWIDF .3UDIC'IAL EMERGENCY
                                                                            thc
      (.)n N'Iarch 14. `>U2(). in respo,ise to the COVID-1J t3andeniic,
                                                                        Court
Honorable Harold D. N1.elton. as the Chief Justice of the Supreine
                                                                   Emei•gency
of Cieorgia. issued an Urder I)eclaring Statewide Judicial
                                                                        times,_
pursuan.t to UC'GA §:38-3-61_ Tbat Urder has been extended six
                                                                      July 1.0,
with modifications, by orders issued on April 6, May 11, June 12,
                                                                      Judicial
August 11, and Septeniber 1.0, 2020. After consulting with the
                                                                           that
Counci.l of Georgia and other judicial partners, recogni.zing again
                                                                   indivi.duals
rnost in-court proceedizigs compel the atteridance of various
                                                                       health,
rather• than allowing thein. to--decide how best to protect their ow n
                                                                     spread in
and further recogn.izing that the novel coronavirus continues to
                                                                        agairi.
Czeorgia, it is hereby dei;erminec:l that the C)rder should be extended
                                                                       tunctiUnS
        (yourt.s in Georgia have continued to perforzn essential
                                                                     the use of'
 despite the pandemic. Courts have also greatly expanded
                                                               proc:eedings that
 rcliilote proceedings and have resunied liniited in-person
                                                                   robust cour't
 can be conducted safely. I:n an effort to return to more
                                                                        civil and
 operations, many of tho, deadl.ines imposed hy law on litigants i.n
                                                                       since the
 criminal, cases that had been suspended, tolled, or extended
                                                                            more
 initial. Niarch 14 Urder were reimposed as of July 14, allowing
                                                                   process. The
 pending and newly filed cases to move forward in tlie judicial
                                                                  Judge of each
 last extension order on Septenibez- 10 authorized the Chi.ef
                                                                         1)istrict
 superior court, in his or her di.::cretion after consultation ~vith the
                                                                     done safely
 Attorney, to resume grand jury proceedings if doing so can be
                                                                      conditions.
 and in compliance with public health guidance based on local
                                                                               are
 A'number of courts have utzlized this authority,, and many niore
 expected to do so going forward.
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       1-lowever_ jLir:y tl'i8ls, NV}iicl-1 rec;uil•e t.he assem6ly of larger numhers
c?f people a.nd thti;=        r1io1V significant issues fbr coridueting sr:rfe.lN : have
r•einainecl suspended. That 1?lanitet prohibition eannot continue, even
tliougli tl-ie pzrncteix-iic co11t.1nLies. beciiuse our judicial systecll. and the
C:i-illiiilal jllst:icE' titi'stetl) i.17 particLtlal•. ITlu:;t h<ive s<)llle ca.p'ciclty to reSc)lve
Cases b4 trlc̀ll, alld OL1C' tl'lill L,oUI'tti h<j\'E' accllnlulclted nlany casE:s         , that <ll'E'
                                                                                        7
<l~~vi.iiting~ trial. Ttie Sel.rt~enibc1r I() c~~:tF~ri4io11 oi•der' dirc~cted the C,hi.ef <Iudgc:
of each 8uper•ior court to c:onvene 1'c►r eacli counl-y in lus or hei• circ:tiit a
1ocril comrnittee, of )udlc;la l 5yst.em parti.cipants to develol} detailed
€;illdelln('s iilr• the safe resumpt:ion of jr.ir•y- trialy ita the county ut.ilizin„;
t.he "Guidance fo1• Resulning ,Iury `1'rials'° inciuded in the Appendix to this
order. Ancl as announced in t.he Septenihel• 10 order, this or.der in Section
1 helow authorizes the (:;hief Judge of eacli trial court, in his or her
disc;retion. t.o resuine the jury trial process if local conditions allow and
the Chief Judge, in collaboration with the local cornmittee, has developed
and issueci a final jur.y trial plan.

        lt sliould be recogni.zed that grand jury hearings and jury tr-ials will
 not actuaily star.t until a montli or loliger af:ter the process f«r 1•esulning
 them begins in a particular county or court, due to the time z-equired t.o
 suixlmon potential jurors f~or service. It also should be recognized that
 there are substantial backlogs of unindicted and untri.ed cases, ancl due
 t.o on~;oi.ng public health precautions, these proceedings will not occul- at
 the scale or witli the speed they occurred before the pandeznic:. rI'hus,
 while out justice system must resume moving cases to indi.ctment and
 trial as rapidJ.y as can be done safely, statutory deadixnes based on
 indictments and jury trpals will remain suspended and tolled.
 Fxnall.y, it should be understood that plans may need to be revised based
 on changing circiimstances.

      As has been the direction since the original Order, all Georgia courts
must continue to conduct proceedings, remotely or •in-persozi, Tn
compliance wi.th public health guidance, applicable statutes anci court
rules, and the requirements of the Un.ited States and Geozgia
Cnstitutions, incl.uding the public's xxght of access to judicial proceedings
and a criminal defendant's rights to confrontation and an open coirrtroom.
All courts should continue to use and increase the use of technology -to
conduct remote judicial proceedings as a safer alternative to in-person
                                                   2
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practicabIc~ f'oi• te.'chnlcal or other rc~~tsc;rls f,or- persor pL rtic•ipating ilr i:he
p;•oceedi.r~~; to pa}~ticipatc~ reniotely-. ~l`his ~~rde.~r~ agair7 deline.~ites thc1 health
precautions requi.red for• ~rll in-per•:≥r}n judicn.il proceedings and r-equirEls
courts to adopt and m-alntaLn operating guidelines consistent with the
C=eorgia C'.ourt. Reopenirig Guide arlcl ariy riioie specific local public health
guidanc.e.

        Acc;ordinglc.. the (.)1•dor• C)ecl~iring Stat.ewide Judicial l~~rrzc~rgc~nc~'_
 which Nvould have 0xpil•ed ori SaLurday. Uctober 10, 2020, at 1 I:151-3 p.ni,. is
 furth.er extended utitil Noven-ibex• 9, 2020, at J 1:59 p.m. All Genl•gia
 courts shall contintie to oper.ate under the restrictions set forth in that
 C:)rder• as extencled; the provisions of this order beXow are identical
 to the C?ctober 10 extension order except for Section I, which has
 been substantiaily revised, and minor revisions in Section 11 (A)
 and IV (C). Where this order r.efers to "publi.c health guidance." courts
 should consider the most specific current guidance px•ovided by the federal
 Centers for Disease Control and Prevention (CDC), the Georgia
 Departrnent of Public Health (Df'H), and their local health departr.nent.s.



T,     Grand Jur,y Proceedings aj3d Jury Trials

       (A)    Grraz-id Jury Proceedings Authoryzed

             (1) The Chief Judge of each superior cour.t, in his or her
disci'etion after consulting with the Distr.ict Attorney, nxav resume grand
jury proceedi.ngs in person or reniotely (where consistent with law), if doing
so can be done safely and in cornpliance with public health guidarice based
on local conditions. Wb.en a Chief Judge exercises this authorit.v. he or she
                                                                         cotrrfi
must provide sufficient notice to the appropriate cJ.erk of coux•t or
adrnlnlstratoY• to allow the process of suinmoning potential jurors. and
potential jurors should be infornied in advance about the practices that the
                                                                            in-
court will use to ensur.e their safetv. Guidance for safely condticting
person grand jury proceedilags, based on recommendations from the
                                                                         order.
Judicial CUVID-19 Task Force, is xzicluded in the Appendix to this
and guidance on conducting reznote grand jury proceedings is forthcoming.

                                              ~
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           ('`l} t'ourts and cc>url--~el are renzinded that. lnany (:r'1n11MI1
c:ase:; mav proceed ori acc_t.r5<~t.ic~n <3r.cl (lo not rf~quil-c a. gr<lrril jur'r
izldictinent.

        (13)    Jury f,rials Authorized; Local Conan-tittees l:o Develop
                ('ounty Jury firial Guidelines

          (1.) :-ks dir'ect:ed in the Sept.ernbet• 1_U ex#:ensie,n orc_ier•. eve1'y
county shoiticf have in place z-i l.czcal C:oIIilTlrtte e of' juclic:ial st'st.em
pcir't1.C:lpall(.:i. (:UnvenE'CI. 1)V thE'. (.1hl(.'f •ludre ()f th(' (:oullt3'•,-, fill[)Ci'1()1" Cnlll'1.
which is chai'ged wi.th developitig a plan for safely resuming jtr!"y t,r•ials in
the county as further described iz-I the "Guidance f'or Loca1 Co3nmittees
on Kesurni.n;; Jtiry Trials:, included in t.he Appendix to this order. The
local cornmittees should utilile the `'Uuidance f'or Resunzing Jury Trials"
also included in the Appendix in developing their plans, wh.ich tnust be
submitted to the Admz.nistrative Office of the Courts (AOC) as soon as
possibl_e and before the jury tr.ial pr.•ocess begins.

             (2) 'I`he bl:anket suspensiozi of jury triais that has
been in ptace sxnce the 1Vfarch 14 Oxder is ended effective
ilrnmediateiy. The Chief ,ludge of'each tr'ial court- is authorized, in his or
h.er discre:taon. to summorz now trial jur'ors and to resume jury tr'ials, if
t.hat can be done safely and in accordance with a final jttr•y tr•ial pian
devcloped in collaboration with the local committee and incorporated into
the cour't'S writ.terl operatzng guidelil.7es £or in-person proceedi.ngs
discussed iri Section IV bel.ow. As with grand jury proceedings, «=heia a
C:hi.ef Judge exercises this au.tllority, he or she must provi.de su£ficient
notice to the appropriate clerk of cvuI't or court adminastrator to allwA.- the
process of summoning potential jurors, and potential juror5 shnul.d be
in£ormed in advance aboczt the practices that the court wiI.l use to ensure
their safety_

      (C) 13ecause there ar(: substantial backlogs of unindicted and
untried cases and because grand' ju.ry proceedings and jury trials even
w hen resurned wrll not occur at the scale or with the speed as before the
pa`ndemic, deadlines calculated by reference to the date of grand jury
proceedings or jury trials, including but not limit.ed to the speedy trial
deadlines in OCGA §§ 17-7- J 7U and 1.7-7-171 and the deadlines £or
                                                     4
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indic;ting detainecl inc.livicluals in C)(..`GA y§ 11- 7-50 and                      1 i- 7r-50. i.     «ill
T'L'iIl<"~lil till$~JL'.ilde(~ and tO~leC~ ci ~(.~I1+C:Lis~C:CI lIl ~ectioil 1}(!~.) (I ) 1?('1(I\~`.



         II, Reimposition of Beadlines on Litigants

        (A) "I'l.te -J"uly Ic) ext.en5ion ordeI- rLi.mposed all deadli.nes anc.i other
timc.~ sc:l~c~dule:; ~incf 1'?lin~; ret~uil.eI,ients (referrE;d to~ collc.lc~t.iw-~lv }lc~lein
..cleadlilies') that are             iniposed on litigants by st.atutes, rule`.
                                                                                 adIIIIIm.+U."at.l\'O
rt'gtilatI(Inh. Ur cC)ut't ordt?1:4 iil C:ivll t1lltl C:i"In11nFi.1 c<ltie5 ai1d
acti.ons <;nd that had been suspEmded. tolled. extendecl. oI• othc?rwise
z•elieved by tl-ze March 14, 2t)LO ()rdE>.r 1)eclaring Statewide Judicia.l
Trnetrgc,n.cN', as extended: on t:he fol}owing sehed.ule alid with the folkowing
ehc:eptions and conditions:

             (1) Consistent with Section I above, deadlines for jury
triat proceedings (inctuding statutory speedy trial demands),
deadlines for grand jury proceedings, and deadlirl;es calculated
by reference to the date of a civii or crirrninal jur y trial or grand
jury proceeding shall remain suspended and tolled. This provision
does not apply to deadlines calculated by reference to the date of non-jury
(~ench) l•.rials. Statutes of limitat:ion in crinlinal cases s}iall alsc> rema.in
t.olled until furt.her. order.

          (2) ,AII other deadliiies irnposed oti litigants wee•e
 reiinposed effective July 14, 2020, as furthei• explained below.

            (3) ln cases that were pending before the March 14. C?rd.er.
                                                                            JL11.Y,
litigarits were provided the Sanir amot.int of tiine to file. or act aft.Qr
14 that thev had as of March 1.4.

            (4) ln cases filed between March 14 arld Jul,y 13. 2020.
the tilne for deadlines began i.o run «n Julc= 14.

             {~} In cases filed oil or a£tez July 14, 2020, litigants Inust.
  colz3ply with the norznal deadlines applicable to the case.

                  (6)     If the reiniposed deadline falls on a weekend or legal
                                                      :~
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holiday_ tlie tierldline          as norm<il bc the r-Iext busirle5s day. See C)C'((xA
§

                (~) An~• eLtentii(.}n of timcl for a litigtznt-'s filizig or :.tction that
was gr•anted lly zi rourt, or• was agrcled or consented t« by t.he litigants as
aut.horized by law. before July I-l. 2(.)20. also ext.ended tlie time #or t:hat.
f'ilin "g or <rc;tion tift.er JuIY 1=-1.

                     IaItL~~tI1tS 271:i1' 17C' (_'.[1~;It.IE'.C~ tA i3ddltli3ni~1 tlille llilSCCI (~Il t11C'
pI`ot- ision;; of a local juclicial er1tL'r'genc;y order applic<-ible to tlici}• c:<i5e if
sucll an o►:•der tolled applic_ahle cleacllines befbl:c the Marcll 14. 2t)2U
(7rc!er I)ec.lari.ng Statcwlde .Judicial. Fmergeticy or tolls applicable
cle,adlznes after July 1.4. 2020.

              (9) The tolling and suspension of deadlines irnposed oIi
litigants in civil and crimina( cases that are calculated by reference tc:)
ter•nrs of' court wc=re lifted a~; of July 14, 2020, and an,y I•egular t.erm of
corirt beginning on or after JulNj 14 cotints toward such deadlines. See
a].so the May 4. 2020 "Guidance ori I:)eadlines and Tirne Limits Def.ined
by Reference to'1.'erms ofCotirt" in.cluded in the Appendix.

              (1()) The 122 days between March 14 and July 1rI:. 2()20_ or
<1nV portr()rl of that peri.od in «rhich a statute oflirnitation would Flave
ruti. slaall be excluded frorn the calculation of that statute of limitation.

            (1 I.) Litigants m.ay apply in the normal «%ay for exten5ions of'
reiinposed deadlines for good cause shown, and courts shotild be generous
in granting extenszorl.s par.ticularly when based upon health concerns,
ecoziornic hardship, or lack of chilc# car.e.

      (B) B,ecognizing the subst.antial backlog of pending cases.
deadli.nes imposed on courts shall remain suspended and tolled. All
courts should nevertheless vvor•k diligently to clear the backlog and to
comply with usual deadlines and tinietables to the extent. safe alzd
practicable.                                              ~

      (C). lf before July 14 a court reimposed deadlines bv order in a
specific case based on the authority to do so granted by prior extension
                                                   6
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deadlinc~s for tIzc~ sa~iic~ fllli~~~ ~»- ac:tictn~ r•ei;nt,~~~ecl. hy t.his statewidc
orde r.

        (1)) [f' ii1 a divcarce or adolation c:ase a tinie period required by 1<tw
actc.ially pa5sed cir passc?5 befiot•e? t-l1e com•t ent.ered or entet's a cctn5ent'
orc1E=i-. conticnt judgrnet7t, or conyent decree regardinn the elivorc(.) <W
Wd.opt.inn, wiic:h Order, jl.lclgnnent. or• dt.~,crecl shalJ n«t. bcl invalicl bzi5eci oii
aI1N• S uSpension or tollin~,,, of i:I1c applieahle per•iod by Lhe Marcfi 1zl
                                                                                   Urc:let•
<ts extendt:d.


M.      Froceedings Canducted Rernotely >LTsing Technology

      (A)   All coutrts should continue to use and i.ncrease the use of
technology to conduct remote judicial proceedings as a safer alternative
to in-person proceedings, unless required by law to be in person or un.less
it is not practicable for technical or other reasons for persons
paiticipating i.n the proceeding to participate remotely.

     (B) Courts shotild undei•stand and utilize the authority pr•ovided
and clarifi.ed by the erriergency amendments made t.o court rul.es on video
conterences and telecon(ereilces.

      (C) Courts niay compel the partici.pation of litigants. lawyers.
witnesses, and other es5ential pez•sonnel in remote judicial proceedings.
vvhere allowed b}T court rules (includ.ing emergency amendments thereto).
Such proceedings, however, niust be consistent with publ.ic health
guidancc; must nnt inriposc undtie burdeizs on participants, and niust not
be prohi.bited by the requirements of the United States or Georgia
Constituti.ons or' applicable st.atutes or court rules.

      (D) In civil, criminal, juvenile, arid administrative proceedings,
litigants iziay expressly consent in the record to remote proceedings not
otherwise authorized and affirmatively waive otherwise applicable legal.
requirenxents.

        (E)     Courts i-riust ensure the public's right of access to judiciai
                                                  r
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 proc;eedings anci in all cr:•iminal. cases. un).es5 affii niat.ively Nvaiv(--~d i.n t.he
 rec«rd. a crirninal deEendant's rig-}its t<i c;onfrontation arici an rrpeii
ct ) u rtl'c)o r21.



B.T.    In--Person Proceedings Undez' Cxuldelfnes for Safe
        Operattons

     (A) Cour-ts havc disc:retion to conduct in-per•sori .judicial
proceedirigs, but only in compliarice with public health gL€idance
and with the requirements of the United States and Georgia
Constitutions and applacable statutes and court rules. Lnclud3rlg
the public's right of access to judicial proceedings and a criiiiinal
defen.dant's rights to confrontation and an open courtroona.

      (B) No court may compel the attendance of any person for
a coLtrt proeeeding if the court proceeding or the court facility in
which it is to be held is not in compliance with this order.
including in particular largc calendar calls. C:ourts are also prohibiited
from compeIling in-person participation in any court-imposed
alternative dispute resolution session that is to be conducted in
a rnanner inconsistent with applicable public heaith guidelines.

       (C) Each court shall develop and i.rnplement operating
guiderines as to how in-court proceediiigs generally and par.ticular types
of' proceedings, including grand jury proceedings and }ury tri.als, will be
conducted to protect the health of litigant.s, lawyers, jurors, judges, court
pei-sonnel, and the public.

           (1) The Judicial Council Strategic Planning Comznittee and
the Tudicial COVII?-19 Task For•cc have issued a bench card entitled
"Georgia Court Reopening Guide," which is zncluded in the Appendix and
should be used as the template for such operating guidelines, which at a
minixnuzn should include all subject matters contained therein. Cour ts
should also consider guidance froni local health departnients and
guidance provided by CDC and DPH; if local public health guidaz-ice is
more restrictive than the bench card, the local public health guidance
should be followed instead.
                                            s
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            (2) With regard to everyonc who works in a courtt f'acilit.S°.
the operating guidelines shall reqciire isolation of ariv person ,vith
known or suSPOctecl M`If)-19 ai1d cluarantine of an~ person N;~it.h
CC)VI [)-ly exposure likely to reyult in infcction. in act;ordance with the
DPH Eighth Amerldeti Admirzist.r<itave (.)rder for Pczbllc fl.eaIth Cont.r•ol
             ,t Iirzk to which rnay he f'uund in the Appendix. M•
5Ub5(;CIIIenE vL•'r53.on t,hC;r'C',of.


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at. t?r h~is ~~i.5itecl ~~ cotirt. facil.it.y h~~5 bE~en etf~ost,~d to (;C)VII)-ly. [)1'll c~i
the local health depar,tinent shall be notified, ancl xiotification of
persotns who inay haN-e been exposed shall occux• as directe(i 1)3, Dl'H or
the loc:al healf,h department..

       (I)) Courts of different classes that share courthouse facilities ot-
                  n county should coordinate their operating gui.delines,
operate in the sa~e
and should seek to coordinate operating guidelines with non-judicial
entii;ies sharing courthouse facil.ities.

        (E) Iiaach court inust subniit its operating gui.delines to t.he AOC
at httt?~./~ear;~}<icc~t:rtS~U~/cc.~vic~-lct-cc~~irt - o~~cr.~t.in -guidelirzc~~-.fi~~_F~ii t.o
bG       posted       at.   htt.ps:/lrieor•g'iztt:oui•t.s.gcnrlcovid - l9-c;mir•t         rtg-
;,-uideli.r-Zesl as ~i centralized website a~Tailable to litigants, I~~w~rers. <;nd
the publi.c. Operating guidelines al5o slioiild be promineritly po5tc;c[ at
courthouse entrances and on coiirt and local governrner-it: wrbsites to
p~•ovide advanct~ notice to litigants, la«r~ ers, and the public.

     (F) Operating guidelines shall be modified as public health
guidance is modified, and sh.a1.I recnain in effect unti.l ptiblic health
guidance indicates that they are no longer. required.


V.      Discretion of Chief Judges to Deciare More Restrictive
        Local Judi.cial Emergencies

`     (A) Nothi.ng in th`E Order Declaring Statewide Judici.al
Exnergenc_y as extended and modified lin-lits the authori.ty of the Chief
Judge of a superior court judicial circuit under OCCA §§ 38-3-61 and
                                               9
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:38-3-6L to adcl ti, the resi:1'lct•Icrns irnposed by the statewide jtldicial
enier•g<~nc~•. if su<:4i ad.diti.on.al rc~st.rictions t~l-e conStrtutzonal. Ileces5ltatecl
b~! local c:anclitioii-. and to th.e <,xt(2nt: possible esi5uc-e that courthou5es or
pr(3pel'1}' dE':~lgnated c11tE:ri1<ltive facilities e•emaii-i accessible to carr-y out
es5entia1 jticiiciai fulictions. A Chi.ef -Judgi niay impose such additional
I'estl:'icttoTls C?z-Ily by a properlv entered order.

      (B) No coi.lt.t nnay disr.ega,.ri t.},e resi:r•ictions in-'p()sed ht- t.1,,c, ()r.der
as exten<leci and niodified_


VI.     Guidance on A.pplication of the C)rder

        IncLtided in thc Appendlx are several gttidance documents that
elarify t.he applicatioti of the order in particular contexts. Additional
guidance docurnents mav be posted on the AOC's website at
h.tt ps:// Keor ,Iiacourts P-ovltlldlclrll-colzncLllaoc/. Guidance related to the
tolling of deadlines should be rcad in light of the reimposition of deadliney
bST this order and by orders in specific cases.


VIT.     Professionalism

       With regard to all inatters in tlais challenging tilne, all iawyc,rs are
renii.nded of their obligations of professionalism. Judges are a15c~
r.eininded of their obligation to di.sposc; of all judicial. inatter5 pi•onlptly
and efficiently, includi.ng by insisting that court officials, li.tigants: and.
their lawyers cooperate with the cocir t to achieve that end, although this
obli.gation znust not take precedence over the obligation to dispose of'
matters fairly and with patience, which requires sensi.tivity to health alici
other concerns raised by court officials_ litigants and their• lawyer.s,
witnesses, and others.


VIII. Noti.ce Provisions

     (A) Notice vcnll be provided as to the expected terFnination of the
Order as extended and modified at least one week in advance to allow
                                             1cl
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courts tc> pl an for tlle tran5it1oI1 tco ful.ler opc~r.ai.i.ons.
                                                                                         that
       (B) rTl-le c;ler'ks arlcl aOu ►'l. adlllllll~ trat.ol's of' ti-ial rourts
                                                                        procridetl 5ufficient
colidtict jtiry tl'ials arid L:orlvE'.12t' ;41'ziild jul•ic~s ~vill t3i
                                                                           the conlplicate(3
notice of the r'esuliiptiorz of jul•y proceedings i.o allcw
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                                                                                        tiic- level
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                                                                                 or' website.
PLec,ognizing tliat not: all courts 11avL a social lnedia presencc,
                                                            informatioli as xt becomes
the AUC`, wil.l contintie to poyt court-speci.fic
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                                                              servirce o£ a copy of
        (D) Pursuant to UCGA §38-3-63, notice and
                                                          and clerks of all courts
this order shall immediatel.v be sent to the judges
                                                        Appeals of Georgia, such
in this State and to the clerk of the Court of
                                                              expedztiou5 receipt,
sel•vi.ce to be accomplisheti through zileans to assure
                                                            be sent to the media,
wlzich include electronic lneans. Notice shall also
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shall constitute suffzci.ent notice of the issuance
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        Trl' TS SO ORDliRED thi5 ].()th day of C)ctober,
 at 11.:59 p.Izl.

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                                                      (.'hief Justice Hal"old D. IVTelton
                                                          Supreme Court of Geol•gia




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Georgia Sheriffs' Associatiori
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Georgia Public Defender Council
Prosecuting Attorneys' Councit of Georgia
Department of Corrections
Department of Cominunity Supervzsion
Georgia Court Reporters Association
Board of' Court Reporting
State Board of Pardons and Paroles
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                     SUPREME COURT OF GEORG
     e          i                                                FIL.ED
                                                         Administrative lrtinutes
         ~sa}                                          November 9, 2020
                                                             Therese S. Bariies
                                                           Clerk/Court EYecutive
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                EIGHTH OIIDER EXTENDING DECLARATION OF
                    STATEVVTDE JUDICIAL EMERGENCF

     On March 14, 2020, in response to the COVID-19 pandemic, the
Honorable Harold D. Melton, as the Chief Justice of the Supreme Court
of Georgia, issued an Order Declaring Statewide Judicial Emergency
pursuant to OCGA § 38-3-61. That Order has been extended seven times,
with modifications, by orders issued on April 6, May 11, June 12, July 10,
August 11, September 10, and October 10, 2020. After consulting with the
Judicial Councii of Georgia and other judicial partners, recognizing again
that most in-court proceedi.ngs compel the atten.dance of various
individuals rather than allowing them to decide how best to protect their
own health, and further recognizing that the novel coron.avirus conti.nues
to spread in Georgia, it is hereby determined that the Oxder should be
extended again.

      Courts in Georgia have continued to per,form essential functi.ons
despite the pandemic. Courts have also greatly expanded the use of
remote proceedings and have resumed limited in-person proceedings that
can be conducted safely. In an effort to return to more robust court
operations, many of the deadlines imposed by law on litigants in civi.l'and
criminal cases that had been suspended, tolled, or extended since the
initial 1CMarch 14 Order were reimposed as of July 14, allowing more
pending and newly filed cases to move forward in the judi.cial process. The
September 10 order authorized the Chief Judge of each superi.or court, in
his or her discretion after consultation with the District Attorney, to
resum grand jury proceedin.gs if doing so can be done safely and in
compliance with public health guidance based on Io-cal conditions. A
number of courts have utilized this authority, and- many more are
expected to do so goi.ng forward.
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       The last extension order on October 10 recognized that the blanket
prohibition of jury trials, whi.ch require the assembly of larger numbers of
people, could not continue, even though the pandemic continues, because
our judicial system, and the crimi.nal justice system in particular, must
have som.e capacity to resolve cases by trial, and our trial courts have
accuxnulated many cases that are awaiting trial. The September 10 order
directed the Chief Judge of each superior court to convene for each county
                                                                             to
i.n hi.s or her circuit a local committee of judicial system participants
develop detailed guidelines for the safe resumption of jury trials in the
county, utilizing the "Guidance for Resuming Jury Trials" included in the
Appendix to this order. The October 10 order authorized the Chief Judge
of each trial court, in his or her discretion, to resume the jury trial process
if local conditions allow and the Chief Judge, in coll.aboration with the
local cona.mittee, has developed and issued a final jury trial plan. A
number of courts have already issued their plans to safely resume jury
trials, and many more are in the process of developing those plans with
their local committees.

       It should be recognized that grand jury hearings and jury trials wiIl
 not actually start until a month or longer after the process for resumin.g
                                                                         to
 them begins in a particular county or court, due to the time required
 summon potential jurors for service. It also should be recognized that
 there are substantial backlogs of unindicted and untried cases, and due
                                                                         at
 to ongoing public health precautions, these proceedings will not occur
 the scale or with the speed they occurred before the pandemic. Thus,
 while our justice system must resume moving cases to indictment and
 trial as rapidly as can be done safely, statutory deadlines based on
 indictments and jury trials will remain suspended and toXled.
 Finall.y, it should be understood that plans may need to be revised based
 on changing circumstances.

      As has been the direction si.nce the original Order, all Georgia courts
must continue to conduct proceedings, remotely or in-person, in
compliance with publi.c health gui.dance, applicable statutes and court
rules, and the requirements of the United States and C`xeorgia                    `
Consti.tutions, including the public's ri.ght of access to judicial proceedings
and a criminal defendant's rights to confrontation and an open courtroom.
                                                                             to
All courts should continue to use and increase the use of technology
                                       2
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conduct remote judicial proceedings as a safer alternative to in-person
proceedings, unless required by law to be in person or unless it i.s not
practicable for technical or other reasons for persons participating in the
proceeding to participate remotely. This order again delineates the health
precautions required for all in-person judicial proceedings and requires
courts to adopt and maintain operating guidelines consistent with the
Georgia Court Reopening Guide and any more specific Iocai public health
guidance.

        Accordingly, the Order Declaring Statewide Judicia] Eniergency,
 which would have expired on Monday, November 9, 2020, at 11:59 p.m., a.s
 £urther extended untilWednesday, Decernber 9, 2020, at 11:59 p.m. All
 Georgia courts shall continue to ope3rate under the restrictions set forth
 in that Order as extended; the provisions of this order below are
 identical to the October 10 extension order except £or minor
 revisions to Sections Y and VIi. Where this order refers to "public
 health guidance," courts should consider the most specific current
 guidance provided by the federal Centers for Disease Control and
 Prevention (CDC), the Georgia Department of Publi.c Health (DPH), and
 thei.r local health departments.


~.    Grand Jury Proceedings and Jury Tri.als

       (A)   Grand Jury Proceedings Authorized

              (1) The Chief Judge of each superior court, in his or her
 discretion after consulting with the Di.strict Attorney, may resume grand
                                                                          doing
 j ury proceedings in person or remotely (where consisten.t with law), if
                                                                          based
 so can be done safely and in comp}iance verith public health guidance
                                                                         or she
 on local conditions. When a Chief Judge exercises this authority, he
  must provide suffici.ent notice to the appropriate clerk o£ court or court
  administrator to all.ow the process of summoning potential jurors, and
  potential jurors should be informed in advance about the practices that the
                                                                             in-
.-court will use to ensure their sa£ety_ Guidance for safely cond.ucting
  person grand jury proceedings, based on recomznendations from the
                                                                          grancd
  Judicial COVID-19 Task Force, and guidance on conducting remote
  jury proceedings are included i.n the Appendix to thi.s order.
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          (2) Courts and counsel are reminded that many criminal
                                                            jury
cases may proceed on accusation and do not require a grand
indictrnent.

     (B)   Jury Trials Authorized; Local Committees to Develop
           County Jury Trial Guidelines

            (1) As directed in the September 10 extension order, every
                                                                  system
county should have in place a local committee of judicial
                                                                    court,
participants, convened by the Chief Judge of the county's superior
                                                                 trials in
which is charged with developing a plan for safely resuming jury
                                                             Committees
the county as further described i.n the "Guidance for Local
                                                              order. The
on Resuming Jury Trials" included in the Appendix to this
                                                                   Trials"
local committees should utilize the "Guidance for Resuming Jury
                                                                 must be
also inclucled in the Appendix in developing thei.r plans, which
                                                                  soon as
submitted to the Admini.strative Offi.ce of the Courts (AOC) as
posszble and before the jury trial process begins.

             (2) The blanket suspension of jury trials that had
                                                                  effective
been in place si.nee the March 14 Order was ended
                                                                           in
October 1.0, 2020. The Chief Judge of each trial court is authorized,
                                                               resume jury
his or her discretion, to summon new trial jurors and to
                                                                   jury trial
trials, if that can be done safely an.d in accordance with a final
                                                           committee and
plan developed in collaboration with the local
                                                                   in-person
incorporated into the court's written operating gui.delines for
                                                                         jury
proceedings discussed i.n Section 1V below. As with grand
                                                                    she must
proceedings, when a Chief Judge exercises this authori.ty, he or
                                                            court or court
provide sufficient notice to the appropriate clerk of
                                                                          ancl
adzninistrator to allow the process of summonxng potential jurors,
                                                              practices that
potential jurors should be informed in advance about the
the court will use to ensure their safety.
                                                          unindi.cted and
      (C) Because there are substantial backlogs of
                                                               trials even
untried cases and because grand jury proceedings and jury
                                                             as before the
when resumed will not occur at the scale or with the speed
                                                            of grand jury
pandemic, deadlines calcu-lated by reference to the date
                                                              speedy trial
proceedings or jury trials, includi.ng but not limited to the
                                                             deadlines for
deadlines in OCGA §§ 17-7-170 and 17-7-171 and the
                                       4
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indicting detained individuals in OOGA §§ 17-7-50 and 17-7-50.1, wiJ.l
rernain suspended and tolled as discussed in Section Il (A) (1) below.


II.    Reimposition of Deadlines on Litigants

      (A) The July 10 extension order reimposed all deadlines and other
time schedules and filing requirements (referred to collectively herein as
"deadlines") that are imposed on litigants by statutes, rules,
re,gulations, or court orders in civil and criminal cases and administrative
actions and that had been suspended, tolled, extended, or otherwise
relieved by the March 14, 2020 Order Declaring Statewide Judicial
Emergency, as extended, on the following schedule and with the following
exceptions and. conditions:

            (1) Consistent with Section I above, deadlines. for jury
trial proceedings (including statutory speedy trial demands),
deadlines for grand jury proceedings, and deadlines calculated
by reference to the date of a civil or criminal jury trial or grand
jury proceeding shall remain suspended and tolled. This provision
do.es not apply to deadlines calculated by reference to the date of non-jury
(bench) trials. Statutes of limitation in cri.minal cases shall also remain
tolled until further order.

          (2) All other deadlines i.mposed on litigants were
 reinaposed effective July 14, 2020, as further explained below.

           (3) In cases that were pending before the March 14 Order,
litigants were provided the same amount of time to file or act after July
14 that they had as of March 14.

           (4) In cases fiied between March 14 and July 13, 2020,
the time for deadlines began to run on July 14.

          (5) In cases filed on or after July 14, 2020, li.tigants must
 comply with the normai deadlines applicable to the case.

             (6)   If the reimposed deadline falls on a weekend or legal
                                      5
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ho)iday, the deadline will as normal be the next business day. See OCGA
§ 1-3-1 (d) (3).

            (7) Any extension of time for a litigant's filing or action that
was granted by a court, or was agreed or consented to by the litigants as
authorized by law, before July 14, 2020, also extended the time for that
filing or action after July 14.

           (8) Litigants may be entitled to additional time based on the
provisions of a local judicial emergency order applicable to their case if
such an order tolled applicable deadlines before the March 3.4, 2020
Order Declaring Statewide Judicial Emergency or tolls applicable
deadlines after July 14, 2020.

            (9) The tolli.ng and suspension of deadlines imposed on
litigants in civil and criminal cases that are calculated by reference to
terms of court were lzfted as of July 14, 2020, and any regular term of
court beginning on or after July 14 counts toward such deadlines. See
also the May 4, 2020 "Guidance on Deadlines and Time Limits Defined
by Reference to Terms of Court" included in the Appendix.

            (10) The 122 days between March 14 and July 1.4, 2020, or
any portion of that period in which a statute of limitation would have
run, shall be excluded from the calculation of that statute of limitation.

           (11) Litigants may apply in the normal way for extensions of
rei,mposed deadlines for good cause shown, and courts should be generous
in granting extensions particularly when based upon health concerns,
economic hardship, or lack of child care.

      (B) Recognizing the substantial backlog of pending cases,
deadlines imposed on courts shall remai.n suspended and tolled. All
courts should nevertheless work diligently to clear the backlog and to
comply with usual deadlines and timetables to the extent safe and
practicable.                                                                   `

      (C) If before July 14 a court rei.mposed deadlines by order in a
specific case based on the authority to do so granted by prior extension
                                      6
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    orders, the case-specific order reimposing deadlines shallcontrol over the
    deadl.ines for the same filings or actions reimposed by this statewide
    order.

         (D) If i.n a divorce or adoption case a time period required by law
    actually passed or passes before the court entered or enters a consent
    order, consent judgment, or consent decree regarding the di.vorce or
    adoption, such order, judgment, or decree shall not be invalid based on
                                                                       Grder
    any suspension or tolling of the applicable period by the March 14
    as extended.


    III. Proceedings Conducted Remotely Usitng T'echnology

          (A) All courts should continue to use and increase the use of
    technology to conduct rem.ote judicial proceedings as a sa£er alternative
    to in-person proceedings, unless required by law to be in person or unless
    it is not practicable for technical or other reasons for persons
    participating in the proceeding to partici.pate remotely.

         (B) Courts should understand and utilize the authority provided
                                                                     video
    and clarified by the emergency amendments made to court rules on
    conferences and teieconferences.

          (C) Courts may compel the participation of litigants, lawyers,
    witnesses, and other essential personnel in remote judicial proceedings,
    where allowed by court rules (including emergency amendments thereto).
    Such proceedings, however, must be consistent with public health
    gui,dance, must not iznpose undue burdens on participants, and must not
                                                                    Georgia
    be prohibited by the requirements of the United States or
    Constitutions or applicable statutes or court rules.

          (D) Xn civil, criminal, juvenile, and administrative proceedings,
                                                                              not
    litigants rnay expressly consent in the record to remote proceedings
                                                                            legal
.   otherwise authorized and affirmatively waive otherwise applicable
    requirements.
          (E) Courts must ensure the public's right of access to judicial
                                                                           in the
     proceedings and in all crim.inal cases, un.less af£i.rmatively waived
                                          7
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record, a criminal defendant's rights to confrontation and an open
courtroom.


IV. fn.-Person Proceedings Under Guidelines for Safe
    Qperations

     (A) Courts have discretion to conduct in-person judiciaY
proceedings, but only in compliance with public health guidance
and with the requirements of the United States and Georgia
Constitutions and applicable statutes and court rules, including
the public's right of access to judicial proceedings and a criminal
defendant's rights to confrontation and an open courtroom.

     (B) No court may compel the attendance of any person for
a eourt proeeeding if the court proceeding or the court facility in
which it is to be held is not in compliance with this order,
including in particular large calendar calls. Courts are also prohibited
from compelling in-person participation in any court-inzposed
alternative dispute resolution session that is to be conducted in
a manner inconsistent with applicable public health guidelines.

      (C) Each court shall develop and implement operating
guidelines as to how in-court proceedings generally and particular types
of proceedings, a.ncluding grand jury proceedings and jury trials, will be
conducted to protect the health of litigants, lawyers, jurors, judges, court
personnel, and the public.

           (f) The Judicial Council Strategic Planning Committee and
the Judicial CQVID-19 Task Force have issued a bench card entitled
"Georgia Court Reopening Guide," which is included in the Appendix and
should be used as the template for such operating gui.delines, which at a
minimum should include all subject matters contained therein. Courts
should also consi.der guidance from local health departments and
guidance provided by CDC and DPH; if local public health guidance is
more restrictive than the bench card, the local public health guidance
should be followed instead.
           (2) With regard to everyone who works in a court facility,
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                                                                   with
the operatin.g guidelines shall require isolati.on of any person
                                                                   with
known or suspected COVID-19 and quarantine of any person
                                                                     the
COVID-19 exposure likely to result in infection, in accorcdance with
                                                                 Control
DPH Eighth Amended Administrative Order for Public Health
                                                                     any
Measures, a link to which may be found in the Appencli.x, or
subsequent version thereof.

            (3) When there is reason to believe that anyone who works
                                                                  DPH or
at or has visi.ted a court facility has been exposed to COVID-19,
                                                          notification of
the local health department shall be notified, and
                                                               by DPH or
persons who may have been exposed shall occur as directed
the local health department.
                                                                         or
       (D) Courts of different classes that share courthouse facila.ties
                                                              guidelines,
operate in the same county should coordinate their operating
                                                            non-judicial
and should seek to coorclinate operating guidelines with
entit.ies sharing courthouse facilities.
                                                                      AOC
      (E) Each court must submit its operating guidelines to the
                                                         uidelines-form/ to
at https //g.eorgiacourts gov/covid-l9-court- operating-
be     posted     at    https://georgiacourts.govlcovid-l9-court-operatung-
                                                                        and
guidelines/ as a centralized websi.te available to litigants, lawyers;
                                                                  posted at
the public. Operating guidelines also should be prominently
                                                                websites to
courthouse entrances and on court and local government
provide advance notice to liti.gants, lawyers, and the pubiic.
                                                              health
     (F) Operating guidelines shall be modified as public
                                                              health
guidance is modified, and shall remain in ef£ect until public
guidance indicates that they are no longer required.


V.    Discretion of Chief Judges to Declare More Restrictive
      Local Judi.cial Emergencies
                                                                   Judicial
      (A) Nothing in the Order Declaring Statewide
                                                              of the Chief
 Emergency as extended and modified limits the autiority
                                                           38-3-61 and
 Judge of a superior court judici.al circuit under OCGA §§
                                                        statewide judicial.
 38-3-62 to add to the restrictions imposed by the
                                      D7
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emergency, if such additional restrictions are constitutional, necessitated
                                                                         or
by local conditions, and to the extent possible ensure that courthousesout
properly designated alternative facilities remain accessible to carry
                                                                 additional
essential judicial functions. A Chief Judge may impose such
restrictions only by a properly entered order.
                                                                  Order
      (B) No court rnay disregard the restrictions imposed by the
as extended and modified.


VI.    Guidance on A.pplication of the Oxder
                                                                        that
      Included in the Appendix are several guzdance documents
                                                                  Additional
clarify the application of the order in particular contexts.
                                                                 website at
guidance documents may be posted on the AOC's
                                                              related to the
htt s:!/ eor iacourts.gov/judicial-council/aoc/. Cx̀uidance
                                                                 of deadlines
tolling of deadlines should be read in 3ight of the reimposition
by this order and by orders in specifi.c cases.


VII.    Professional.isrn
                                                                           are
      With regard to all matters in this challenging tizne, ali lawyers
                                                                    obligation
reminded of their obligations of pro£essionalism, including the
to engage in discovery in good faith and in a safe manner. Judges are also
remi.nded of their obligation to dispose . of all judicial matters promptly
                                                                litigants, and
and efficiently, including by insisti.ng that court officials,
                                                                 although this
their lawyers cooperate with the court to achieve that end,
                                                                 to dispose of
obligation must not take precedence over the obligation
                                                                 to health and
mattexs fairly and with patience, which requires sensitivity
                                                               their Iawyers,
other concerns rai.sed by court officials, litigants and
witnesses, and others.




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VIII. Notice Provisions

     (A) Notice will be provided as to the expected termination of the
Order as extended and modified at least one week i.n advance to allow
courts to plan for the transition to fuller operations.

      (B) The clerks and court administrators of trial courts that
conduct jury trials and conven:e grand juries will be provided sufficient
notice of the resumption of jury proceedings to allow the complicated
process of summoning potential jurors to be completed.

      (C) The impact of COVVID-19 varies across the state, and the level
of response and adjustment will likewise vary among courts. Courts
should rnake available to the public the steps they are taking to safely
increase operations whil.e responding to the CO'VID-19 pandemic.
Recognizi.ng that not all courts have a soci.al media presence or website,
the AOC will conti.nue to post court-specific i.nformation as it becomes
avail.able on the AOC website at https://geor ~iacourts.gov/coyid-19-
prepareciness.

      (D) Pursuant to OCGA § 38-3-63, notice and service of a copy of
this order shall immediately be sent to the judges and clerks o£ all courts
in this State and to the clerk of the Court of Appeals of Georgia, such
service to be accomplished through means to assure expeditious receipt,
whi.ch i.nclude electroonic means. Notice shall also be sent to the media,
tlze State Bar of Georgia, and the officials and entities listed below and
shall constitute sufficient notice of the issuance of this order to the
affected liti.gants, counsel for the affected li.tigants, and the public.

       IT IS SO ORDERED this 9th day of November, 2020, and effective
at 11.:59 p.m.




                                      Chief Justice Harold D. Melton
                                        Suprerne Court of Georgia

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                            APPENDIX

     Gui.daxice on Tolling of Filiiig Deadlines March 27 2020


    Czuidance on Tolling of Statutes of Linlitation ( April G, 2020)


        Guidance on Dcadlizies and Time Limits Defined bv
            Reference to Terms of Court (Mav 4. 2020)


              Guiclance oii Grand JLtries (May 4. 2020)


         Further Guidance on Grand Juries (May I I 202U


          Georzia Court ReoUening Guide (June 11, 2020)

                                                   Health        Control
DPH Ninth Alnended Administrative Order for Public
                 Measures (November I. 2020)


     _Gui.dance for Resuming In-Person Grand Jury Px•oceedings
                        (September 10. 2020)


      _Guidance for Local Committees on Resurn.ing Jury Trials
                        (September 10,22M)


      Guidance for Resuming Jury Trials (Septeinber 21. 2020


                                                          202U~
   Guidance for Rernote Giand Jury Proceedin s October 26
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Governor Brian P. Kemp
Lt. Governor Geoff Duncan
Speaker David Ralston
State Bar of Georgia
A.dmini.strative Office of the Court.s
Judicial Council of Georgi.a
Council of Superior Court Clerks of Georgia
Department of Juvenile Justice
Criminal Justice Coorclinating Council
Council of Accountability Court Judges
Georgia Commission on Dispute Resolution
lnstitute of Continuing Judi.cial Education of Georgia
Georgia Council of Court Administrators
Chief Justi.ce's Commission on Professionalism
Judicial Qualifi.cations Commission
Association County Commissioners of Georgia
 Georgia lU.[unicipal Association
 Georgia Sheriffs' Associ.ation
 Georgia Association of Chiefs of Police
 Georgia Public Defender Council
 Prosecuting Attorneys' Council of Georgia
 Department of Corrections
 Department of Comxnunity Supervision
 Georgia Court Reporters Associatxon
 Board af Court Reporting
 State Boaxd of Pardons and Paroles
 Constitutional Officers Associati.on of Georgia
 Council of Magi.strate Court Cl:erks
 Council of Municipal Court Clerks

                                         SUPItEAiE coilKT OF THE S`1'ATE OF C=EO[tG1A
                                                    Clerk's Office. Atlaata
                                                                                              thc
                                              I certify that the above k a true eNtract firom
                                    m inutes of the Supreme Court of Georgia.                    hereto
                                              Witness my signature and the seai of said court
                                    affixed the day  and  year tast above wrFttern.




                                                                                         Cierk

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                SUPREME COURT OF GEORG
  ?        ;r                                                 FILED
                                                       Administrative Miiiutes
  ~~,
  •~~ i                                                 December 9, 2020
                                                         Therzse S. f3arsles
                                                       Cierf:K'ourt Fxccutive
                                                 SUPRf,~ ME COI.►fZ~T    ~EORC.► fA
                                                                         C'3



          NINTH ORDER EXTENDIIeIG DECLARATION OF
              STATEWIDE JUDICIAL EMERGENCY
                                                                     the
      On March 14, 2020, in response to the COVID-19 pandemic,
                                                                  Court
Honorable Harold D. Melton, as the Chief Justice of the Suprerne
                                                           Ernergency
of Georgi.a, issued an Order Declaring Statewide Judiciai
                                                                 ti.mes,
pursuant to OCGA § 38-3-61. That Order has been extended eight
                                                               12, July
with modihcation.s, by orders issued on April 6, May 11, June
                                                           2020. After
3.0, August 11, September 10, October 10, and November 9,
                                                                judicial
consuiting with the Judicial Council of Georgia and other
                                                                     the
partners, recognizing agai.n that most in-court proceedings compel
                                                                 decide
attendance of various indxviduals rather than allowing them to
                                                               that the
how best to protect their own health, and further recognizing
                                                                 hereby
novel coronavirus continues to spread in Georg'ia, it is
determined that the Order should be extendedagain.

      Courts in Georgia have continued to perform essential functions
                                                               the use of
despite the pandemic. Courts have also greatly expanded
                                                             proceedings
reznote proceedings and have resumed limited in-person
                                                             robust court
that can be conducted safely. ln an effort to return to more
                                                                   in civil
operations, many of the deadli.nes imposed by law on li.tigants
                                                          extended since
and criminal cases that had been suspended, tolled, or
                                                           aIlowing more
the ini.tial March 14 Order were reimposed as of July 14,
                                                                  process.
pending and newly filed cases to rnove forward in the judicial
                                                           each supenor
The September 10 orcder authorized the Chief Judge of
                                                             the District
court, in his or her discretion after consultation with
                                                                  be done
Attorney, to resume grand jury proceedings if doing so can
                                                                  on iocal
safeiy and in compliance with public health guidance based
                                                                and many
conditions. A number of courts have utilized this authority,
 more are expected to do so goingforward.
                                         1                                        _
                                                                              ~.-~.•• - -
                                                                         ~       EXHI ~T
                                                                          Q
                                                                         ►~
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                                                                            blanket
          The October 10 extension order recognized that the
                                                                         numbers of
    prohibiti.on of jury trials, which require the assembly of larger
                                                                continues, because
    people, could not continue, even though the pandernic
                                                                  particular, must
    our judicial system, and the criminal justice system in
                                                                 trial courts have
    have some capacity to resolve cases by trial, and our
                                                                           10 oxder
    accumulated many cases that are awaiting trial. The September
                                                                    for each county
    directed the Chief Judge of each superior court to convene
                                                            system participants to
    in his or her circuit a local comm.ittee of judicial
                                                                 jury trials in the
    develop detailed guidelines for the safe resumption of
                                                                     included in the
    county, utili2ing the "Guidance for RResuming Jury Tri.als"
                                                                   the Chief Judge
    Appendix to this order. The October 10 order authorized
                                                              the jury trial process
    of each trial court, in hi.s or her discretion, to resume
                                                                       with the local
    if local conditions allow and the Chief Judge, in collaboration
                                                                       A number of
    committee, has developed and issued a final jury trial plan_
                                                                    jury trials, and
    courts have already issued their plans to safely resuxne
                                                                    with their local
    many more are in the process of developing those plans
    committees.

                                                                   jury trials will
            It should be recognized that grand jury hearin.gs and
                                                           process for resuming
     not actually start until a month or longer after the
                                                                 time required to
     them begins in a particular county or court, due to the
                                                             be recognized that
     summn potential jurors for service. It also should
                                                          untried cases, and due
     there are substantial backlogs of unindicted and
                                                   proceedi.ngs wall not occur at
     to ongoing public health precautions, these
                                                           the pandemic. Thus,
     the scale or with the speed they occurred before
                                                               to indictment and
     while our justice system must resume znbving cases
                                                           deadli.nes based on
     tri.al as rapidly as can be done safely, statutory
                                                                   and tolled. As
     indi.ctments and jury trials wi.11 remain suspended
                                                                  in OCGA §§ I7-
      grand jury proceedings resume, however, the deadlines
                                                          detained defendants to
      7-50 and 1.7-7-50.1 for presenti.ng cases involving
                                                           with at least 30 days
      a grand jury may be reimposed. Thi.s will be done
                                                          are occurring, district
      prior notice, but where grand jury proceedings
                                                            to reduce backlogs.
      attorneys should already be prioritizing these cases
                                                          for conducting jury
           ,Fls noted in prior orders, each court's plans
                                                      in-person proceedings
~     tri.als, grand jury proceedings, and other
                                                                canceled, or
      may need to be revised — and proceedings delayed,
                                             2
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don.e remotely — based on changing local circumstances. Recent
public health reports indicate that CO'VID-19 conditions are
worsening drarnatically in many parts of the State. VVhile this
order does not impose a blanket shutdown of non~ssential in-
person court proceedings, courts should remai.n vigilant of
changing COVID-7.9 conditions and be prepared to suspend jury
trials as necessary and to reconsider grand .jury proceedings as
well. All courts are again urged to utilize technology to conduct
proceedings rexnotely to the fullest egtent practicable and lawful.
                                                          conduct
For all remainxng in—person proceedings, courts xnust
                                                               and
the proceedings in cornpliance with public health guidance
                                                                 of
should rnanage case calendars so as to mini.mize the number
participants gatheri.ng both in the courtroom and in common
areas outside of courtrooms.

      As has been the direction since the original Or~.er, all Georgia couxts
must continue to conduct proceedings, remotely or in-person, in
                                                                          court
compliance with pubiic health guidance, applicable statutes and
                                                                       Georgia
rules, and the requirements of the United States and
Constit'utions, including the public's right of access to judicial proceedings
                                                                    courtroom.
and a criminal defendant's rights to confrontation and an open
                                                                             to
All courts should conti.nue to use and increase the use of technology
                                                                     in-person
conduct remote judicial proceedings as a safer alternative to
                                                                            not
proceedings, unless required by law to be in person or unless it is
                                                                            the
practicable for technical or other reasons for persons partici.pating in
                                                                         health
proceecling to participate remotely. This order again delineates the
                                                                       requires
precautions required for all in-person judica.al proceedi.ngs and
                                                                      with the
courts to adopt and maintain operating guidelines consistent
                                                                         health
Georgia Court Reopeni.ng Guide and any more specific Iocal public
guidance.

       Accordingly, the Order Declaring Statewide Judicial Ernergency,
                                                                   at 11:59
 which would have expired on Wednesday, December 9, 2020,
                                                             at
 p.m., is further extended until Friday, January S, 2021, 11:59 P.M.
                                                           restrictions set
 A11 Georgi.a courts shall continue to operate under the
                                                                     below
 forth in that Order as-extended; the provisions of this order
                                                                  this order
 are identical to the November 9 extension order. Where
 refers to "public health guidance," courts shouid consider the most
                                       3
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                                                              Disease
specific current guidance provided by the federal Centers for
                                                               Health
Control and Prevention (CDC), the Georgia Department of Public
(DPH), and their local healthdepartments.
I.    Grand Jury Proceedings and Jury Trials

      (A)   Grand Jury ProceedingsAuthorized
                                                                      or her
            (].) The Chief Judge of each superior court, in his
                                                                       grand
discretion after consulting with the District Attorney, may resume
                                                               law), if doing
jury proceedings in person or remotely (where consistent with
                                                            guidance based
so can be done safely and in compliance with pub£ic health
                                                                       or she
on local conditions. VVhen a Chief Judge exercises this authority, he
                                                                    or court
must provide sufficient noti.ce to the appropriate clerk of court
                                                                         and
administrator to allow the process of summoning potential jurors,
                                                                     that the
potential jurors should be informed in advance about the practices
                                                             conducting in-
court wili use to ensure their safety. Guidance for safely
                                                                   from the
person grand jury proceedings, based on recommendations
                                                               remote grand
Judicial COVID-19 Task Force, and guidance on conducting
                                                        order.
jury proceed'zngs are included in the Appendix to this
                                                         criminal
          (2) Courts and counsel are reminded that many
                                                    a grand jury
 cases may proceed on accusation and do not require
 indictment.

      (D)   Jury Trials Authorized; Local Coxnmi.ttees to
            Develop County Jury Trial Guidelines
                                                                      every
            (1) As directed in the September 10 eXtension order,
                                                                    system
 county should have in place a local committee of judicial court,
                                                             superior
 participants, convened by the Chief Judge of the county's
                                                                 jury trials
 which is charged with developing a plan for safely resumingCommittees
                                                         Local
 in the county as further described in the "Guidance for
                                                         to this order. The
 on Resuming Jury Trials" included in the A.ppendix
                                                               Jury Trials"
 local committees should utilize the "Guidance for Resuming
                                                     plans, which must be
 also included in the Appendix in developing their
                                                                 as soon as
 submitted to the Administrative Office of the Cour.ts (AOC)
 possible and before the jury trial processbegins.
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              (2) The blanket suspensi.on of jury trials that had
been in place since the March 14 Order was ended effective
October 10, 2020. The Chief Judge of each trial court is authorized,
in his or her discretion, to summon new trial jurors and to resume jury
trials, if that can be done sa£ely and in accordance with a final jury trial
plan developed in collaboration with the local committee and
incorporated into the court's written operating guideli.nes for in-person
proceedings discussed in Section IV below. As with grand jury
proceedings, when a ChiefJud.geexercisesthis authority, he orshe must
provide sufficient notice to the appropriate clerk of court or court
admini.strator to allow the process of summoning potential jurors, and
potential jurors should be informed an advance about the practices that
the court will use to ensure their safety.

      (C) Because there are substantial backlogs of unindicted and
untri.ed cases and because grand jury proceedi.ngs and jury trials even
when resumed will not occur at the scale or with the speed as before the
pandemic, deadlines calculated by reference to the date of grand jury
proceedings. or jury trials, including but not limited to the speedy trial
deadlines in OCGA §§ 17-7-170 and 17-7-171 and the deadlines for
indicting detained individuals in OCGA §§ X7-7-50 and 17-7-50.1, will
remain suspend.ed and tolled as discussed in Section II (A) (1)below.


lI.   Reixnpositi.on of Deadlines onLitigants

      (A) The July 10 extensi.on order reimposed all cleadlines and other
tizne schedules and filing requirements (referred to collectively herein as
"deadlines") that are irnposed on litigants by statutes, rules, regulations,
or court orders in civil and criminal cases and adnzinistrative actzons and
that had been suspended, tolled, extended, or otherwise relieved by the
March 14, 2020 Order Declaring Statewide Judicial Emergency, as
extended, on the following schedule and with the following exceptions and
conditions:

          (1) Consistent with Section I above, deadli.nes for jury
triai proceedings (including sta.tutory speedy trial demands),
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    deadlines for grand jury proceedings, and deadiines calculated
    by reference to the date of a civil or criminal jury trial or grand
    jury proceeding shall remain suspended and tolled. This provision
    does not apply to deadlines calculated by reference to the date of non-
    jury (bench) tri.als. Statutes of limitation in criminal cases shall also
    rern.ain toD.ed until further order.

             (2) All other deadlines imposed on litigants were
     reimposed effective July 1.4, 2020, as further explai.ned belovv.

               (3) In cases that were pend'zng before the March 14 Order,
    litigants were provided the same amount of time to fi.le or act after July
    14 that they had as of March 14.

                (4) In cases filed between March 14 and July 13,
    2020, the time for deadlines began to run on July 14.

                (5) ln cases filed on or after July 14, 2020, litigants naust
     comply vcrith the normal deadlines applicable to the case.

                 (5) If the reimposed deadline falls on a weekend
    or legal holiday, the deadline will as normal be the next business day. See
    OCGA § J.-3-1 (d) (3).

                  (7) Any extension of time for a litigant's filing or action that
     was granted by a court, or was agreed or consented to by the litigants as
     authori2ed by law, before July 14, 2020, also extended the time for that
     filing or acti.on after July 14.

                 (8) Litigants may be entitled to additi.onal time based on the
     provisions of a local judicial emekgency order applicable to their case if
     such an order tolled applicable cdeadlines before the March 14, 2020 Order
     Declaring Statewide Judicial Emergency or tolls applicable deadlines
     after July 14, 2020.

~                (9) The tolling and suspension of deadlines imposed on
     litigants in civil and criminal cases that are calculated by reference to
     terms of court were lifted as of JuXy 14, 2020, and any regular term of
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court beginning on or after July 14 counts toward such deadlines. See also
the May 4, 2020 "Guidance on Deadlines and Time Limits Defined by
R.eference to Terms of Court" included in the Appendix.

           (10) The 122 days between March 14 and July 14, 2020, or
any portion of that period in which a statute of limitation would have run,
shall be excluded from the calcul.ation of that statute of limitation.

          (11) Litigants may apply in the normal way fox extensions of
reimposed deadlines for good cause shown, and courts should be generous
in granting extensions particularly when based upon health concerns,
economxc hardship, or lack of childcare.

     (B) Recognizing the substantial backlog of pending cases,
deadlines imposed on courts shall remain suspended and tolled. All courts
should nevertheless work diligently to clear the backlog and to comply
with usual deadlines and timetables to the extent safe and practicable.

      (C) If before July 14 a court reimposed deadlines by order in a
specific case based on the authority to do so granted by prior extension
orders, the case-specific order reimposing deadlines shall control over the
deadlines for the same filings or actions reimposed by this statewi.de order.

      (D) If in a divorce or adoption case a tixne period required by law
actually passed or passes before the court entered or enters a consent
order, consent judgment, or consent decree regarding the divorce or
adoption, such order, judgment, or decree shall not be invalid based on
any suspension or tolling of the applicable period by the March 3.4 Order
as extended.


 fll. Proceedings Conducted Rexnotely Usi.ng Technology

      (A) All courts should continue to use and increase the use of
technology to conduct remote judicial proceedings as a safer alternative to
in-person proceedingsY unless required by law to be in person or un.less it
is not practicable for technical or other reasons for persons participating

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in the proceeding to participate remotely.

     (B) Courts should understand and utilize the authority provided
and clarified by the emergency amendments made to court rules on video
conferences andteleconferences.

      (C) Courts may compel the participation of litigants, lawyers,
witnesses, and other essential personnel in remote judicial proceedings,
where allowed by court rules (including emergency amendments thereto).
Such proceedings, however, must be consistent with public health
gui.dance, must not impose undue burdens on participants, and must not
be prohibited by the requirements of the United States or Georgia
Constitutions or applicable statutes orcourt rules.

       (D) In civil, crimi.nal, juvenile, and adrni.nistrative proceedings,
liti.gants may expressly consent in the record to remote proceedings not
otherwise authorized and affirmatively waive otherwise applicable legal
requirements.

      (E) Courts must en.sure the public's right of access to judicial
                                                                     the
proceedings and in all criminal cases, unless afhrmatively waived in
                                                                   open
record, a criminal defendant's rights to confrontation and an
courtroom.


 IV. In-Person Proceedings Under Guidelines for Safe
     pperations

     (A) Courts have discretion to conduct in-person judicial
proceedings, but only in compliauce with public health guidance
and with the requirements of the United States and Georgia
Constitutions and applicable statutes and court rules, including the
public's right of access to judicial proceedings and a criminal defendant's
rights to confrontation and an open courtroom.

      (S) No court may compel th.e attend.%nce of any person
                                                                 for
                                                         faeility in
 a court proceeding if the court proceeding or the court
                                                            order,
 which it is to be held is not in compliance with this
                                     8
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including in particular large calendar calls. Courts are also prohibxted
from compelling in-person participation xn any court-imposed
alternative di.spute resolution session that is to be conducted in
a manner inconsistent with applicable public healthguidelines.

      (C) Each court shall develop and implement operating
guidelines as to how in-court proceedings generally and particular types
of proceedings, including grand jury proceedi.ngs and jury trials, will be
conducted to protect the health of litigants, lawyers, jurors, Judges, court
personnel, and the publi.c.

            (1) The Judi.cial Council Strategic Planning Committee and
the Judicial COVID-19 Task Force have issued a bench card entitled
"Georgia Court Reopening Guide," which is included in the Appendix and
should be used as the template for such operating gui.delines, which at a
minimuxn should include all subject matters contained therein. Courts
should also consider guzdance from local health departments and guidance
provided by CDC and DPH; if local public health gui.dance is more
restrictive than the bench card, the local public health guidance should be
followed instead.

           (2) With regard to everyone who works in a court facility, the
operating guidelines shall require i.solation of any person with known or
suspected COVID-19 and quarantine of any person with COV7D-19
exposure likely to result in infection, in accordance with the DPH Ninth
Amended Administrative Order for Public Health Control Nleasures, a
link to which may be found in the Appendix, or any subsequent version
thereof.

            (3) When there is reason to beli.eve that anyone who works
at or has visited a court facility has been exposed to COVID-19, DPH or
the local health departrnent shall be notihed, and notif;cation of persons
who may have been exposed shall occur as directed by DPH or the local
health departrnent.

     (D) Courts of different classes that share courthouse facilities or       ~
operate in the same county should coordinate thei.r operating guidelines,
and should seek to coordinate operating guidelines with non-judicial
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    entities sharing courthouse facilities.

          (E) Each court must submit its operating guidelines to the AOC at
    https://aqora,iacourts gov/covid-l9-court-operatine-guidelines-form to be
    posted at htt s:// eor iacourts_ ov/covid-l9-court-o eratin '- uidelines/ as
    a centrali.zed website available to litigants; lawyers, and the public.
    Opexating guidelines also should be prominently posted at courthouse
    entrances and on court and local government websites to provide advance
    notice to litigants, lawyers, and the public.

          (f) Operating guidelines shall be modified as public health
    guidance is modi.f'ied, and shall reznain in effect until public health
    gui.dance indicates that they are no longerreg,uired.


    V.    Discretxon of Chief Judges to Declare More Restrictive
          Local JudicialEmergencies

          (A) Nothing in the Order Declaring Statewide Judicial Emergency
    as extended and modified lirnits the authority of the Chi.ef Judge of a
    superior court judicial circuit under OCGA §§ 38-3-61 and 38-3-62 to add
                                                                            such
    to the restrictions i.mposed by the statewide 3udicial emergency, if
    additional restrictions are constitutional, necessitated by local condxti.ons,
    and to the extent possible ensure that courthouses or properly designated
    alternative facilities remain accessible to carry out essential judicial
    functions. A Chief Judge may impose such adda.tional restrictions only by
    a properly entered order.

         (B) No court may disregard the restrictions imposed by the Order
    as extencded andxnodffied.


    VI.    Guidance on Application of the Order

          Included in the Appendix are .several guidance documents that
~   clarify the application of the order in particular contexts. Additional
    guidance documents may be posted on the AOC's website at
    https•//aeorgiacourts. ov/iudicial-council/aoc/. Guidance related to the
                                              10
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                                                                     deadlines
tolling of deacllines should be read in light of the reimposition of
by thi.s order and by orders in specificcases.


VII.     Professionalism
                                                                            are
      With regard to all m.atters in this challenging ti.me, all lawyers
                                                                    obligation
rerninded of their obligations of professionalism, including the
                                                                       are also
to engage in discovery in good £aith and in a safe manner. Judges
                                                                           ancd
rem.inded of their obligation to dispose of all judicial matters promptly
                                                                          their
efficiently, ineluding by insisting that court officials, litigants, and
                                                                although this
lawyers cooperate with the court to achieve that end,                         of
obligation must not take precedence over the obligati.on to dispose
                                                                    health and
xnatters fairly and with patience, which requires sensitivity to
                                                                      lawyers,
other concerns raised by court officials, litigants and their
witnesses, and others.


VI1I.     Notice Provisions

     (A) Notice wzll be provided as to the expected termination of the
                                                              to allow
Order as extended and modified at least one week in advance
courts to plan for the transition to fiiller operations:
                                                              courts that
 -    (B) The clerks and court administrators of trial
                                                       provided suf£icient
conduct jury trials and convene grand juries will be
                                                              complicated
notice o£ the xesumption of jury proceedings to allow the
process of sumnaoning potential jurors to becompleted.
                                                                     level
      (C) The impact of COV1D-19 varies across the state, and the
                                                          courts. Courts
of response and adjustment will likewise vary among
                                                                 to safely
should make available to the public the steps they are taking
                                                               pandemic.
increase operations while responding to the COVID-19
                                                              or website,
R.ecognizing that not all courts have a social media presence
                                                           as it becomes
the AOC will conti.nue to post court-specific information               9-
available on the AOC website at https•/lgeoraiacourts.aov/covid-l
p,reparedness.
                                        11
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      (D) Pursuant to OCGA § 38-3-63, notice and service of a copy of
                                                                      courts
this order shall iznmediatelv be sent to the judges and clerks of all
                                                                        such
in this State and to the clerk of the Couxt of Appeals of Georgia,
                                                                     receipt,
service to be accomplished through means to assure expeditious
                                                                  media, the
which incl.ude electronic mcans. Notice shall also be sent to the
                                                                        shall
State Bar of Georgi.a, and the officials and entities listed below and
                                                                    affected
constitute suffici.ent notice of the issuance of this order to the
litigants, counsel for the affected l.itigants, and the public.

      IT IS SO ORDERED this 9th day of llecember, 2020, and e£fective
at 11:59 p.m.



                                       -
                                            46             u~
                                       Chief Justice Harold D. Nielton
                                         Supreme Court of Georgia




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                             APPENDIX

     Guidance on Tolling of Filing Deadlines (March 27. 2020)


    Guidance on Tolling of Statutes of Limitation (Apri16, 2020)


           Giiidazice on Deadlines and Time Limits Defined bv
                Reference to Terms of Court (May 4, 2020)


                Guidance on Grand Juri.es (IVIay 4. 2020)


           Further Guidance on Grand Juries (May 11 2020


             Georgia Court Reopening Guide (June 1].. 2020)


DPH. Ninth Amended Administrative Order for Public Health Control
                 Measures (November 1. 2020)


     G uidance for Resuming In-Person Grand Jury Proceedings
     T                 (Septexnber 10, 2020)


         G uidance for Locai Comrnittees on ResumingJury Trials
                           (September 10, 2020)


         Guidance for Resuming Jury Trials Se tember 21. 2020


  Guidance for Remote Grand Jury Proceedin s October 26. 2020)



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Georgi.a Council of Court Administrators
Chief Justice's Commission on Professionalisrn
Judicial Qualifications Commission
Association County Cornmissi.on.ers of Geflrgia
Georgia Municipal Associ.ation
Georgia Sheriffs' Association
Georgia Associ.ation of Chiefs of Police
Georgia Public Defender Council
Prosecuting Attorneys' Council of Georgia
Department of Corrections
Department of Community Supervision
Georgia Court Reporters Association
Board of Court Reporting
State Board of Pardons and Paroles
Constitutional Officers Association of Georgia
Council of 1Vlagistrate Court Clerks
Council of Municipal Court Clerks

                                      SUP1tEME COi3FtT OF THE STATE OF GEOTi.(XIA
                                                C:lerk's C)ffice. AtJanta

                                           [ oertify that tl►e above is a true extract Crom
                                      the minutes ofthe Supreme Courtot'Georgia.
                                           Witness my signature and the seal of said court
                                      hereto affiYed the day and year last above .vritten.

                                                                               C1e2:k


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             SLTPREME • ' OF GEORG                           FILED
                                                       Administrative Minutes
                                                      December 23, 2020
                                                        Thdrese S. Barnes
                                                      Cierk/Court Executive
                                                       ~E COU~T OF GEORGIA
                                                   UPR~M


               ORDER MODIFYING NINTH OR.DER
                 EXTENDING DECLARATION OF
               STATE'VtTIDE JUDICIAL EMERGENCY

      On March 14, 2020, in response to the COVID-19 pan.demic, the
Honorable Harold D. Melton, as the Chief Justice of the Supreme Court of
Georgia, issued an Order Declaring Statewide Judicial Emergency
pursuant to OCGA § 38-3-61. That Order has been extended nine tim.es,
with modi.fications, by orders issued on Apri1. 6, May 11, June 12, July 10,
Augu.st 11, Septexn.ber 10, October 10, November 9, and December 9, 2020.
After consulting with the Judicial Council of Georgia and other judicial
partners, recognizi.ng agai_n that mst in-court proceedings compel the
attendance of various i.n.dividuals rather than allowin.g them to decide
how best to protect their own health and that jury trials require the
participation of the most individuals, and further recogni.zing that the
novel coronavirus continues to spread dangerously in Georgia, i.t is
determined that tb.e Ninth extensi.on order is hereby modified to amend
Section I(B), related to jury trials, as foIlows:

      In respox3.se to the recent rapid escalation of COVID-19 cases, and
to protect the health and safety of the public and court personnel while
continuing to allow access to essential judicial functions, all jury trials
not already in progress, includin.g in-person proceedin.gs to select jurors,
are prohibited; this suspension of in-person jury trial proceedings is
anticipated to continue u.ntil at least February. Jury trials in pxogress
as of the date of this order may conti.nue to conclusion at the dlscretion
of the assigned ,judge. This order also does not preclude the i.ssuance of
juror summonses.

     AIl courts are agai.n urged to use technology when practicable and
lawful to conduct remote judicial proceedings as a safer alternative to in-
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person proceedings. Where xemote proceedixzgs are not practicable or
Iawful, courts are reminded that in-person proceedings must be
conducted in full compliance with pub.li.c health guidance and the other
requi.rements set forth i.n the Ninth egtension ordex and in light of locai
conditions.

     IT YS SO ORDERED this 23rd cl.ay of December, 2020, e£fective at
11:59 p.m. this day.




                                      Chief Justi.ce Harold D. Melton
                                        Supreme Court of Georgia




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               SUPREME COIJRT OF GEORGIA
        d~
        r
                                                   December 9, 2020


             NINTH ORDER EXTENDING DECLARATION
              OF STATEWIDE JUDICIAL EMERGENCY

      On March 14, 2020, in response to the COVID-19 pandemic, the
Honorable Harold D. Melton, as the Chief Justice of the Suprenae Court of
Georgia, issued an Order Declaring Statewide Judzcial Emergency
pursuant to OCGA § 38-3-61. That Order has been extended eight times,
with modiffications, by orders issued on Apri16, May 1.1, June 12, July 10,
August 11, September 10, October 10, and November 9, 2020. After
consulting wi.th the Judicial Council of Georgia and other judicial
partners, recognizing again that most in-court proceedings compel the
attendance of various individuais rather than allowi.ng them to decide
how best to protect their own health, and further recognizing that the
novel coronavirus continues to spread in Georgia, it is hereby determined
that the Order should be extendedagain.

      Cowcts in Georgia have continued to perform essential functions
despite the pandemi.c. Courts have also greatly expanded the use of
remote proceedings and have resumed li.mited in-person proceedings that
can be conducted safely. In an effort to return to more robust court
operations, many of the deadl.ines imposed by law on litigants in civil and
criminal cases that had been suspended, tolled, or extended since the
initial March 14 Order were reimposed as of July 14, allowing more
pending and newly fiIed cases to move forward i.n the judicial process.
The Septembex 10 order authorized the Chief Judge of each superior
court, in his or her discretion -after consultation with the Distra.ct
Attorney, to resume grand jury proceedings if doing so can be done safely
and i.n compli.ance with public health guidance based on local conditions.
A number of courts have utilized this authority, and man.y more are
expected to do so goingforward.

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       The October 10 extension order recognized that the blanket
prohibition of jury trials, which require the assembly of larger numbers of
people, could not conti.nue, even though the pandemic continues, because
our judicial system, and the criminal justice system in particular, must
have some capacity to resolve cases by trial, and our trial courts have
accum.ulated many cases that are awaiting trial. The September 10 order
directed the Chief Judge of each superior court to conven.e for each county
in his or her cixcui.t a local comrn.ittee of judicial syatem participants to
develop detailed gui.delines for the safe resumption of jury trials in the
county, utilizi.ng the "Guidance for Resuming Jury Trials" i.ncluded i.n the
Appendix to this order. The October 10 order authorized the Chief Judge
of each trial court, in his or her discreti.on, to resume the jury trial process
if local conditions allow and the Chief Judge, in collaboration with the local
committee, has developed and issued a final jury trial plan. ,A. number of
courts have already issued their plans to safely resume jury trials, and
many more are in the process of developing those plans with their local
committees.

       It should be recognized that grand jury hearings and jury trials will
not actually start untiX a month or longer after the process for resumung
them begins i.n a particular county or court, due to the time required to
summ.on potential jurors for service. It also should be recognized that
there are substantial backlogs of unindicted and untried cases, and due
to ongoing public health precautions, these proceedin.gs will not occur at
the scale or with the speed they occurred before the pandemic. Thus,
while our justice system must resume moving cases to indictment and
trial as rapidly as can be done safely, statutory deadlines based on
indictments and jury trials will remain suspended and tolled. As
grand jury proceedings resume, however, the deadlines in OCG.A. §§ ll7-
7-50 and 17-7-50.1 for presenting cases involving detained defendants to
a grand jury may be reimposed. This wiIl be done with at least 30 days
pri.or notice, but where grand jury proceedings are occurring, district
attorneys should already be prioritizing these cases to reduce backlogs.

    As noted in prior orders, each court's plans for conducting
jury trrials, grand jury proceedings, and other inperson
proceedings may need to be revv.ised — and proceedings delayed,

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canceled, or done remotely — based on changing local
circumstances. Recent public health reports indica.te that
COVID-19 conditions a.re worsening drama.tieally i.n many parts
of the State. While this order does not impose a blanket shutdown
of non-essential in- person court proceedings, courts should
remain vigilant of changing COV'ID-19 conditions and be
prepared to suspend jury tri.als as necessary and to reconsider
grand jury proceedings as well. All courts are again urged to
utilize technology to conduct proceedings remotely to the fullest
extent practicable and lawful. For all remaining in person
proceedings, courts must conduct the proceedings in compliance
with public health guidance and should manage ease calendars
so as to rni.nimize the number of participants gathering both in
the courtroom and in eommon areas outside of courtrooms.

       As has been the direction since the original Order, aIl Georgia courts
must continue to conduct proceedings, remotely or in-person, in
compliance wi.th public health guida.nce, applicable statutes and court
ruJ.es, and the requirements of the United States and Georgia
Constitutions, including the public's right of access to judi.cial proceedi.ngs
and a criminal defendant's rights to confrontation and an open courtroom.
All courts should continue to use and increase the use of technology to
conduct renaote judicial proceedings as a safer alternative to in-person
proceedi_n.gs, unless requixed by law to be i.n person or unless it is not
practicable for technical or other reasons for persons participating in the
proceeding to participate remotely. This order again delineates the health
precautions required for all in-person judicial proceedings and requires
courts to adopt and maintain operating guidelines consistent with the
Georgia Court Reopening Guide and any more specific local public health
guid.ance.

      Accordin.gly, the Order Declaring Statewide Judicial Emergency,
whi.ch would have expixed on Wednesday, December 9, 2020, at 11:59 p.m.,
                                                                      All
is further extended until Firiday, January S, 2021, at 11:59 p.m.
Georgia courts shall continue to operate under the restrictions set forth
                                                                     are
in that Order as extended; the provisions of this order below
identical to the November 9 extension order. Wb.ere this order
refers to "public health guidance," courts should consider the most
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specific current guidance provided by the federal Centers for Disease
Control and Preven.tion (CDC), the Georgia Department ofPublic Health
(DPH), and theioc local health departments.
I.    Grand Jury Proceedings and JuryTrials

      (A) Grand Jury ProceedingsAuthorized

            (1) The Chief Judge of each superior court, in his or her
discretion after consulting wi.th the District Attorney, may resume grand
jury proceedz.ngs inperson or remotely (where consistent withlaw), if doing
so can.be done safely and in compliance wi.th public health gui.dance based
on local conditions. When a Chief Judge exercises this authority, he or she
must provide sufficient notice to the appropriate clerk of court or court
administrator to allow the process of summoning potential jurors, and
potential jurors should be informedin advance about the practices that the
court wi.11 use to ensure their safety. Guidance for safely conducting in-
person grand jury proceedings, based on recora.mendations from the
Judicial COVID-19 Task Force, and gu.idance on conducting remote grand
jury proceedings are included ua the Appendix to this order.

           (2) Courts and counsel are reminded that many cz^iminal
cases may proceed on accusation and do not require a gxand jury
inc]ictment.

(B) Jury Trials Authorized; Local Committees to Develop
    County Jury Trial Guidelines

            (1) As directed in the September 10 egtension order, every
county should have in place a local committee of judicial system
participants, convened by the Ch-ief Judge of the county's superior court,
which is charged with developing a plan for safely resuming jury trials in
                                                                        on
the county as further descri.bed in the "Guidance for Local Comxnittees
Resuming Jury Trials" included in the Appendix to this order. The local
committees should utilize the "Gui.dance for Resuming Jury Trials" also
i_n.cluded in the Appendix in developing their plans, which must be
submitted to the Administrative Office of the Courts (AOC) as soon as
possible and before the jury tra.al processbegin.s.
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             (2) The blanket suspension of jury trials that had
been in place since the March 14 Order was ended ef€ective
October 10, 2020. The Chief Judge of each trial court is authorized, in
his or her discretion, to summon new trial jurors and to resume jury trials,
if that can be done safely and in accordance with afinal jury tri.al plan
develope d in collaboration with the local committee and incorporated into
the court's written operating guicd.elines for in-person proceedings
discussed in Section IV beiow. As with grand jury proceedings, when a
Chief Judge exercises thi,s authority, he or she must provide suff'icient
noti.ce to the appropriate clerk of court or court administrator to allow the
process of sum.moning potenti.al jurors, and potenti.al jurors should be
informed in advance about the practices that the court will use to ensure
their safety.

      (C) Because there are substantial backlogs of unindicted and
untried cases and because grand jury proceedings and jury trials even
when resumed will not occur at the scale or with the speed as before the
pandemic, deadlines calculated by reference to the date of grand jury
proceeclings or jury trials, including but not limi.ted to the speedy trial
deadlines in OCGA §§ 17-7-1.70 and 17-7-1.71 and the deadlines for
indicting detained i.ndividuals in OCGA §§ 17-7-50 and 17-7-50.1, will
remain suspended and tolled as discussed in Section II (A) (1)below.


II.     Reimposition of Deadlines on Litigarits

      (A) The July 10 extension order reim.posed all deadlines and other
time schedules and filing requirements (referred to collectively herein as
"deadlines") that are imposed on litigants by statutes, rules, regulations,
or court orders in cival and criminal cases and administrative actions and
that had been suspended, tolled, extended, or otherwise relieved by the
March 1.4, 2020 Order Declaring Statewide Judicial Emergency, as
extended, onthe following schedule and wi.th the following exceptions and
conditions:

             (1)   Consistent with Section I above, deadlines for jury

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trial proceedings (includi.ng statutory speedy trial demands),
deadlines for grand jury proceedings, and deadlines calculated
by reference to the date of a civil or crinninal jury trial or grand
jury proceeding shall remain suspended and tolled. This provision
does not apply to deadlines calculated by reference to th.e date of non-.
jury (bench) trials. Statutes of li.mitation in crixni_n.al cases shall also
remain tolled until furtherorder.
          (2) All other deadlines imposed on litigants were
reirnposed effective July 14, 2020, as f-urther explainedbelow.

           (3) In cases that were pending before the March 14 Order,
litigants were provided the same amount of tune to fil.e or act after July
14 that they had as of March 14.
           (4) In cases fil.ed between March 14 and July ].3, 2020, the
time for deadli.nes began to run on July14.
          (5) In cases fiIed on or after July 14, 2020, lita.gants must
comply with the normal deadli.nes applicable to the case.

            (6) If the reimposed deadline falls on a weekend
or legal holiday, the deadline will as normal be the next busi.ness day.
See OCGA § 1-3-1 (d) (3).

            (7) Any extension of time for a liti.gant's f'iling or action that
was granted by a court, or was agreed or consented to by the litigants as
authorized by law, before July 14, 2020, also extended the time for that
filing or action after July14.

            (8) Liti.gants may be entitled to additional ti_m.e based on the
provisions of a local judicial emergency order applicable to their case if
such an order toll.ed applicable deadlines before the March 14, 2020 Order
Declaring Statewide Judicial Emergency or tolls applicable deadlines
after July 14, 2020.
            (9) The tolling and suspension of deadlines imposed on
litigants in ciVil and criminal cases that are calculated by reference to

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terms of court were lifted as of July 14, 2020, and any regular term of
 court beginn;ng onor after July 14 counts toward such deadlines. See also
 the 1VIay 4, 2020 "Guidan.ce on Deadli.nes and Time Limits Defned by
 Reference to Terms of Court" included i.nthe Appendix.

           (10) The 122 days between March 14 and July 14, 2020, or
any portion of that period i_n which a statute of limitation would have run,
shall be excluded from the calculation of that statute of limitation.

           (11) Liti.gants may apply in the normal way for extensions of
rei.mposed deadlines for good cause shown, and courts should be generous
in granting extensi.ons particularly when based upon health concerns,
economic hardship, or lack of childcare.

     (B) Recognizzng the substantial backlog of pending cases,
deadiines imposed on courts shall remain suspended and toIled. AlI courts
should nevertheless work diligently to clear the backlog and to comp].y
with usual deadlines and timetables to the extent safe and practicable.

      (C) If before July 14 a court relmposed deadlines by order in a
specific case based on the authority to do so granted by prior extension
orders, the case-specific order reimposing deadlines shall control over the
deadlines for the same-filings or actions reimposed by this statewide order.

      (D) If in a divorce or adoption case a time period required by law
actually passed or passes before the court entered or enters a consent
order, consent judgment, or consent decree regarding the divorce or
adoption, such order, judgment, or decree shall n.ot be invalid based on
any suspension or tolling of the appli.cable period by the March 14 Qrder
as extended.


111. Proceedings Conducted Remotely Using Technology

      (A) All courts should continue to use and increase the use of
technology to conduct remote judi.cial proceedings as a safer alternative to
in-person proceedirigs, unless required by law to be in person or unless it
is not practicable for technical or other reasons for persons participatuzg
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in the proceeding to participate remotely.

     (S) Courts should understand and utilize the authority provvided
and clarified by the emergency amendments made to court rules on vi.deo
conferences and teleconferences.

     (C) Courts may compel the participation of litigants, l.awyers,
witnesses, and other essenti.al personnel in remote jud.icial proceedings,
where a17.owed by court rules (includ.ing emergency amendments thereto).
Such proceedings, however, must be consistent with public. health
guidance, must not impose undue burdens on participants, and must not
be prohibited by the requirements of the United States or Georgi.a
Constitutions or applicable statutes or courtrules.

      (D) In civil, crinainal, juvenile, ancd adm.i_n.i.strative proceedings,
litigants may expressly consent in the record to remote proceedings not
otherwise authorized ancd affirmatively waive otherwise appli.cabl.e legal
requirements.

      (E) Courts must ensure the public's right of access to judicial
proceedings and i.n alI crim.i.nal cases, unless affirmatively waived i.n the
record, a criminal defendant's rights to confrontation and an open
courtroom.


IV.      In-Person Proceedings Under Guxdel.ines for Safe
         Operations

    (A) Courts have discretion to conduct in-person judieial
proceedings, but only in compliance with public health guidance
and with the requirements of the United States and Georgia
Constitutions and applicable statutes and court rules, including the
public's right of access to judici.al proceedi.ngs and a criminal defendant's
rights to confrontation and an open courtroom.

     (B) No court may compel the attendance of any person for
a court proeeeding if the court proceeding or the court facili.ty i.n
which it is to be held xs not in compliance with this order,
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includin.g in particular large calendar calls. Courts are also prohibited
from compelling in-person participation in any court-im.posed
alternative dispute resolution session that is to be conducted in
a manner inconsistent with applicable publ.ic healthguidelines.

      (C) Each court shall develop and implement operating
guitdeli.nes as to how in-court proceedings generally and particulartypes
of proceedi.ngs, inciuding grand jury proceedi.ngs and jury trials, will be
conducted to protect the health of litigants, lawyers, jurors, judges, court
personnel, and the public.

            (1) The Judicial Council Strategic Planning Committee and
the Judicial COVID-19 Task Force have issued a bench card entitled
"Georgia Court Reopening Guide," vcrhich is included in the Appendi.x and
should be used as the template for such operating guidelines, which at a
minimum should include all subject matters contained therein. Courts
should also consider guidance from local health departments and guidance
provided by CDC and DPH; if local public health guidance is more
restrictive than the bench card, the local public health gui.dance should be
followedinstead.

           (2) With regard to everyone who works i.n a court facility, the
operating gu.idelines shall reequire isolation of any person with knownor
suspected COVID-19 and quarantine of any person with COVID-19
exposure likely to result in i.nfection, in accordance with the DPH Ninth
Amendecd. Admi.nistrative Order for Publi.c Health Control Measures, a
link to which may be found in. the Appendix, or any subsequent version
thereof.

             (3) Wh.en there is reason to believe that anyone who works
at or has visited a court faci.lity has been exposed to COVID-1.9, DPId or
the l.ocal health department shall be notif'ied, and notification of persons
who may have been exposed shall occur as directed by DPH or the local
heal.thdepartment.

     (D) Courts of different classes that share courthouse facilities or
operate in the same county should coordinate their operating gui.delines,
and should seek to coord.inate operating guidelines with non-jud.icial
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entities sharing courthouse faciliti.es.

      (E) Each court must subxnit its operating guxdelines to the AOC at
https•//georgiacourts gov/covid-l9-court-operati.ng-guidelines-form to be
posted at https-//georgiacourts.gov/covid-].9-court-operating-gui,delines/
as a centralized website available to litigants, lawyers, and the publi.c.
Operating gui.delines also should be prominently posted at courthouse
entrances and on court and local government websites to provide advance
notice to litigants, lawyers, and the public.

     (F) Operating guidelines shall be modifi.ed as publi.c health
guidance is modified, and shall remain in effect untal public health
guidance indicates that they are no longerrequired.


V.    Discretion of Chief Judges to Declare More Restrictive
      Local JudicialEmergencies
      (A) Nothing in the Order Declaring Statewide Judicial Emergency
as extended and modified limits the authority of the Chief Judge of a
superior court judici.al circuit under OCGA §§ 38-3-61 and 38-3-62 to add
to the restrictions imposed by the statewide jucli.cial emergency, if such
additional restrictions are constitutional, necessitated by local conditions,
and to the extent possible ensure that courthouses or properly designated
alternative faciliti.es remai.n accessible to carry out essential judicial
functions. A Chief Judge may unpose such additional restrictions only by
a properly entered order.

      (B) No court may disregard the restrictions imposed by the Order
as extended andmodifiied.


VI. Guidance on Application of the Order

      Included a.n the Appendix are several guidance documents that
clarify the application of the order in particular contexts. Additional
guidance documents may be posted on the AOC's website at
https://aeorgiacourts.gov/judicial-council/aoc/. Guidance related to the
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toIling of deadlines should be read in li.ght of the reimposition of dead3ines
by thi.s order and by orders in specific cases.


 VII.    Professionalism

      With regard to all matters in this challenging time, all lawyers are
reminded of their obligations of professionalism, including the obligation
to engage in discovery in good faith and in a safe manner. Judges are also
reminded of thei.r obl7.gation to dispose of all judicial matters promptly and
efficiently, including by insisting that court offici.als, litigants, and their
lawyers cooperate with the court to achieve that end, although this
obligation must not take precedence over the obli.gat-ion to d.ispose o£
matters faa.rly an.d with patience, which requ.ires sensitivity to health and
other concerns raised by court officials, litigants and thei.r lawyers,
witnesses, and others.


VTII.    Noti.ce Provisions

     (A) Notice will be provided as to the expected terxni.nation of the
Order as extended and modifi.ed at least one week in advance to allow
courts to plan for the transition to fiiller operations.

      (S) The clerks and court administrators of trial courts that
conduct jury trials and convene grand juries will be provided sufficient
notice of the resumption of jury proceedings to aIlow the complicated
process of summoning potential jurors to be completed.

      (C) The impact of COVID-J.9 varies across the state, and the level
of response and adjustment will likewise vary among courts. Courts
should make available to the public the steps they are taking to safely
increase operations while responding to the COVID-19 pandemic.
Recogni.zing that not all eourts have a social media presence or website,
the AOC wi]1 continue to post court-specific i,nformation as it beeomes
avai3able on the AOC website at https•//georgiacourts.gov/covid-l9-
preparedness.
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      (D) Pursuant to OCGA § 38-3-63, notice and service of a copy of
this order shaTl immediately be sent to the judges and clerks of all courts
in tbis State and to the clerk of the Court of Appeals of Georgia, such
service to be accomplished through means to assure expecliti.ous receipt,
which include electronic means. Notice shall also be sent to the media, the
State Bar of Georgia, and the officials and entities listed below and shall
constitute sufficient notice of the issuance of this order to the affected
litigants, counsel for the affected litigants, and the public.

     IT IS SO OR.DERED this 9th day of December, 2020, and effective
at 11:59 p.m.




                                         Chief Justice Harold D. Melton
                                           Supreme Court of Georgia




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                                APPENDIX

      Guidance on Tollin.g of Filixxg Deadli.nes (March 27, 2020)

    Guidance on Tolling of Statutes of Limitation (April C, 2020)


  Guidance on Deadlines and Time Limits Defined by Reference to_
                 Terms of Court (May 4. 2020)

              Gui.dance on Grand Juries Mgy 4, 2020)


         Further Gui(iance on Grand Juri.es (May 11, 2020)


           Georgia Court Reopening Guide (June 1]., 2020)


DPH Ni.nth Amended Administrative Order for Public Health Control
                 Measures fNovember 7 . 2020)

Guidance for Resuming In-Person Grand Jury Proceedings (September
'                           10 2020
      _Guidance for Local Committees on Resuming Jury Trials
                        (September 10, 2020)

      Guidance for Resuming Jury Trials (September 21, 2020)


   Guidance for Remote Grand JM Proceedin s October 26 2020




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Governor Brian P. Kemp
Lt. Governor Geoff Duncan
Speaker David Ralston
State Bar of Georgia
Administrative Offi.ce of the Courts
Juclicial Council of Georgia
Council of Superior Court Clerks of Georgia
Department of Juvenile Justice
Crimi.nal Justice Coordinating Council
Council of Accountabilitq Court Judges
Georgia Commi.ssion on Dispute RResolution
Tnstitute of Continuing Juclicial Education of Georgi.a
Georgia Council of Court Administrators
Chief Justice's Commission on Professionalism
JudicialQualifications Commission
Association County Commissioners of Georgia
Georgia Munica.pal Association
Georgi.a Sheriffs' Association
Georgia Association of Chiefs of Police Georgia
Public Defender Council
Prosecuting Attorneys' Council of Georgia
Department of CGrrecti.ons
Department of Community Supervision
Georgia Court Reporters Association
Board of Court Reporting
State Board of Pa.rdons and Paroles
Constitutional O£f'i.cers Association of Georgia
Council of 1Vlagistrate Court Clerks
Council of Municipal Court Clerks

                                        SUPRIIVM COUB`i' Oli' THE ST.A.TE OF GEOSGIA
                                                  C[er12a Office, Atlanta

                                            I certffy that the above is a true extraot from the
                                        minutea o£the Supreme CourtofGeorgia.
                                             Witness my signattue aIId the seal o£said court
                                        hereto affixed the day and year laet above written.

                                                                                            Clerk


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                                                    1          FIEED
                                                         Administrative Minutes
                                                         Januam S, 2021
                                                          Therese S. Barnes
                                                        Cterk/Court Executive
                                                         ~.E CO ,,sIJITOF-GEORGIA
                                                    SUPRUM


            TENTH ORDER EXTENDING DECLARATIC
             OF STATEOPIDE JUDICIAL EMERGENCY

      On March 14, 2020, in response to the COVID-19 pandemic, the
Honorable Harold D. Melton, as the Chief Justice of the Supreme Court of
Georgia, issued an Order Declaring Statewide Judicial Emergency
pursuant to O CGA § 38-3-61. That Order has been extended nine times, with
modi.fications, by orders issued onApri16,1VIay 11, June 12, July 10, August
11, September 10, October 10, November 9, and December 9, 2020 (with
Section I(B) relating to conducting 3ury tri.als modified on December 23,
2020). .After consulti.ng wi.th the Judicial Counci.l of Georg.ia and other
judicial partners, recognizfng again that most in-court proceedings compel
the attendance of various i.ndividuals rather than allowing them to decide
how best to protect their own health, and further recognizing that the novel
coronavi.rus continues to spread in. Georgia, it is hereby determined that
the Order should be extended again.

      Courts in Georgia have continued to perform essential functions
                                                                    remote
despite the pandemic. Courts have also greatly expanded the use of
proceedings and have resumed limited in-person proceeclings that can be
conducted safely. In an efEort to return to more robust court operations,
many of the deadlines unposed by law on li.tigants in ci.vil and criminal
cases that had been suspended, tolled, or extended since the uaitial March
                                                                     newly
3.4 Order were rei_m.posed as of July 1.4, aIlowing more pending and
fzled cases to move forward in the judicial process. The September 10 order
authorized the Chief Judge of each superior court, in his or her discretion
                                                                        jury
after consultation with the District At-torney, to resume grand
proceedings if doi.ng so can be done safely and in compliance with public
health guidance based on local conclitions. A number of courts have uti.lized
this authority, and many more are expected to do so goingforward.
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        The October IO extension order recognized that the blanket
prohibition of jury trials, which require the assembly of larger numbers of
people, could not continue, even though the pandemic continues, because
our judicial system, and the crimi.nal justice system in particul.ar, must
have some capacity to resolve cases by tri.al, and our trial courts have
accumulated many cases that are awaiting trial. The September IO order
directed the Cbief Judge of each superior court to convene for each county
in his or her circuit a local committee of judicial system participants to
develop detailed guidelines for the safe resumption of jury trials in the
county, utilizing the "Guidance £or Resuming Jury Trials" included in the
Appendix to this order. The October 10 order authorized the Chief Judge
of each trial court, in his or her cliscretion, to resume the jury trial process
i.f local conditioxa.s allow and the Chief Judge, in collaboration with the local
committee, has developed and issued a final jury trial plan. A number of
courts have already issued their plans to safely resume jury trials, and
many more are in the process of developing those plans with their local
commYttees.

     Because of the escalating danger presentecl by the significant increase
in COVID-19 cases late in 2020, however, the December 9 order was
modih.ed on December 23 to prohibit jury trials not already in progress. That
prohibition is continued in this order, as specified in Section I(B) below. As
stated in the modified order, all courts are agaitn urged to use
technology, when practicable and lawful, to conduct remote
judiciai proceedi.ngs as a safer alternative to inperson
proceedings. M7b.ere remote proceedings are not practicable or
lawful, courts are reminded that in person proceedings must be
conducted in fu11 compliance with publie health guidance and the
other requirements set forth in this order and in. ].ight of local
conditions. In particular, courts should manage case calendars to
minimize the number of participants gathering both in the
courtroorn and in common areas outside of courtrooms.

     It should be recognized that grand jury hearings and jury trials will
not actuaIly start until a month or longer after the process for resuming
them begins in a particular county or court, due to the time required to
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summon potential jurors for service. It also should be recognized that there
are substantial backlogs of unindicted and untried cases, and. due to
ongoing publi.c health precautions, these proceedings will not occur at the
scale or with the speed they occurred before the pandemic. Thus, while our
justice system must resume moving cases to indictment and trial as rapidly
as can be done safely, statutory deadines based on indictments and
jury trials will remain suspended and tolled. As grancd jury
proceedings resume, however, the deadlines in OCGA §§ 17- 7-50 and 17-
7-50.1 for presenting cases involving detained defendants to a grand jury
may be reimposed. This will be done with at least 80 days prior notice, but
where grand jury proceedings are occurr.ing, district attorneys should
already be prioritizing these cases to reduce backlogs.

     As has been the direction since the original Order, all. Georgia courts
must continue to conduct proceedings, remotely or in-person, in compliance
with public health guidance, applicable statutes and court rules, and the
requirements of the U'nited States and Georgia Constitutions, including the
public's right of access to judicial proceedings and a crimi.nal defendant's
rights to confrontation and an open courtroom. AIl courts should continue
to use and increase the use of technology to conduct remote judicial
proceedings as a safer alternative to in-person proceedings, unless required
by law to be in person or unless it is not practicable for technical or other
reasons for persons participating in the proceeding to participate remotely.
This order agai.n delineates the health precautions required for all in-
person judicial proceedings and requires courts to adopt and maintaxn
operati.ng guidelines consistent with the Georgia Court Reopening Guide
and any more specific local public health gaidance.

     Accordin.gly, the Order Declaring Statewide Judicial Emergency,
which would have expired on Friday, January 8, 2021., at 1.1.:59 p.m., is
further extended until Sunday,February7, 2021, at 11:59 p.m. All Georgia
courts shall con.tinue to operate under the restri.ctions set forth in that
Order as extended; the provfsions of this order below are identical
                                                                         to
to the December 9 egtension order except Section I(B) relating
jury trials. Where this order refers to "public health guidance," courts
should consider the most specif'ic current guidance provided by the federal
Centers for Disease Control and Prevention (CDC), the Georgxa
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Department of Public Health (DPH), and their local health departments.


I.   Grand Jury Proceedings and JuryTrials

     (A) Grand Jury ProceedingsAuthorized

            (1.) The Chief Judge of each superior court, in his or her
discretion after consulting with the District Attorney, may resume grand
jury proceedings in person or remotely (where consistent with law), if doing
so can be done safely and in compliance wi.th public health guida.nce based
on local conditions. When a Chief Judge exercises this authority, he or she
must provide sufficient notice to the appropriate clerk of court or court
administrator to allow the process of summoning potential jurors, and
potential jurors should be informed in advance about the practices that the
court will use to ensure their safety. Guidance for safely conducting in-
person grand jury proceedings, based on recommendations from the
Judicial CO'VTD-19 Task Force, and guidance on conducting remote grand
jury proceedings are included in the Appendix to this order.

           (2) Courts and counsel are remi.nded that many crizninal
cases may proceed on accusation and do not require a grand jury
indictxuent.

      (B) Jury Trials Prohibited; Local Committees to
          Develop County Jury TrialGuideli.nes

            (1) In response to the recent rapid escalation of COVID-19
cases, and to protect the health and safety of the public and court personnel
while continuing to allow access to essential judicial functions, all jury
trials not already in progress, including in-person proceedings to select
jurors, are prohibited. This order does not preclucde the issuance of }uror
surnmonses.

              (2) As directed in the September 10 extension order, before
jury t.rial.s resume, evexy county should have in place a Iocal committee of
judicial system participants, convened by the Chief Judge of the county's
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superior court, whi.ch is charged with developing a pl.an for safely resuming
jury trials in the county as fi.irther descri.bed in the "Guidance for Local
Committees on Resuming Jury Triais" included in the Appendix to thi.s
order. The local committees should utilize the "Guidance for Resuming Jury
Trials" also inclucded:in the Appendix in developing their plans, which must
be submitted to the Administrative Office o£ the Courts (AOC) as soon as
possible and before the jury trial processbegi_ns.

     (C) Because there are substantial backlogs of unindicted and
untried cases and because grand jury proceedings and jury trials even
when resuxned will not occur at the scale or with the speed as before the
pandemic, deadli.nes calculated by reference to the date of grand jury
proceedings or jury tri.als, including but not li.mited to the speedy trial
deadlines in OCGA §§ 17-7=170 and 17-7-171 and the deadlines for
indicting detained individuals in OCGA §§ 17-7-50 an.d 17-7-50.1, will
remain suspended and tolled as discussed in Section 11(A) (1) below.


11.   Reimposition of Deadli.nes on Litigants

     (A) The July 10 extension order reimposed all deadlines and other
time schedules and filing requi.rements (referred to collectively herein as
"deadlines") that are imposed on litigants by statutes, rules, regulatxons,
or court orders in civil and criminal cases and administrative acti.ons and
that had been suspended, tolled, extended, or otherwise relieved by the
March 14, 2020 Order- Declaring Statewide Judicial Ena.ergency, as
extended, on the followi.ng schedule and with the followi.ng exceptions and
conditions:

          (1) Consistent with Section I above, deadlines for jury
trial proceedings (including statutory speedy trial demands),
deadlines for grand jury proceedings, and deadlines calculated by
reference to the date of a civil or criminal jury tri.al or grand jury
proceeding shall remain suspended and tolled. This provision does
not apply to deadlines calculated by reference to the date of non- jury
(bench) trials. Statutes of li.mitati.on in criminal cases shall also remain
tolled until furtherorder.
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         (2) All other deadlines imposed on litigants were
reimposed effective July 14, 2020, as further explai.nedbelow.
             (3) In cases that were pending before the March 14 Order,
li.tigants wexe provided the same amount of tune to file or act after July 14
that they had as of March 14.

            (4) In cases fil.ed between March 14 and July 13,
2020, the time for deadli.nes began to run on July14.
          (5) In cases filed on or after July 14, 2020, litigants must
comply with the normal deadlines appli.cable to the case.

            (6) If     the reimposed deadline falls on a weekend
or legal holiday, the deadline will as norm.al be the next business day. See
OCGA § 1-3-1 (d) (3).

             (7) Any extension of time for a litigant's fil.ing or actzon that
was granted by a court, or was agreed or consented to by the litigants as
authorized by law, before July ].4, 2020, also extended the time for that
filing or action after July 14.

           (S) Litigants may be entitled to additional tune based on the
provisions of a local judi.cial emergency order applicable to their case if
such an order tolled appli.cable deadlines before the March 14, 2020 Order
Declaring Statewide Judicial Emergency or tolls applicable deadlines after
July 14, 2020.

            (9) The tolling and suspension of deadlines imposed on
litigants in civa.l and criuninal cases that are calculated by reference to
terJns of court were lifted as of July 14, 2020, and any regular term of
court beginning on or after July 14 counts toward such deadlines. See also
the May 4, 2020 "Guidance on Deadlines and Ti.me Limits Defined by
Reference to Terms of Court" i.ncluded i.nthe Appendix.
            (10) fihe 122 clays between N.[arch 14 and July 14, 2020, or
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any portion of that period-i.n which a statute of limitation would have run,
shall be excluded from the calculation of that statute of limitation.

          (11) Li.tigants may apply in the normal way for extensions of
reimposed deadlines for good cause shown, and courts should be generous
in granting extensions particularly when based upon health concerns,
economic hardsbip, or lack of childcare.

     (S) Recognizing the substantial backl.og of pending cases, deadli.nes
imposed on courts sliall remain suspended and tolled. All courts should
nevertheless work diLi.gently to clear the backl.og and to comply with usual
deadlines and tiF.m.etables to the extent safe andpracticable.

      (C) If before July 14 a court reimposed deadlines by order i-n a
specifi.c case based on the authority to do so granted by priox extension
orders, the case-specific order reimposing deadlines shall control over the
deadlines for the same ~.i.ngs or actions reimposed by this statewide order.

     (D) If in a divorce or adoption case a time period requi.red by law
actually passed or passes before the court entered or enters a consent
order, consent judgment, or consent decree regarding the divorce or
adoption, such order, judgment, or decree shall not be invalid based on any
suspension or tolling of the appli.cable period by the March 14 Order as
extended.


III. Proceedi.ngs Conducted Remoteiy Usi.ng Technology

      (A) ,A11 courts should conti.nue to use and increase the use of
technology to conduct remote judiei.al proceedings as a safer alternative to
i.n-person proceedings, unless required by law to be in person or unless it
is not practicable for techni.cal or other reasons for persons participating
in the proceeding to pa.rtici.pate remotely.

     (B) Courts should understand and utilize the authority provided
and clarified by the emergency amendments made to court rules on video
conferences and teleconferences.
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      (C) Courts may compel the participation of litigants, lawyers,
wi.tnesses, and other essential personnel in remote judicial proceedi.n.gs,
where allowed by court rules (including emergency amendments thereto).
Such proceed.ings, however, must be consistent with publi.c health
guidance, must not impose undue burdens on participants, and must not
be prohibited by the requiremen.ts of the United States or Georgia
Constitutions or applicable statutes or courtrules.

      (D) In civil, criminal, juvenile, and administrative proceedin.gs,
litigants may expressly consent in the record to remote proceedings not
otherwise authorized and aff€rmatively waive otherwise applicable legal
requirements.

      (E) Courts must ensure the public's right of access to judicial
proceedi.ngs and in all criminal cases, unless affirmatively waived in tlie
record, a criminal defendant's rights to confrontation and an open
courtroom..


IV. In-Person Proceedings Under Guidelines for Safe
    Qperati.ons

      (A) Courts have discretion to conduct in-person judicial
proceedings, but only in compliance with public health guidance
and with the requirements of the United States and Georgia
Constitutions and appli.cable statutes and court rules, including the
publi,c's right of access to judi.cial proceedings and a criminal defendant's
rights to confrontation and an open courtroom.

      (B) No court may compel the attendanee of any person for a
court proceeding if the court proceeding or the court facility in
whi.ch it is to be held is not in compliance with this order,
i.ncluding in particular large calendar calls. Courts are al.so prohibited
from compeIIing in-person participation in any court-imposed
alternative dispute resolution session that is to be conducted in a
manner inconaistent with applicable public healthguidelines.
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     {C) Each court shall develop and implement operating
+guidelines as to how in-court proceedin.gs generally and parti.culartypes
of proceedings, including grand jury proceedings and jury trials, wi31 be
conducted to protect the health of litigants, lawyers, jurors, judges, court
personnel, and the public.

             (1) The Judici.al Council Strategi.c Pianning Committee and
the Judicial COV.ID-19 Task Force have i.ssued a bench card enti.tled
"Georgia Court Reopening Guide," which is included in the Appendix and
should be used as the template for such operating guidelines, which at a
minimum should include all subject matters contained therein. Courts
should also consider guidance from local health departments and guidance
provided by CDC and DPH; if local public health guidance is more
restricti.ve than the bench card, the local public health gua.dance should be
followedinstead.

           (2) With regard to everyone who works in a court facility, the
operating guidelines shaIl require isolation of any person with known or
suspected COVID-19 and quarantine of any person with COVID-19
exposure Iikely to result in infection, in accordance with the DPH Tenth
Amended Administrative Order €or Public Health Control Measures, a link
to which may be €ound in the Appendix, or any subsequent version thereof.

            (3) When there is reason to believe that anyone who works at
or has visited a court facility has been exposed to COVID-19, DPH or the
local health department shail be notihed, and notification of persons who
may have been exposed shall occur as directed by DPH or the local health
department.

       (D) Courts of different classes that share courthouse facili.ties or
operate in the same county should coordinate theiar operating guidelines,
and should seek to cooxdinate operating guidelines w.ith non-judicial
enti.ties sharing courthouse faciliti.es,
       (E) Each court must submit i.ts operating guidelines to the AOC at
https•//aeoraiacourts izov/covicl-l9-court-operatige;-au.idelines-form to be
posted at https•//aeorgiacourts aov/covvid-l9-court-operatina-auidelines/ as
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a central.i.zed website available to li.tigants, lawyers, and the public.
Operati.ng guid.elines also should be promi.nently posted at courthouse
entrances and on court and iocal government websites to provide advance
notice to litigants, lawyers, and the public.

     (_E) Operating guidelines shall be modified as public health
guidance is modif'ied, and shaTl remai.n in effect wztil pub3ic health
guEidance indicates that they are no longerrequired.


V.   Discretion of Chief Judges to Decla.re More Restrictive
     Local JudicialEmergencxes

      (A) Notbing in the Order Declaring Statewide Judicial Emergency
as extended and modif'~ed limi.ts the authori.ty of the Chief Judge of a
superior court judicial circuit under OCGA §§ 38-3-61 and 38-3-62 to add
to the restrictions imposed by the statewide judicial emergency, if such
adcLi.tional restrictions are constitutional, necessitated by local conditions,
and to the extent possi.ble ensure that courthouses or properiy designated
alternative` facilities remain accessible to carry out essential judicial
functions. A Chief Judge may unpose such additional restrictions' oniy by a
properly entered order.

     (B) No court may clisregard the restri.ctions imposed by the Order
as extended andmodified.


VI. Guidance on Application of the Order

      Included in the Appendix are several guidance documents that clarify
the application of the order in particuYar contex.ts. Additionai guidance
documents may be posted on the AOC's website at
httus•//aeorgiacourts gov/iudicial-counciUaoc/. Guidance related to the
tolling of deadlines should be read in li.ght of the reimposition of deadlines
by thi.s order and by orders in specific cases.
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VII.   Professionalism

      Wi.th regard to aIl matters in this challengi.n.g time, all lawyers are
remi.n.ded of their obligations of professionalism, includin.g the obli.gation
to engage i.n discovery in good fai.th and in a safe manner. Judges are also
remi.nded of their obligation to clispose of all judicial matters promptly and
efficiently, including by i.nsisting that court officials, litigants, and thear
lawyers cooperate with the court to achieve that end, although this
obligation must not take precedence over the obligation to dispose of
matters fairly and with patience, which requires sensiti.vity to health and
other concerns raised by court of6cials, ]i.ti.gants and their lawyers,
witnesses, andothers.


VIII. Notice Provisions

     (A) Notice will be provided as to the expected termination of the
Order as extended and modified at least one week in advance to allow
courts to plan for the transition to fuller operations.

      (B) The clerks and court admi.nistrators of trial courts that conduct
jury trials and convene gra.nd juries will be provided sufficient notice of the
resumption of jury proceedi.ngs to allow the compli.cated process of
summoxiing potential jurors to be completed.

      (C) The impact of COVID-19 vari.es across the state, a.nd the levei
of response and adjustment will likewise vary among courts. Courts should
make available to the public the steps they are taking to safely increase
operations while responding to the COVID-19 pandemic. Recogni.zi.ng that
                                                                      will
not all courts have a social media presence or website, the AOC
continue to post court-specific information as it becomes available on the
AOC website at htt sJ/ eor 'acourts. ov/covid-3.9- prevaredness.

      (D) Pursuant to OCGA § 38-3-63, notice and service of a copy of this
order shall immediately be sent to the judges and clerks of all courts in this
                                                                            be
State and to the clerk of the Court of Appeals of Georgia, such service to
accomplished through means to assure expeditious receipt, which include
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electronic means. Notice shall also be sent to the media, the State Bar of
Georgia, and the offi.cials and entities listed beiow and shall constitute
sufficient notice of the i.ssuance of this order to the affected ]itigants,
counsel for the affected litigants, and the public.

      IT IS SO ORDERED this 8th day of January, 2021, and effective at
i.1:50 p.m.



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                                      Chief Justice Harold D. Melton
                                        Supreme Court of Georgia




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                            APPENDIX

     Guidance on ToIli.ng of Filing Deadlines (.Nlarch 27, 2020)

    Gui.dance on Tolli.ng of Statutes of Limitation (Apri16, 2020)


        _G_uidance on Deadlines and Ti_m.e Limits Defined~br
              Reference to Terms of Court (May 4, 2020)

              Guidance on Grand Juries (May 4, 2020).


         Further Guidance on Grand Juries ffigy I.1 2020


          Georgia Court Reopening Guide (June 11, 2020).


DPH Tenth Amended Admini.strative Urder for Publi.c Health Control
                Measuxes (December 4, 2020)


     Gui.dance for Resuming In-Person Grand Jury Proceedina's
                       (September 10, 2020)


      Guidance for Local Comnaittees on Resumina Jury Trials_
                       (SeQtember 10, 2020)


      Guidance for Resumi.ng Jury Trials (Sentember 21, 2020)


  Guidance for R,emote Grand Jury Proceedi.ngs (October 26, 2020)



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Governor Brian P. Kemp
Lt. Governor Geoff Duncan
Speaker David Ralston
State Bar of Georgia
Administrative Office of the Courts
Jv.dicial Council of Georgi.a
Council of Superior Court Clerks of Georgia
Department of Juvenil.e Justice
Crixninal. Justice Coordinating Council
Council of Accountabili.ty Court Judges
Georgia Commission on Dispute Resolution
Institute of Conti.nuing Judicial Education of Georgia
Georgia Councii of Court Administrators
Chief Justice's Commission on Professionalism
Juclicial Qua]ifi.cations Commission
Association County Commissioners of Georgia
Georgia Municipal A.ssociation
Georgia Sheriffs' Association
Georgia Assocxation of Cbiefs of Police
Georgia Public Defender Council
Prosecuting Attorneys' Council of Georgia
Department of Corrections
Department of Community Supertision
 Georgia Court Reporters Association
 Board of Court Reporta.ng
 State Board of Pardons and Paroles
 Consti.tutional Officers Association of Georgia
 Counci.l of Magistrate Curt Clerks
 Council of Municipal Court Clerks

                                        SUPItENEE COURT OF THE STATE OF GEOI.tGIA
                                                    Clerlr.'s Office, Atlanta

                                            I certify that the above 3s a true extract frona
                                        the minutes of the Supreme court of Georgia.
                                            Witness my eignatare and the seal of said court
                                        hexeto affixed the day and year last above written.

                                                                                Clerk

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           21A00288                                                                          STATE COURT OF DEKALB COUNTY
  No.
                                                                                                     GEORGIA, DEKALB COUNTY
  Date    Summons Issued                    and   Filed
           1/21/2021                                                                                             SUMMONS
           /s/ Monica Gay
                     Deputy Clerk                                                     Lomrdo. WTAeku/U;
  Deposit Paid $                                                                     3‘0? ASkér$ Parkway A‘H1,04%»:
                                                                                                                                                         ’
                                                                                                                                                             G24   7033?
                                                                                                                (Plaintiff‘s   namé and   address)

  []        ANSWER                                                                                                         VS.

  []        JURY


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       ?TO
        MTl-ISABSKE
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                    -NA                              ED DEFENDANT.
                                                                     hm Wk:                 X’V                          C5
                    hereby summoned and required t ﬁle with the Clerk of State Court, Suite 230, 2"d Floor, Administrative
            DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia 30030 and serve upon the plaintiff‘s
                                                                                                                           Tower,
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                                                                                                                      attorney, to
            wit.



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                                                                        (Phone Number)
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                                                                                                                                   (Georgia Bar No.)

  an   ANSWER to the complaint which'Is herewith served                           upon you, within thirty (30) days after service upon you, exclusive of the day
  of service.        If   you   fail   to   do so judgment by    default   will   be taken against you for the relief demanded In the complaint. (Plus cost of
  this action    )




  Defendant's Attorney                                                                              Third Party Attorney




 Address                                                                                            Address

 Phone No.                                  Georgia Bar No.                                         Phone No.                               Georgia Bar No.



                                                                                    TYPE OF SUIT
 El    Account                              E’ﬁersonal Injury                                                Principal             $
 El   Contract                              CI Medical Malpractice
 D Note                                     El Legal Malpractice                                             Interest             $
 D Trover                                   D Product Liability
                                            El Other                                                                Fees
                                                                                                            Atty                  $

 D     Transferred         From

                                                  (Attach   BLUE to   Original    and WHITE to Service Copy of complaint)
                                                                                                                                                             STATE COURT OF
                                                                                                                                                     summons1-2008rev
                                                                                                                                                      DEKALB COUNTY, GA.
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Copy from re:SearchGA                                                                                                                                           BY: Monica Gay
